USCA Case #23-1019          Document #1982482       Filed: 01/20/2023    Page 1 of 54



                IN UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                                 )
CENTER FOR BIOLOGICAL                            )
DIVERSITY, FRIENDS OF THE                        )
EARTH, and SIERRA CLUB,                          )
                                                 )
             Petitioners,                        ) Case No.23-1019
                                                 )
v.                                               )
                                                 )
                                                 )
UNITED STATES ENVIRONMENTAL                      )
PROTECTION AGENCY and MICHAEL S.                 )
REGAN, Administrator, U.S. Environmental         )
Protection Agency,                               )
                                                 )
                                                 )
            Respondents.                         )

                              PETITION FOR REVIEW

      Pursuant to Clean Air Act § 307(b)(1), 42 U.S.C. § 7607(b)(1), Federal Rule

of Appellate Procedure 15, and D.C. Circuit Rule 15(a)(1), Center for Biological

Diversity, Friends of the Earth, and Sierra Club hereby petition this Court for

review of the final action taken by Respondents United States Environmental

Protection Agency and Michael S. Regan, Administrator, United States

Environmental Protection Agency, and entitled “Control of Air Pollution From

Aircraft Engines: Emission Standards and Test Procedures,” published at 87 Fed.

Reg. 72312 (Nov. 23, 2022). A copy of EPA’s final rule is attached as Attachment

A.



                                          1
USCA Case #23-1019   Document #1982482       Filed: 01/20/2023   Page 2 of 54



                               Respectfully submitted,


DATED: January 20, 2023        /s/ Sarah H. Burt
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                               Counsel for Sierra Club and Friends of
                               the Earth

                               /s/ Elizabeth A. Jones
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                               Counsel for Center for Biological Diversity

                               /s/ Vera Pardee
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                               Counsel for Sierra Club




                                   2
USCA Case #23-1019          Document #1982482       Filed: 01/20/2023   Page 3 of 54



                IN UNITED STATES COURT OF APPEALS
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                                                )
CENTER FOR BIOLOGICAL                           )
DIVERSITY, FRIENDS OF THE                       )
EARTH, and SIERRA CLUB                          )
                                                )
             Petitioners,                       ) Case No. ______
                                                )
v.                                              )
                                                )
                                                )
UNITED STATES ENVIRONMENTAL                     )
PROTECTION AGENCY and MICHAEL S.                )
REGAN, Administrator, U.S. Environmental        )
Protection Agency,                              )
                                                )
                                                )
             Respondents.                       )

                    RULE 26.1 DISCLOSURE STATEMENT

      Pursuant to Federal Rules of Appellate Procedure Rule 26.1 and D.C. Circuit

Rule 26.1, the Center for Biological Diversity makes the following disclosures:

      Non-Governmental Corporate Party to this Action: Center for Biological

Diversity.

      Parent Corporations: None.

      Publicly Held Company that Owns 10% or More of Party’s Stock: None.

      Party’s General Nature and Purpose: The Center for Biological Diversity is a

nonprofit corporation organized and existing under the laws of the State of

California that works through science, law, and advocacy to secure a future for all



                                          1
USCA Case #23-1019        Document #1982482           Filed: 01/20/2023     Page 4 of 54



species, great and small, hovering on the brink of extinction, with a focus on

protecting the lands, waters, and climate that species need to survive.

      Pursuant to Federal Rules of Appellate Procedure Rule 26.1 and D.C. Circuit

Rule 26.1, Friends of the Earth makes the following disclosures:

      Non-Governmental Corporate Party to this Action: Friends of the Earth.

      Parent Corporations: None.

      Publicly Held Company that Owns 10% or More of Party’s Stock: None.

      Party’s General Nature and Purpose: Friends of the Earth is a tax-exempt,

501(c)(3) organization and a not-for-profit corporation with offices in Berkeley,

California and Washington, DC, where it is incorporated. Friends of the Earth is a

membership organization consisting of over 225,000 members and more than 5

million activist supporters on its email list throughout the United States. It is also a

member of Friends of the Earth International, which is a network of grassroots

groups in 74 countries worldwide. Its mission is to protect our natural

environment, including air, water, and land, to achieve a healthier and more just

world, using public education, advocacy, legislative processes, and litigation.

      Pursuant to Federal Rules of Appellate Procedure Rule 26.1 and D.C. Circuit

Rule 26.1, Sierra Club makes the following disclosures:

      Non-Governmental Corporate Party to this Action: Sierra Club.

      Parent Corporations: None.



                                           2
USCA Case #23-1019       Document #1982482           Filed: 01/20/2023    Page 5 of 54



      Publicly Held Company that Owns 10% or More of Party’s Stock: None.

      Party’s General Nature and Purpose: Sierra Club, a corporation organized

and existing under the laws of the State of California, is a national nonprofit

organization dedicated to the protection and enjoyment of the environment.

                                      Respectfully submitted,


DATED: January 20, 2023               /s/ Sarah H. Burt
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                                      /s/ Elizabeth A. Jones
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                                          3
USCA Case #23-1019   Document #1982482      Filed: 01/20/2023   Page 6 of 54



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                                   4
USCA Case #23-1019      Document #1982482          Filed: 01/20/2023   Page 7 of 54



                         CERTIFICATE OF SERVICE

      I, Sarah Burt, hereby certify that the foregoing Petition for Review and

Rule 26.1 Disclosure Statement have been served by United States first-class

mail, this the 20th day of January 2023, upon the following:

      Michael S. Regan, Administrator
      United States Environmental Protection Agency
      Office of the Administrator
      Mail Code 1101A
      1200 Pennsylvania Avenue, N.W.
      Washington, D.C. 20460

      United States Environmental Protection Agency
      Office of General Counsel
      Mail Code 2310A
      1200 Pennsylvania Avenue, N.W.
      Washington, D.C. 20460

      The Honorable Merrick B. Garland
      Attorney General of the United States
      U.S. Department of Justice
      950 Pennsylvania Avenue, N.W.
      Washington, D.C. 20530


                                    Respectfully submitted,


DATED: January 20, 2023             /s/ Sarah H. Burt
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USCA Case #23-1019   Document #1982482   Filed: 01/20/2023   Page 8 of 54




                          ATTACHMENT A
                                                      USCA Case #23-1019                                      Document #1982482                                Filed: 01/20/2023               Page 9 of 54
                                            72312             Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            ENVIRONMENTAL PROTECTION                                              the www.regulations.gov website.                          C. PM Mass Concentration Standard for
                                            AGENCY                                                                Although listed in the index, some                           Aircraft Engines
                                                                                                                  information is not publicly available,                    D. Test and Measurement Procedures
                                            40 CFR Parts 9, 87, 1030, and 1031                                    e.g., confidential business information                   E. Annual Reporting Requirement
                                                                                                                  or other information whose disclosure is                  F. Response to Key Comments
                                            [EPA–HQ–OAR–2019–0660; FRL–7558–02–                                                                                           V. Aggregate PM Inventory Methodology and
                                            OAR]                                                                  restricted by statute. Certain other
                                                                                                                                                                               Impacts
                                                                                                                  material, such as copyrighted material is                 A. Aircraft Engine PM Emissions Modeling
                                            RIN 2060–AU69                                                         not placed on the internet and will be                       Methodologies
                                            Control of Air Pollution From Aircraft                                publicly available only in hard copy                      B. PM Emission Inventory
                                            Engines: Emission Standards and Test                                  form. Publicly available docket                           C. Projected Reductions in PM Emissions
                                            Procedures                                                            materials are available either                          VI. Technological Feasibility and Economic
                                                                                                                  electronically through                                       Impacts
                                            AGENCY:  Environmental Protection                                     www.regulations.gov or in hard copy at                    A. Market Considerations
                                            Agency (EPA)                                                          the EPA Docket Center, WJC West                           B. Conceptual Framework for Technology
                                            ACTION: Final rule.                                                   Building, Room 3334, 1301 Constitution                    C. Technological Feasibility
                                                                                                                  Ave. NW, Washington, DC. The Docket                       D. Costs Associated With the Rule
                                            SUMMARY:    The Environmental Protection                              Center’s hours of operations are 8:30                     E. Summary of Benefits and Costs
                                            Agency (EPA) is finalizing particulate                                a.m.–4:30 p.m., Monday–Friday (except                   VII. Technical Amendments
                                            matter (PM) emission standards and test                               Federal Holidays). For further                            A. Migration of Regulatory Text to New
                                            procedures applicable to certain classes                                                                                           Part
                                                                                                                  information on the EPA Docket Center                      B. Deletion of Unnecessary Provisions
                                            of engines used by civil subsonic jet                                 services and the current status, see:
                                            airplanes (engines with rated output of                                                                                         C. Other Technical Amendments and
                                                                                                                  https://www.epa.gov/dockets.                                 Minor Changes
                                            greater than 26.7 kilonewtons (kN)) to
                                                                                                                  FOR FURTHER INFORMATION CONTACT:                        VIII. Statutory Authority and Executive Order
                                            replace the existing smoke standard for
                                                                                                                  Bryan Manning, Office of                                     Reviews
                                            those engines. The EPA is adopting
                                            these standards under our authority in                                Transportation and Air Quality,                           A. Executive Order 12866: Regulatory
                                                                                                                  Assessment and Standards Division                            Planning and Review and Executive
                                            the Clean Air Act (CAA). These                                                                                                     Order 13563: Improving Regulation and
                                            standards and test procedures are                                     (ASD), Environmental Protection
                                                                                                                  Agency, 2000 Traverwood Drive, Ann                           Regulatory Review
                                            equivalent to the engine standards                                                                                              B. Paperwork Reduction Act (PRA)
                                            adopted by the United Nations’                                        Arbor, MI 48105; telephone number:
                                                                                                                                                                            C. Regulatory Flexibility Act (RFA)
                                            International Civil Aviation                                          (734) 214–4832; email address:
                                                                                                                                                                            D. Unfunded Mandates Reform Act
                                            Organization (ICAO) in 2017 and 2020                                  manning.bryan@epa.gov.                                       (UMRA)
                                            and will apply to both new type design                                SUPPLEMENTARY INFORMATION:                                E. Executive Order 13132: Federalism
                                            aircraft engines and in-production                                    Table of Contents                                         F. Executive Order 13175: Consultation
                                            aircraft engines. The EPA, as well as the                                                                                          and Coordination With Indian Tribal
                                                                                                                  I. General Information                                       Governments
                                            U.S. Federal Aviation Administration
                                                                                                                     A. Does this action apply to me?                       G. Executive Order 13045: Protection of
                                            (FAA), actively participated in the ICAO                                 B. Executive Summary                                      Children From Environmental Health
                                            proceedings in which the ICAO                                            C. EPA Future Work on Aircraft Engine PM                  Risks and Safety Risks
                                            requirements were developed. These                                          Standards Beyond the Scope of This                  H. Executive Order 13211: Actions
                                            standards reflect the importance of the                                     Final Rule                                             Concerning Regulations That
                                            control of PM emissions and U.S. efforts                                 D. Judicial Review, Administrative                        Significantly Affect Energy Supply,
                                            to secure the highest practicable degree                                    Reconsideration, and Severability                      Distribution or Use
                                            of uniformity in aviation regulations                                 II. Introduction: Context for This Action                 I. National Technology Transfer and
                                                                                                                     A. The EPA Statutory Authority and
                                            and standards. Additionally, the EPA is                                                                                            Advancement Act (NTTAA) and 1 CFR
                                                                                                                        Responsibilities Under the Clean Air Act               Part 51
                                            migrating, modernizing, and                                              B. The Role of the United States in
                                            streamlining the existing regulations                                                                                           J. Executive Order 12898: Federal Actions
                                                                                                                        International Aircraft Agreements
                                            into a new part in the Code of Federal                                                                                             To Address Environmental Justice in
                                                                                                                     C. The Relationship Between the EPA’s
                                            Regulations. As part of this update, the                                                                                           Minority Populations and Low-Income
                                                                                                                        Regulation of Aircraft Engine Emissions
                                                                                                                                                                               Populations
                                            EPA is also aligning with ICAO by                                           and International Standards
                                                                                                                  III. Particulate Matter Impacts on Air Quality            K. Congressional Review Act
                                            applying the smoke number standards
                                            to engines less than or equal to 26.7                                       and Health                                        I. General Information
                                            kilonewtons rated output used on                                         A. Background on Particulate Matter
                                                                                                                     B. Health Effects of Particulate Matter              A. Does this action apply to me?
                                            supersonic airplanes.                                                    C. Environmental Effects of Particulate
                                            DATES: This final rule is effective on                                      Matter                                              This action will potentially affect
                                            December 23, 2022. The incorporation                                     D. Near-Source Impacts on Air Quality and            companies that design and/or
                                            by reference of certain material listed in                                  Public Health                                     manufacture civil subsonic jet aircraft
                                            this rule is approved by the Director of                                 E. Contribution of Aircraft Emissions to PM          engines with a rated output of greater
                                            the Federal Register as of December 23,                                     in Selected Areas
                                                                                                                                                                          than 26.7 kN and those that design and/
                                            2022.                                                                    F. Other Pollutants Emitted by Aircraft
                                                                                                                     G. Environmental Justice                             or manufacture civil jet engines with a
                                            ADDRESSES: The EPA has established a                                  IV. Details of the Rule                                 rated output at or below 26.7 kN for use
                                            docket for this action under Docket ID                                   A. PM Mass Standards for Aircraft Engines            on supersonic airplanes. These
                                            No. EPA–HQ–OAR–2019–0660. All                                            B. PM Number Standards for Aircraft                  potentially affected entities include the
lotter on DSK11XQN23PROD with RULES3




                                            documents in the docket are listed on                                       Engines                                           following:

                                                                    Category                                  NAICS code a                                 Examples of potentially affected entities

                                            Industry .....................................................       336412        Manufacturers of new aircraft engines.
                                               a North    American Industry Classification System (NAICS).



                                       VerDate Sep<11>2014        21:18 Nov 22, 2022        Jkt 259001       PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                 Page 10 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                  72313

                                               This table lists the types of entities               designs and in-production engines                         The aircraft engine PM standards, test
                                            that the EPA is now aware could                         depend on the rated output of the                       procedures and associated regulatory
                                            potentially be affected by this action.                 engines. Compliance with the PM mass                    requirements are equivalent to the
                                            Other types of entities not listed in the               and number standards will be done in                    international PM standards and test
                                            table could also be regulated. To                       accordance with the standard landing                    procedures adopted by ICAO in 2017
                                            determine whether your activities are                   and take-off (LTO) test cycle, which is                 and 2020 and promulgated in Annex 16,
                                            regulated by this action, you should                    currently used for demonstrating                        Volume II.2 The United States and other
                                            carefully examine the relevant                          compliance with gaseous emission                        member States of ICAO, as well as the
                                            applicability criteria in 40 CFR parts 87,              standards (oxides of nitrogen (NOX),                    world’s aircraft engine manufacturers
                                            1030, and 1031. If you have any                         hydrocarbons (HC), and carbon                           and other interested stakeholders,
                                            questions regarding the applicability of                monoxide (CO) standards) for the                        participated in the deliberations leading
                                            this action to a particular entity, consult             covered engines.                                        up to ICAO’s adoption of the
                                            the person listed in the preceding FOR                     Second, the EPA is adopting a PM                     international aircraft engine PM
                                            FURTHER INFORMATION CONTACT section.                    engine emission standard in the form of                 emission standards.
                                               For consistency purposes across the                  maximum mass concentration (mg/m3)                        In addition to the PM standards just
                                            U.S. Code of Federal Regulations (CFR),                 for covered engines manufactured on or                  discussed, the EPA is migrating most of
                                            common definitions for the words                        after January 1, 2023.1 Compliance with                 the existing aircraft engine emissions
                                            ‘‘airplane,’’ ‘‘aircraft,’’ ‘‘aircraft engine,’’        the PM mass concentration standard                      regulations from 40 CFR part 87 to a
                                            and ‘‘civil aircraft’’ are found at 14 CFR              will be done using the same test data                   new 40 CFR part 1031, and all the
                                            1.1 and are used as appropriate                         that is developed to demonstrate                        aircraft engine standards and
                                            throughout this new regulation under 40                 compliance with the LTO-based PM                        requirements are specified in this new
                                            CFR parts 87, 1030, and 1031.                           mass and number standards. The PM                       40 CFR part 1031. Along with this
                                                                                                    mass concentration standard applies to                  migration, the EPA is restructuring the
                                            B. Executive Summary                                    the highest concentration of PM                         regulations to allow for better ease of
                                            1. Summary of the Major Provisions of                   measured across the engine operating                    use and allow for more efficient future
                                            the Regulatory Action                                   thrust range, not just at one of the four               updates. The EPA is also deleting some
                                                                                                    LTO thrust settings.                                    unnecessary definitions and regulatory
                                               The EPA is regulating PM emissions                      The PM mass concentration standard
                                            from certain aircraft engines through the                                                                       provisions. Finally, the EPA is adopting
                                                                                                    was developed by ICAO to provide,                       several other minor technical
                                            adoption of domestic PM regulations                     through a PM mass measurement, the
                                            that match the ICAO PM standards,                                                                               amendments to the regulations,
                                                                                                    equivalent smoke opacity or visibility                  including applying smoke number
                                            which will be implemented and                           control as afforded by the existing
                                            enforced in the United States. The                                                                              standards to engines of less than or
                                                                                                    smoke number standard for the covered
                                            covered engines are subsonic turbofan                                                                           equal to 26.7 kilonewtons (kN) rated
                                                                                                    engines. Thus, the EPA is no longer
                                            and turbojet aircraft engines with rated                                                                        output used in supersonic airplanes.
                                                                                                    applying the existing smoke number
                                            output (maximum thrust available for                    standard for new engines that will be                   2. Purpose of the Regulatory Action
                                            takeoff) of greater than 26.7 kN. These                 subject to the PM mass concentration
                                            aircraft engines are used by civil                                                                                 In developing these standards, the
                                                                                                    standard after January 1, 2023, but the                 EPA took into consideration the
                                            subsonic jet airplanes generally for the                EPA is maintaining smoke number
                                            purpose of commercial passenger and                                                                             Agency’s legal authority and the explicit
                                                                                                    standards for new engines not covered                   requirements under CAA section 231,
                                            freight aircraft, as well as larger business            by the PM mass concentration standard
                                            jets. The EPA is adopting three different                                                                       including those relating to safety, noise,
                                                                                                    (e.g., in-production aircraft turbofan and              lead time and costs. The EPA further
                                            forms of PM standards: a PM mass                        turbojet engines with rated output less
                                            standard in milligrams per kilonewton                                                                           considered the importance of
                                                                                                    than or equal to 26.7 kN) and for
                                            (mg/kN), a PM number standard in                                                                                controlling PM emissions, international
                                                                                                    engines already manufactured. This
                                            number of particles per kilonewton (#/                                                                          harmonization of aviation requirements,
                                                                                                    approach will essentially change the
                                            kN), and a PM mass concentration                                                                                and the international nature of the
                                                                                                    existing standard for covered engines
                                            standard in micrograms per cubic meter                                                                          aircraft industry and air travel. In
                                                                                                    from being based on a smoke
                                            (mg/m3). The applicable dates and                                                                               addition, the EPA gave significant
                                                                                                    measurement to a PM measurement.
                                            coverage of these standards vary, as                       Third, the EPA is finalizing testing                 weight to the United States’ treaty
                                            described in the following paragraphs,                  and measurement procedures for the PM                   obligations under the Chicago
                                            and more fully in sections IV.A, IV.B,                  emission standards and various updates                  Convention, as discussed in Section
                                            and IV.C respectively.                                  to the existing gaseous exhaust                         II.B, in determining the need for and
                                               First, the EPA is finalizing PM engine               emissions test procedures. These test                   appropriate levels of PM standards.
                                            emission standards, in the form of both                 procedure provisions will implement                     These considerations led the EPA to
                                            PM mass (mg/kN) and PM number (#/                       the recent additions and amendments to                  conclude that adopting standards for
                                            kN), for both new type design and in-                   the ICAO’s regulations, which are                       PM emissions from certain classes of
                                            production covered engines. The                         codified in ICAO Annex 16, Volume II.                     2 ICAO, 2017: Aircraft Engine Emissions,
                                            standards for in-production engines                     As we have historically done, we are                    International Standards and Recommended
                                            apply to those engines that are                         incorporating these test procedure                      Practices, Environmental Protection, Annex 16,
                                            manufactured on or after January 1,                     additions and amendments to the ICAO                    Volume II, Fourth Edition, July 2017. Available at
                                            2023. The standards for new type                        Annex 16, Volume II into our                            https://www.icao.int/publications/catalogue/cat_
                                                                                                                                                            2022_en.pdf (last accessed October 31, 2022). The
                                            designs apply to those engines whose                    regulations by reference.
lotter on DSK11XQN23PROD with RULES3




                                                                                                                                                            ICAO Annex 16 Volume II is found on page 17 of
                                            initial type certification application is                                                                       the ICAO Products & Services Catalog, English
                                            submitted on or after January 1, 2023.                     1 The implementation date for ICAO’s PM              Edition of the 2022 catalog, and it is copyright
                                            The in-production standards have                        maximum mass concentration standards is on or           protected; Order No. AN16–2. The ICAO Annex 16,
                                                                                                    after January 1, 2020. The PM maximum mass              Volume II, Fourth Edition, includes Amendment 10
                                            different emission levels limits than the               concentration standards finalized in this action will   of January 1, 2021. Amendment 10 is also found on
                                            standards for new type designs. The                     have an implementation date of January 1, 2023          page 17 of this ICAO catalog, and it is copyright
                                            different emission limits for new type                  (instead of January 1, 2020).                           protected; Order No. AN 16–2/E/12.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                 Page 11 of 54
                                            72314        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            covered aircraft engines that are                       the ICAO standards for PM emissions.                   in our efforts to control PM emissions
                                            equivalent in scope, stringency, and                    The ICAO aircraft engine PM emission                   from aircraft engines. Consistent with
                                            effective date to the PM standards                      standards have been adopted by other                   our statutory authority, which directs
                                            adopted by ICAO are appropriate at this                 ICAO member states that certify aircraft               the EPA to issue, and permits the EPA
                                            time.                                                   engines.3 The action to adopt in the U.S.              to revise, standards ‘‘from time to time,’’
                                               One of the core functions of ICAO is                 PM standards that match the ICAO                       CAA section 231(a)(2)(A) and (a)(3),
                                            to adopt Standards and Recommended                      standards will help ensure international               after consultation with the FAA (CAA
                                            Practices on a wide range of aviation-                  consistency and acceptance of U.S.-                    section 231(a)(2)(B)(i)), the EPA views
                                            related matters, including aircraft                     manufactured engines worldwide.                        our regulation of aircraft PM emissions
                                            emissions. As a member State of ICAO,                                                                          as a long-term process, with the
                                            the United States actively participates in              3. Environmental Justice
                                                                                                                                                           potential for successive standards of
                                            the development of new environmental                       The EPA defines environmental                       increasing stringency. Future
                                            standards, within ICAO’s Committee on                   justice as the fair treatment and                      stringencies may include technology-
                                            Aviation Environmental Protection                       meaningful involvement of all people                   forcing standards, where appropriate,
                                            (CAEP), including the PM standards                      regardless of race, color, national origin,            provided that such standards do not
                                            adopted by ICAO in both 2017 and                        or income with respect to the
                                                                                                                                                           significantly increase noise and
                                            2020. Due to the international nature of                development, implementation, and
                                                                                                                                                           adversely affect safety in accordance
                                            the aviation industry, there is an                      enforcement of environmental laws,
                                                                                                                                                           with CAA section 231(a)(2)(B)(ii). The
                                            advantage to working within ICAO to                     regulations, and policies. Section III.G
                                                                                                                                                           EPA intends to continue to assess
                                            secure the highest practicable degree of                discusses the potential environmental
                                                                                                    justice concerns associated with                       available emission control technologies
                                            uniformity in international aviation
                                                                                                    exposure to aircraft PM near airports.                 and associated lead times, so that if the
                                            regulations and standards. Uniformity
                                                                                                       Studies have reported that many                     EPA were to pursue more stringent
                                            in international aviation regulations and
                                                                                                    communities in close proximity to                      standards in the future, the EPA would
                                            standards is a goal of the Chicago
                                                                                                    airports are disproportionately                        provide the necessary time to permit the
                                            Convention, because it ensures that
                                            passengers and the public can expect                    represented by people of color and low-                development and application of the
                                            similar levels of protection for safety                 income populations (as described in                    requisite technology—giving
                                            and human health and the environment                    Section III.G). Separate from this                     appropriate consideration to the cost of
                                            regardless of manufacturer, airline, or                 rulemaking, the EPA is conducting an                   compliance within such period.
                                            point of origin of a flight. Further, it                analysis of communities residing near                     The EPA continues to believe that
                                            helps reduce barriers in the global                     airports where jet aircraft operate to                 ICAO is the most appropriate venue in
                                            aviation market, benefiting both U.S.                   more fully understand                                  which to undertake such work. To that
                                            aircraft engine manufacturers and                       disproportionately high and adverse                    end, the U.S. delegation to ICAO/CAEP,
                                            consumers.                                              human health or environmental effects                  with significant input from EPA,
                                               When developing new emission                         on people of color, low-income                         developed a position paper to the
                                            standards, ICAO/CAEP seeks to capture                   populations, and/or Indigenous peoples.                CAEP/12 meeting in February 2022.4 In
                                            the technological advances made in the                  The results of this analysis could help                this paper, the United States proposed
                                            control of emissions through the                        inform additional policies to reduce                   several topics for CAEP to consider for
                                            adoption of anti-backsliding standards                  pollution in communities living in close               future work on emissions items. Among
                                            reflecting the current state of                         proximity to airports.                                 the U.S. proposals was a call to update
                                            technology. The PM standards that the                      As described in Section V.C, while                  the PM standards beyond those already
                                            EPA is adopting were developed using                    newer aircraft engines typically have                  adopted by CAEP that would reflect best
                                            this approach. Thus, the adoption of                    significantly lower emissions than                     available technologies for future, to-be-
                                            these aviation standards into U.S. law                  existing aircraft engines, the standards               developed, standards. The United States
                                            will simultaneously prevent aircraft                    in this final rule are technology-                     also proposed work to develop an
                                            engine PM levels from increasing                        following to align with ICAO’s                         updated metric to improve the
                                            beyond their current levels, align U.S.                 standards and are not expected to, in                  effectiveness of future NOX emission
                                            domestic standards with the ICAO                        and of themselves, result in further                   standards, as well as an integrated
                                            standards for international                             reductions in PM from these engines.                   standards-setting process to
                                            harmonization, and meet the United                      Therefore, we do not anticipate the                    simultaneously update both PM and
                                            States’ treaty obligations under the                    standards to result in an improvement                  NOX standards for aircraft engines given
                                            Chicago Convention.                                     in air quality for those who live near                 the strong interdependency between
                                               These standards will also allow U.S.                 airports where these aircraft operate.                 engine NOX and PM levels.5 The EPA
                                            manufacturers of covered aircraft
                                            engines to remain competitive in the                    C. EPA Future Work on Aircraft Engine                  also advocated for improved modeling
                                            global marketplace (as described in                     PM Standards Beyond the Scope of This                  techniques that would better reflect the
                                            Section IV). In the absence of U.S.                     Final Rule                                             costs and emission reductions and
                                            standards implementing the ICAO                           While the EPA believes that adopting                 better inform decision making around
                                            aircraft engine PM emission standards,                  PM standards that match those                          proposed CAEP emission standard
                                            U.S. civil aircraft engine manufacturers                developed and adopted by ICAO is the                   levels.
                                            could be forced to seek PM emissions                    proper course of action in this final rule,
                                                                                                                                                              4 U.S. EPA, Mueller, J. Memorandum to Docket ID
                                            certification from an aviation                          the EPA views the standards adopted in                 No. EPA–HQ–OAR–2019–0660, ‘‘United States
                                            certification authority of another                      this action as just one appropriate step               Position Papers to CAEP/12 Meeting,’’ August 19,
lotter on DSK11XQN23PROD with RULES3




                                            country (not the FAA) to market and                                                                            2022.
                                            operate their aircraft engines                            3 Aside from the FAA in the United States, the          5 In this context, the metric is the form of the

                                            internationally. U.S. manufacturers                     only other civil aviation authorities that routinely   standard (in this case, mass of pollutant per unit of
                                                                                                    certify airplane engines are Transport Canada and      thrust), as well as the form of the regulatory limit
                                            could be at a significant disadvantage if               the European Union Aviation Safety Agency, both        line and any correlating parameters included. In the
                                            the United States fails to adopt                        of which have already adopted the ICAO airplane        case of aircraft engine NOX, the regulatory limit line
                                            standards that are at least as stringent as             engine particulate matter emission standards.          is a function of engine overall pressure ratio.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                Page 12 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                   72315

                                               CAEP did not accept the U.S. request                 public comment (but within the time                   are vacated from the CFR, leaving the
                                            to work on updated aircraft engine NOX                  specified for judicial review) and if such            other portions of the rule in effect.8
                                            and PM standards during the current                     objection is of central relevance to the              Finally, if a reviewing court were to
                                            CAEP/13 cycle due to concerns that the                  outcome of the rule. Any person seeking               vacate the PM mass concentration
                                            resources needed for such work would                    to make such a demonstration should                   standard in Section IV.C, the EPA
                                            negatively impact efforts to update the                 submit a Petition for Reconsideration to              intends to reinstate the smoke number
                                            international airplane CO2 and noise                    the Office of the Administrator, U.S.                 standard contained in 40 CFR
                                            standards. However, work on an                          EPA, Room 3000, WJC South Building,                   1031.60(a)(5) for engines with a rated
                                            improved NOX metric was approved                        1200 Pennsylvania Ave. NW,                            output of greater than 26.7 kN, such that
                                            and is underway this CAEP cycle, with                   Washington, DC 20460, with a copy to                  the smoke number standard would go
                                            an understanding that it is laying the                  both the person listed in the FOR                     back into effect for those engines.
                                            groundwork for a potential update of the                FURTHER INFORMATION CONTACT section,
                                                                                                                                                          II. Introduction: Context for This Action
                                            NOX and PM standards during the next                    and the Associate General Counsel for
                                            CAEP cycle.6 Further, improving the                     the Air and Radiation Law Office, Office                 The EPA has been regulating PM
                                            cost and emission reduction modeling                    of General Counsel (Mail Code 2344A),                 emissions from aircraft engines since
                                            methodology has been agreed to as a                     U.S. EPA, 1200 Pennsylvania Ave. NW,                  the 1970s when the first smoke number
                                            work item for this CAEP cycle. The EPA                  Washington, DC 20460. In addition, the                standards were adopted. This section
                                            is actively working within CAEP on                      EPA requests that an electronic copy of               provides context for the final rule,
                                            both these efforts, and the EPA will                    the Petition for Reconsideration also be              which adopts three PM standards for
                                            continue to advocate for efforts in CAEP                sent to the person listed in the FOR                  aircraft engines (a PM mass standard, a
                                            that will result in the development of                  FURTHER INFORMATION CONTACT section.                  PM number standard, and a PM mass
                                            future PM emission standards which                         The following portions of this                     concentration standard). This section
                                            reflect best available technologies.                    rulemaking are mutually severable from                includes a description of the EPA’s
                                                                                                    each other: (1) the PM mass                           statutory authority, the U.S. role in
                                            D. Judicial Review, Administrative                      concentration standard in Section IV.C;               ICAO and developing international
                                            Reconsideration, and Severability                       (2) the PM mass and number standards                  emission standards, and the relationship
                                               This final action is ‘‘nationally                    in sections IV.A and IV.B; (3) the test               between the U.S. standards and the
                                            applicable’’ within the meaning of CAA                  and measurement procedures in Section                 ICAO international standards.
                                            section 307(b)(1) because it is expressly               IV.D; (4) the reporting requirements in               A. The EPA’s Statutory Authority and
                                            listed in the section (i.e., ‘‘any standard             Section IV.E; (5) those changes to 40                 Responsibilities Under the Clean Air Act
                                            under section [231] of this title’’). Under             CFR parts 87 and 1031 described in
                                                                                                    Section VII that are not intended solely                CAA section 231(a)(2)(A) directs the
                                            CAA section 307(b)(1), petitions for                                                                          Administrator of the EPA to, from time
                                            judicial review of this action must be                  to implement the new PM standards;
                                                                                                    and (6) the changes to 40 CFR part 1030               to time, propose aircraft engine
                                            filed in the U.S. Court of Appeals for the                                                                    emission standards applicable to the
                                            District of Columbia Circuit within 60                  described in Section VII.C.7 The PM
                                                                                                    mass concentration standard and the                   emission of any air pollutant from
                                            days from the date this final action is                                                                       classes of aircraft engines which in his
                                            published in the Federal Register.                      PM mass and number standards serve
                                                                                                    different purposes, as described in more              or her judgment causes or contributes to
                                            Filing a petition for reconsideration by                                                                      air pollution that may reasonably be
                                            the Administrator of this final action                  detail in Section IV. The reporting
                                                                                                    requirements (including those for PM)                 anticipated to endanger public health or
                                            does not affect the finality of the action                                                                    welfare.9 CAA section 231(a)(2)(B)
                                            for the purposes of judicial review, nor                in Section IV.E predate this final rule as
                                                                                                    they were established by a prior                      directs the EPA to consult with the
                                            does it extend the time within which a                                                                        Administrator of the Federal Aviation
                                            petition for judicial review must be filed              Information Collection Request and are
                                                                                                    simply being added to the CFR in this                 Administration (FAA) on such
                                            and shall not postpone the effectiveness                                                                      standards, and it prohibits the EPA from
                                            of such rule or action. Under CAA                       action for the convenience of the entity
                                                                                                    required to provide a production report.              changing aircraft emission standards if
                                            section 307(b)(2), the requirements                                                                           such a change would significantly
                                            established by this final rule may not be               Similarly, while the test and
                                                                                                    measurement procedures in Section                     increase noise and adversely affect
                                            challenged separately in any civil or                                                                         safety.10 CAA section 231(a)(3) provides
                                            criminal proceedings brought by the                     IV.D will be used in determining
                                                                                                    compliance with the new PM standards,                 that after we provide notice and an
                                            EPA to enforce the requirements.                                                                              opportunity for a public hearing on
                                               CAA section 307(d)(7)(B) further                     they are not dependent on the PM
                                                                                                    standards, and they are also required to              standards, the Administrator shall issue
                                            provides that only an objection to a rule                                                                     such standards ‘‘with such
                                            or procedure which was raised with                      be used to comply with the reporting
                                                                                                    requirements separate from the actual                 modifications as he deems
                                            reasonable specificity during the period
                                            for public comment (including any                       PM standards. The regulatory migration
                                                                                                                                                             8 The EPA considers those sections of regulatory
                                            public hearing) may be raised during                    and other technical amendments in
                                                                                                                                                          text which are included only to implement the new
                                            judicial review. This section also                      Section VII are not related to the                    PM standards to all be within 40 CFR part 1031.
                                            provides a mechanism for the EPA to                     implementation of the new PM                          Specifically, the regulatory text solely related to
                                            reconsider the rule if the person raising               standards. If any of the portions of this             implementing the PM mass concentration standard
                                                                                                    rule the EPA has identified as mutually               is contained in §§ 1031.30(a)(2)(ii), 1031.60(a)(6),
                                            an objection can demonstrate to the                                                                           and 1031.130(c)(1)(v), as well as the phrase ‘‘before
                                            Administrator that it was impracticable                 severable from each other are vacated by              January 1, 2023’’ in § 1031.60(a)(5), while the
                                            to raise such objection within the period               a reviewing court, the EPA intends for                regulatory text solely related to implementing the
                                                                                                    the portions of this rule which are not               PM mass and number standards is contained in
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                                            for public comment or if the grounds for                                                                      §§ 1031.30(a)(2)(iii) and (iv), 1031.60(b), and
                                            such objection arose after the period for               vacated by a reviewing court to remain
                                                                                                                                                          1031.130(c)(1)(vi) and (vii). All other regulatory
                                                                                                    effective, and would only take action to              changes are severable from the PM standards and
                                              6 ICAO, 2022: Committee on Aviation                   remove the portions of the rule which                 are intended to remain in effect if any of the PM
                                            Environmental Protection (CAEP), Report of the                                                                standards were to be set aside by a reviewing court.
                                                                                                                                                             9 42 U.S.C. 7571(a)(2)(A).
                                            Twelfth Meeting, Montreal, February 7–17, 2022,           7 Certain portions may also be internally

                                            Doc 10176, CAEP/12.                                     severable.                                               10 42 U.S.C. 7571(a)(2)(B)(i)–(ii).




                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                      USCA Case #23-1019                         Document #1982482                              Filed: 01/20/2023                Page 13 of 54
                                            72316         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            appropriate.’’ 11 In addition, under CAA                  requirements as a factor in setting                  environmental protection and serves as
                                            section 231(b) the EPA is required to                     aircraft engine standards. The fact that             the forum for cooperation in all fields of
                                            ensure, in consultation with the U.S.                     most airplanes already meet the                      international civil aviation. ICAO works
                                            Department of Transportation (DOT),                       standards does not in itself mean that               with the Chicago Convention’s member
                                            that the effective date of any standard                   the standards are inappropriate,                     States and global aviation organizations
                                            provides the necessary time to permit                     provided the agency has a reasonable                 to develop international Standards and
                                            the development and application of the                    basis after considering all the relevant             Recommended Practices (SARPs),
                                            requisite technology, giving appropriate                  factors. By the same token, a                        which member States reference when
                                            consideration to the cost of compliance                   technology-forcing standard would not                developing their domestic civil aviation
                                            within such period.12                                     be precluded by CAA section 231, in                  regulations. The United States is one of
                                               Consistent with its longstanding                       light of the forward-looking language of             193 currently participating ICAO
                                            approach 13 and the District of Columbia                  CAA section 231(b).17                                member States.22 23 ICAO standards are
                                            (D.C.) Circuit precedent,14 the EPA                          Thus, as in past rulemakings, the EPA             not self-implementing. They must first
                                            interprets its authority under CAA                        notes its authority under the CAA to                 be adopted into domestic law to be
                                            section 231 as providing the                              issue reasonable aircraft engine                     legally binding in any member State.
                                            Administrator wide discretion in                          standards with either technology-                       In the interest of global harmonization
                                            determining what standards are                            following or technology-forcing results,             and international air commerce, the
                                            appropriate, after consideration of the                   provided that, in either scenario, the               Chicago Convention urges its member
                                            statute and other relevant factors, such                  Agency has a reasonable basis after                  States to ‘‘collaborate in securing the
                                            as applicable international standards.                    considering all the relevant factors for             highest practicable degree of uniformity
                                            While the statutory language of CAA                       setting the standard.18 Once the EPA                 in regulations, standards, procedures
                                            section 231 is not identical to other                     adopts standards, CAA section 232 then               and organization in relation to aircraft,
                                            provisions of Title II of the CAA that                    directs the Secretary of Transportation              [. . .] in all matters which such
                                            direct the EPA to establish technology-                   to prescribe regulations to ensure                   uniformity will facilitate and improve
                                            based standards for various types of                      compliance with the EPA’s standards.19               air navigation.’’ 24 The Chicago
                                            mobile sources, the EPA interprets its                    Finally, CAA section 233 vests the                   Convention also recognizes that member
                                            authority under CAA section 231 to be                     authority to promulgate emission                     States may adopt national standards that
                                            similar to those provisions that                          standards for aircraft or aircraft engines           are more or less stringent than those
                                            authorize us to identify a reasonable                     only in the Federal Government. States               agreed upon by ICAO or standards that
                                            balance of specified emissions                            are preempted from adopting or                       are different in character or that comply
                                            reduction, cost, safety, noise, and other                 enforcing any standard respecting                    with the ICAO standards by other
                                            factors.15 However, we are not                            aircraft or aircraft engine emissions                means. Any member State that finds it
                                            compelled under CAA section 231 to                        unless such standard is identical to the             impracticable to comply in all respects
                                            obtain the ‘‘greatest degree of emission                  EPA’s standards.20                                   with any international standard or
                                            reduction achievable’’ as per CAA                                                                              procedure, or that determines it is
                                                                                                      B. The Role of the United States in
                                            sections 202(a)(3)(A) and 213(a)(3). The                                                                       necessary to adopt regulations or
                                                                                                      International Aircraft Agreements
                                            EPA does not interpret the Act as                                                                              practices differing in any particular
                                            requiring the agency to give subordinate                     The Convention on International Civil             respect from those established by an
                                            status to other factors such as cost,                     Aviation (commonly known as the                      international standard, is required to
                                            safety, and noise in determining what                     Chicago Convention) was signed in 1944               give notification to ICAO of the
                                            standards are reasonable for aircraft                     at the Diplomatic Conference held in                 differences between its own practice
                                            engines.16 Rather, the EPA has great                      Chicago. It was ratified by the United               and that established by the international
                                            flexibility under CAA section 231 in                      States on August 9, 1946. The Chicago                standard.25
                                            determining what standard is most                         Convention establishes the legal                        ICAO’s work on the environment
                                            reasonable for aircraft engines.                          framework for the development of                     focuses primarily on those problems
                                            Moreover, in light of the U.S.                            international civil aviation. The primary            that benefit most from a common and
                                            ratification of the Chicago Convention,                   objective is ‘‘that international civil              coordinated approach on a worldwide
                                            EPA has historically given significant                    aviation may be developed in a safe and              basis, namely aircraft noise and engine
                                            weight to uniformity with international                   orderly manner and that international                emissions. SARPs for the certification of
                                                                                                      air transport services may be established            aircraft noise and aircraft engine
                                              11 42  U.S.C. 7571(a)(3).                               on the basis of equality of opportunity              emissions are covered by Annex 16 of
                                              12 42  U.S.C. 7571(b).                                  and operated soundly and                             the Chicago Convention. To continue to
                                               13 See 70 FR 69664, 69676 (November 17, 2005);
                                                                                                      economically.’’ 21 In 1947, ICAO was                 address aviation environmental issues,
                                            86 FR 2136, 2157 (January 11, 2021).                      established, and later in that same year,
                                               14 The U.S. Court of Appeals for the D.C. Circuit
                                                                                                                                                           in 2004, ICAO established three
                                            has held that CAA section 231 confers an unusually
                                                                                                      ICAO became a specialized agency of                  environmental goals: (1) limit or reduce
                                            ‘‘broad’’ degree of discretion on EPA to ‘‘weigh          the United Nations (UN). ICAO sets                   the number of people affected by
                                            various factors’’ and adopt aircraft engine emission      international standards for aviation                 significant aircraft noise; (2) limit or
                                            standards as the Agency determines are reasonable.        safety, security, efficiency, capacity, and
                                            Nat’l Ass’n of Clean Air Agencies v. EPA, 489 F.3d
                                                                                                                                                           reduce the impact of aviation emissions
                                            1221, 1229–30 (D.C. Cir. 2007).
                                                                                                        17 See 38 FR19088 (July 17, 1973); 41 FR 34722        22 Members of ICAO’s Assembly are generally
                                               15 See, e.g., Husqvarna AB v. EPA, 254 F.3d 195

                                            (D.C. Cir. 2001) (upholding the EPA’s promulgation        (August 16, 1976); see also NACAA, 489 F.3d at       termed member States or contracting States.
                                            of technology-based standards for small non-road          1229–30.                                                23 There are currently 193 contracting States
                                                                                                        18 See 70 FR 69664, 69676 (November 17, 2005);
                                            engines under CAA section 213(a)(3)).                                                                          (member States) according to ICAO’s website. The
                                                                                                      86 FR 2136, 2139–2140 (January 11, 2021).            list of ICAO member States is available in the
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                                               16 Cf. Sierra Club v. EPA, 325 F.3d 374, 378–380
                                                                                                        19 42 U.S.C. 7572.                                 docket for this rulemaking under document
                                            (D.C. Cir. 2003) (holding that even a Clean Air Act
                                            provision requiring the ‘‘greatest emission                 20 42 U.S.C. 7573.                                 identification number EPA–HQ–OAR–2019–0660–
                                            reduction achievable’’ did not bind the Agency to           21 ICAO, 2006: Convention on International Civil   0011.
                                                                                                                                                              24 ICAO, 2006: Convention on International Civil
                                            weigh ‘‘pure technological capability’’ to the            Aviation, Ninth Edition, Document 7300/9.
                                            exclusion of other factors like cost, lead time, safety   Available at: http://www.icao.int/publications/      Aviation, Article 37, Ninth Edition, Document
                                            nor ‘‘resolve how [the EPA] should weigh all these        Documents/7300_9ed.pdf (last accessed October 31,    7300/9.
                                            factors’’).                                               2022).                                                  25 Id.




                                       VerDate Sep<11>2014    21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                    USCA Case #23-1019                             Document #1982482                               Filed: 01/20/2023                Page 14 of 54
                                                             Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                  72317

                                            on local air quality; and (3) limit or                      highest body of the organization, where                1993 standards applied both to newly
                                            reduce the impact of aviation                               the main policies on aviation                          certificated turbofan engines (those
                                            greenhouse gas (GHG) emissions on the                       environmental protection are adopted                   engine models that received their initial
                                            global climate.                                             and translated into Assembly                           type certificate after the effective date of
                                               The Chicago Convention has a                             Resolutions. If ICAO adopts a CAEP                     the regulations, also referred to as new
                                            number of other features that govern                        proposal for a new environmental                       type design engines) and to in-
                                            international commerce. First, member                       standard, it then becomes part of ICAO                 production engines; the standards had
                                            States that wish to use aircraft in                         standards and recommended practices                    different effective dates for newly
                                            international transportation must adopt                     (Annex 16 to the Chicago                               certificated engines and in-production
                                            emission standards that are at least as                     Convention).30 31                                      engines. In 1995, CAEP/3 recommended
                                            stringent as ICAO’s standards if they                          The FAA plays an active role in                     a further tightening of the NOX
                                            want to ensure recognition of their                         ICAO/CAEP, including serving as the                    standards by 16 percent and additional
                                            airworthiness certificates by other                         representative (member) of the United                  test procedure amendments, but in 1997
                                            member States. Member States may ban                        States at annual ICAO/CAEP Steering                    the ICAO Council rejected this
                                            the use of any aircraft within their                        Group meetings, as well as the ICAO/                   stringency proposal and approved only
                                            airspace that does not meet ICAO                            CAEP triennial meetings, and                           the test procedure amendments. At the
                                            standards.26 Second, the Chicago                            contributing technical expertise to                    CAEP/4 meeting in 1998, the Committee
                                            Convention indicates that member                            CAEP’s working groups. The EPA serves                  adopted a similar 16 percent NOX
                                            States are required to recognize the                        as an advisor to the U.S. member at the                reduction proposal, which ICAO
                                            airworthiness certificates issued or                        annual ICAO/CAEP Steering Group and                    approved in 1998. Unlike the CAEP/2
                                            rendered valid by the contracting State                     triennial ICAO/CAEP meetings, while                    standards, the CAEP/4 standards
                                            in which the aircraft is registered                         also contributing technical expertise to               applied only to new type design engines
                                            provided the requirements under which                       CAEP’s working groups and assisting                    after December 31, 2003, and not to in-
                                            the certificates were issued are equal to                   and advising the FAA on aviation                       production engines, leaving the CAEP/
                                            or above ICAO’s minimum standards.27                        emissions, technology, and                             2 standards applicable to in-production
                                            Third, to ensure that international                         environmental policy matters. In turn,                 engines. In 2004, CAEP/6 recommended
                                            commerce is not unreasonably                                the FAA assists and advises the EPA on                 a 12 percent NOX reduction, which
                                            constrained, a member State that cannot                     aviation environmental issues,                         ICAO approved in 2005.34 35 The CAEP/
                                            meet or deems it necessary to adopt                         technology, and airworthiness                          6 standards applied to new engine
                                            regulations differing from the                              certification matters.                                 designs certificated after December 31,
                                            international standard is obligated to                         CAEP’s predecessor at ICAO, the                     2007, again leaving the CAEP/2
                                            notify ICAO of the differences between                      Committee on Aircraft Engine Emissions                 standards in place for in-production
                                            its domestic regulations and ICAO                           (CAEE), adopted the first international                engines before January 1, 2013. In 2010,
                                            standards.28                                                SARPs for aircraft engine emissions                    CAEP/8 recommended a further
                                               ICAO’s Committee on Aviation                             which were proposed in 1981.32 These                   tightening of the NOX standards by 15
                                            Environmental Protection (CAEP),                            standards limited aircraft engine                      percent for new engine designs
                                            which consists of members and                               emissions of HC, CO, and NOX. The                      certificated after December 31, 2013.36 37
                                            observers from States as well as                            1981 standards applied to newly                        The Committee also recommended that
                                            intergovernmental and non-                                  manufactured engines, which are those                  the CAEP/6 standards be applied to in-
                                            governmental organizations                                  engines manufactured after the effective               production engines on or after January
                                            representing the aviation industry and                      date of the regulations—also referred to               1, 2013, which cut off the production of
                                            environmental interests, undertakes                         as in-production engines. In 1993, ICAO                CAEP/2 and CAEP/4 compliant engines
                                            ICAO’s technical work in the                                adopted a CAEP/2 proposal to tighten                   with the exception of spare engines;
                                            environmental field. The Committee is                       the original NOX standard by 20 percent                ICAO adopted these as standards in
                                            responsible for evaluating, researching,                    and amend the test procedures.33 These                 2011.38
                                            and recommending measures to the                                                                                      At the CAEP/10 meeting in 2016, the
                                            ICAO Council that address the                                  30 ICAO, 2017: Aircraft Engine Emissions,
                                                                                                                                                               Committee agreed to the first airplane
                                            environmental impacts of international                      International Standards and Recommended
                                                                                                        Practices, Environmental Protection, Annex 16,
                                            civil aviation. CAEP’s terms of reference                   Volume II, Fourth Edition, July 2017. The ICAO         first meeting of CAEP, therefore, is referred to as
                                            indicate that ‘‘CAEP’s assessments and                      Annex 16 Volume II is found on page 17 of the          CAEP/2.
                                                                                                                                                                  34 CAEP/5 did not address new aircraft engine
                                            proposals are pursued taking into                           ICAO Products & Services English Edition of the
                                                                                                        2022 catalog, and it is copyright protected; Order     emission standards.
                                            account: technical feasibility;                                                                                       35 ICAO, 2017: Aircraft Engine Emissions,
                                                                                                        No. AN16–2. The ICAO Annex 16, Volume II,
                                            environmental benefit; economic                             Fourth Edition, includes Amendment 10 of January       International Standards and Recommended
                                            reasonableness; interdependencies of                        1, 2021. Amendment 10 is also found on page 17         Practices, Environmental Protection, Annex 16,
                                            measures (for example, among others,                        of this ICAO catalog, and it is copyright protected;   Volume II, Fourth Edition, July 2017. The ICAO
                                            measures taken to minimize noise and                        Order No. AN 16–2/E/12.                                Annex 16, Volume II, Fourth Edition, includes
                                                                                                           31 CAEP develops new emission standards based       Amendment 10 of January 1, 2021.
                                            emissions); developments in other
                                                                                                        on an assessment of the technical feasibility, cost,      36 CAEP/7 did not address new aircraft engine
                                            fields; and international and national                      and environmental benefit of potential                 emission standards.
                                            programs.’’ 29 The ICAO Council                             requirements.                                             37 ICAO, 2010: Committee on Aviation

                                            reviews and adopts the                                         32 ICAO, 2017: Aircraft Engine Emissions:           Environmental Protection (CAEP), Report of the
                                            recommendations made by CAEP. It                            Foreword, International Standards and                  Eighth Meeting, Montreal, February 1–12, 2010,
                                                                                                        Recommended Practices, Environmental Protection,       CAEP/8–WP/80. Available in Docket EPA–HQ–
                                            then reports to the ICAO Assembly, the                      Annex 16, Volume II, Fourth Edition, July 2017.        OAR–2010–0687.
                                                                                                        The ICAO Annex 16, Volume II, Fourth Edition,
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                                                                                                                                                                  38 ICAO, 2017: Aircraft Engine Emissions,
                                              26 Id.,   Article 33.                                     includes Amendment 10 of January 1, 2021.              International Standards and Recommended
                                              27 Id.                                                       33 CAEP conducts its work triennially. Each 3-      Practices, Environmental Protection, Annex 16,
                                              28 Id., Article 38.                                       year work cycle is numbered sequentially, and that     Volume II, Fourth Edition, July 2017, Amendment
                                              29 ICAO:   CAEP Terms of Reference. A copy of the         identifier is used to differentiate the results from   10. CAEP/8 corresponds to Amendment 7 effective
                                            CAEP Terms of reference is available in the docket          one CAEP meeting to another by convention. The         on July 18, 2011. The ICAO Annex 16, Volume II,
                                            for this rulemaking under document identification           first technical meeting on aircraft emission           Fourth Edition, includes Amendment 10 of January
                                            number EPA–HQ–OAR–2019–0660–0006.                           standards was CAEP’s predecessor, i.e., CAEE. The      1, 2021.



                                       VerDate Sep<11>2014       21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                  Page 15 of 54
                                            72318         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            carbon dioxide (CO2) emission                           pollutants emitted from aircraft engines                three different forms of aircraft engine
                                            standards, which ICAO approved in                       come directly from the authority in CAA                 PM standards: a PM mass concentration
                                            2017. The CAEP/10 CO2 standards                         section 231, and we have aligned the                    standard (mg/m3), a PM mass standard
                                            apply to new type design airplanes for                  U.S. emission requirements with those                   (mg/kN), and PM number standard (#/
                                            which the application for a type                        adopted by ICAO. As described in                        kN). These aircraft engine PM emission
                                            certificate will be submitted on or after               Section II.B, the ICAO/CAEP terms of                    standards are a different way of
                                            January 1, 2020, some modified in-                      reference includes technical                            regulating and/or measuring 49 aircraft
                                            production airplanes on or after January                feasibility.42 Technical feasibility has                engine PM emissions in comparison to
                                            1, 2023, and all applicable in-                         been interpreted by CAEP as technology                  smoke number emission standards.
                                            production airplanes manufactured on                    demonstrated to be safe and airworthy                      Internationally, the EPA and the FAA
                                            or after January 1, 2028.                               and available for application over a                    have worked within the standard-setting
                                               At the CAEP/10 and CAEP/11                           sufficient range of newly certificated                  process of ICAO (CAEP and its
                                            meetings in 2016 and 2019, the                          aircraft.43 This interpretation resulted in             predecessor, CAEE) since the 1970s to
                                            Committee agreed to three different                     all previous ICAO emission standards,                   help establish international emission
                                            forms of international PM standards for                 and the EPA’s standards reflecting them,                standards and related requirements,
                                            aircraft engines. Maximum PM mass                       being anti-backsliding standards (i.e.,                 which individual member States adopt
                                            concentration standards were agreed to                  the standards would not reduce aircraft                 into domestic law and regulations.
                                            at CAEP/10, and PM mass and number                      PM emissions below current engine                       Historically, under this approach,
                                            standards were agreed to at CAEP/11.                    emission levels), which are technology-                 international emission standards have
                                            ICAO adopted the PM maximum mass                        following.                                              first been adopted by ICAO, and
                                            concentration standards in 2017 and the                    For many years the EPA has regulated                 subsequently the EPA has initiated
                                            PM mass and number standards in 2020.                   aircraft engine PM emissions with                       rulemakings under CAA section 231 to
                                            The CAEP/10 PM standards apply to in-                   smoke number standards.44 Since                         establish domestic standards that are
                                            production engines on or after January                  setting the original smoke number                       harmonized with ICAO’s standards.
                                            1, 2020, and the CAEP/11 PM standards                   standards in 1973, the EPA has                          After the EPA promulgates aircraft
                                            apply to new-type and in-production                     periodically revised these standards.                   engine emission standards, CAA section
                                            engines on or after January 1, 2023. In                 The EPA amended its smoke standards                     232 requires the FAA to issue
                                            addition to CAEP/10 agreeing to a                       to align with ICAO’s smoke standards in                 regulations to ensure compliance with
                                            maximum PM mass concentration                           1982 45 and again in 1984.46                            the EPA aircraft engine emission
                                            standard, CAEP/10 adopted a reporting                   Additionally, the EPA has amended the                   standards when certificating aircraft
                                            requirement where aircraft engine                       test procedures for measuring smoke                     pursuant to its authority under title 49
                                            manufacturers were required to provide                  emissions 47 and modified the effective                 of the U.S. Code. This rulemaking will
                                            PM mass concentration, PM mass, and                     dates and compliance schedule for                       continue this historical rulemaking
                                            PM number emissions data—and other                      smoke emission standards                                approach.
                                            related parameters—by January 1, 2020                   periodically.48 Now, we are adopting                       The EPA and FAA worked from 2009
                                            for in-production engines.39                                                                                    to 2019 within the ICAO/CAEP
                                                                                                       42 ICAO: CAEP Terms of Reference. Available in       standard-setting process on the
                                            C. The Relationship Between the EPA’s                   the docket for this rulemaking under document           development of the three different forms
                                            Regulation of Aircraft Engine Emissions                 identification number EPA–HQ–OAR–2019–0660–
                                                                                                    0006.
                                                                                                                                                            of international aircraft engine PM
                                            and International Standards                                43 ICAO, 2019: Report of the Eleventh Meeting,       emission standards (a PM mass
                                              Domestically, as required by the CAA,                 Montreal, 4–15 February 2019, Committee on              concentration standard, a PM mass
                                            the EPA has been engaged in reducing                    Aviation Environmental Protection, Document             standard, and a PM particle number
                                                                                                    10126, CAEP/11. It is found on page 27 of the           standard). In this action, we are
                                            harmful air pollution from aircraft                     English Edition of the ICAO Products & Services
                                            engines for over 40 years, regulating                   2022 Catalog and is copyright protected: Order No.      adopting PM standards equivalent to
                                            gaseous exhaust emissions, smoke, and                   10126. The statement on technological feasibility is    ICAO’s three different forms of aircraft
                                            fuel venting from engines.40 We have                    located in Appendix C of Agenda Item 3 of this          engine PM emission standards.
                                                                                                    report (see page 3C–4, paragraph 2.2).                  Adoption of these standards will meet
                                            periodically revised these regulations.41                  44 See 40 CFR 87.1 (July 1, 2021). ‘‘Smoke means
                                            The EPA’s actions to regulate certain                   the matter in exhaust emissions that obscures the
                                                                                                    transmission of light, as measured by the test          Aircraft and Aircraft Engines; Extension of
                                              39 More                                               procedures specified in subpart G of this part.’’       Compliance Date for Emission Standards
                                                        specifically, the international PM                                                                  Applicable to JT3D Engines, Final Rule, 44 FR
                                            maximum mass concentration standard applies to          ‘‘Smoke number means a dimensionless value
                                                                                                    quantifying smoke emission as calculated according      64266 (November 6, 1979) (extending the final
                                            all turbofan and turbojet engines of a type or model,                                                           compliance date for smoke emission standards
                                            and their derivative versions, with a rated output      to ICAO Annex 16.’’
                                                                                                       45 Control of Air Pollution From Aircraft and        applicable to the JT3D aircraft engines by roughly
                                            greater than 26.7 kN and whose date of manufacture                                                              3.5 years); Control of Air Pollution from Aircraft;
                                            of the individual engine is on or after January 1,      Aircraft Engines; Emission Standards and Test
                                                                                                                                                            Amendment to Standards, Final Rule, 45 FR 86946,
                                            2020 (or those engines manufactured on or after         Procedures, Final Rule, 47 FR 58462 (December 30,
                                                                                                                                                            (December 31, 1980) (setting back by two years the
                                            January 1, 2020).                                       1982).
                                                                                                                                                            effective date for all gaseous emission standards
                                               40 Emission Standards and Test Procedures for           46 Control of Air Pollution From Aircraft and
                                                                                                                                                            which would otherwise have been effective on
                                            Aircraft; Final Rule, 38 FR 19088 (July 17, 1973).      Aircraft Engines; Smoke Emission Standard, Final        January 1,1981, for aircraft gas turbine engines);
                                               41 The following are the most recent EPA             Rule, 49 FR 31873 (August 9, 1984) (bifurcating         Control of Air Pollution from Aircraft and Aircraft
                                            rulemakings that revised these regulations. Control     EPA’s smoke standard for new engines into two           Engines, Final Rule, 46 FR 2044 (January 8, 1981)
                                            of Air Pollution from Aircraft and Aircraft Engines;    regimes—one for engines with rated output less          (extending the applicability of the temporary
                                            Emission Standards and Test Procedures; Final           than 26.7 kilonewtons and one for engines with          exemption provision of the standards for smoke and
                                            Rule, 62 FR 25355 (May 8, 1997); Control of Air         rated output equal to or greater than 26.7              fuel venting emissions from some in-use aircraft
                                            Pollution from Aircraft and Aircraft Engines;           kilonewtons).                                           engines); Control of Air Pollution From Aircraft and
                                                                                                       47 62 FR 25356 (harmonizing EPA procedures
lotter on DSK11XQN23PROD with RULES3




                                            Emission Standards and Test Procedures; Final                                                                   Aircraft Engines; Smoke Emission Standard, Final
                                            Rule, 70 FR 69664 (November 17, 2005); Control of       with recent amendments to ICAO test procedures);        Rule, 48 FR 46481 (October 12, 1983) (staying the
                                            Air Pollution from Aircraft and Aircraft Engines;       70 FR 69664 (same); 77 FR 36342.                        smoke regulations for new turbojet and turbofan
                                            Emission Standards and Test Procedures; Final              48 Amendment to Standards, Final Rule, 43 FR         engines rated below 26.7 kN thrust).
                                            Rule, 77 FR 36342 (June 18, 2012); Control of Air       12614 (March 24, 1978) (setting back by two years          49 Also, as described in Section IV.D, the final PM

                                            Pollution From Airplanes and Airplane Engines:          the effective date for all gaseous emission standards   standards employ a different method for measuring
                                            GHG Emission Standards and Test Procedures;             for newly manufactured aircraft and aircraft gas        aircraft engine PM emissions compared to the
                                            Final Rule, 86 FR 2136 (January 11, 2021).              turbine engines); Control of Air Pollution from         historical smoke number emission standards.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                   USCA Case #23-1019                          Document #1982482                                Filed: 01/20/2023                  Page 16 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                    72319

                                            the United States’ obligations under the                Particle concentration and composition                   standards only for the emission of
                                            Chicago Convention and will also help                   varies by time of year and location, and,                nvPM.
                                            ensure global acceptance of FAA                         in addition to differences in source
                                                                                                                                                             B. Health Effects of Particulate Matter
                                            airworthiness certification.                            emissions, is affected by several
                                               In December 2018, the EPA issued an                  weather-related factors, such as                            Scientific studies show exposure to
                                            information collection request (ICR) that               temperature, clouds, humidity, and                       ambient PM is associated with a broad
                                            matches the CAEP/10 PM reporting                        wind. Ambient levels of PM are also                      range of health effects. These health
                                            requirements described in Section                       impacted by particles’ ability to shift                  effects are discussed in detail in the U.S.
                                            II.B.50 In addition to the PM standards,                between solid/liquid and gaseous                         EPA’s Integrated Science Assessment for
                                            this rulemaking codifies the reporting                  phases, which is influenced by                           Particulate Matter (PM ISA), which was
                                            requirements implemented by this 2018                   concentration, meteorology, and                          finalized in December 2019 (2019 PM
                                            EPA ICR into the EPA regulations, as                    especially temperature.                                  ISA), with a more targeted evaluation of
                                            described in Section IV.E. Also, in a                      Fine particles are produced primarily                 studies published since the literature
                                            similar time frame as this rulemaking,                  by combustion processes and by                           cutoff date of the 2019 PM ISA in the
                                            the EPA will be renewing this ICR (the                                                                           Supplement to the Integrated Science
                                                                                                    transformations of gaseous emissions
                                            ICR needs to be renewed triennially).                                                                            Assessment for PM (Supplement).52 53
                                                                                                    (e.g., sulfur oxides (SOX), NOX and
                                                                                                                                                             Further discussion of PM-related health
                                            III. Particulate Matter Impacts on Air                  volatile organic compounds (VOCs)) in
                                                                                                                                                             effects can also be found in the 2022
                                            Quality and Health                                      the atmosphere. The chemical and
                                                                                                                                                             Policy Assessment for the review of the
                                                                                                    physical properties of PM2.5 may vary
                                            A. Background on Particulate Matter                                                                              PM National Ambient Air Quality
                                                                                                    greatly with time, region, meteorology,
                                               Particulate matter (PM) is a highly                                                                           Standards (NAAQS).54 55
                                                                                                    and source category. Thus, PM2.5 may                        The 2019 PM ISA concludes that
                                            complex mixture of solid particles and                  include a complex mixture of different                   human exposures to ambient PM2.5 are
                                            liquid droplets distributed among                       components including sulfates, nitrates,                 associated with a number of adverse
                                            numerous atmospheric gases which                        organic compounds, elemental carbon,                     health effects and characterizes the
                                            interact with solid and liquid phases.                  and metal compounds. These particles                     weight of evidence for broad health
                                            Particles range in size from those                      can remain in the atmosphere for days                    categories (e.g., cardiovascular effects,
                                            smaller than 1 nanometer (10¥9 meter)                   to weeks and travel through the                          respiratory effects, etc.).56 The 2019 PM
                                            to over 100 micrometers (mm, or 10¥6                    atmosphere hundreds to thousands of                      ISA additionally notes that stratified
                                            meter) in diameter. For reference, a                    kilometers.                                              analyses (i.e., analyses that directly
                                            typical strand of human hair is 70 mm                      Particulate matter is comprised of                    compare PM-related health effects
                                            in diameter and a grain of salt is about                both volatile and non-volatile PM. PM                    across groups) provide strong evidence
                                            100 mm. Atmospheric particles can be                    emitted from the engine is known as                      for racial and ethnic differences in PM2.5
                                            grouped into several classes according                  non-volatile PM (nvPM), and PM                           exposures and in PM2.5-related health
                                            to their aerodynamic and physical sizes.                formed from transformation of an                         risk. Recent studies evaluated in the
                                            Generally, the three broad classes of                   engine’s gaseous emissions are defined                   Supplement support the conclusion of
                                            particles include ultrafine particles                   as volatile PM.51 Because of the                         the 2019 PM ISA with respect to
                                            (UFPs, generally considered as                          difficulty in measuring volatile PM,                     disparities in both PM2.5 exposure and
                                            particulates with a diameter less than or               which is formed in the engine’s exhaust                  health risk by race and ethnicity and
                                            equal to 0.1 mm (typically based on                     plume and is significantly influenced by                 provide additional support for
                                            physical size, thermal diffusivity or                   ambient conditions, the EPA is adopting
                                            electrical mobility)), ‘‘fine’’ particles                                                                          52 U.S. EPA. Integrated Science Assessment (ISA)
                                            (PM2.5; particles with a nominal mean                     51 ICAO                                                for Particulate Matter (Final Report, 2019). U.S.
                                                                                                                2019 Environmental Report. This
                                            aerodynamic diameter less than or equal                 document is available in the docket for this             Environmental Protection Agency, Washington, DC,
                                            to 2.5 mm), and ‘‘thoracic’’ particles                  rulemaking under document identification number          EPA/600/R–19/188, 2019.
                                                                                                                                                               53 U.S. EPA. Supplement to the 2019 Integrated
                                            (PM10; particles with a nominal mean                    EPA–HQ–OAR–2019–0660–0022. See pages 98,
                                                                                                    100, and 101 for a description of non-volatile PM        Science Assessment for Particulate Matter (Final
                                            aerodynamic diameter less than or equal                                                                          Report, 2022). U.S. Environmental Protection
                                                                                                    and volatile PM.
                                            to 10 mm). Particles that fall within the                 ‘‘During the combustion of hydrocarbon-based           Agency, Washington, DC, EPA/600/R–22/028, 2022.
                                            size range between PM2.5 and PM10, are                  fuels, aircraft engines generate gaseous and               54 U.S. EPA. Policy Assessment for the

                                            referred to as ‘‘thoracic coarse particles’’            particulate matter (PM) emissions. At the engine         Reconsideration of the National Ambient Air
                                            (PM10–2.5, particles with a nominal mean                exhaust, particulate emissions consist mainly of         Quality Standards for Particulate Matter (Final
                                                                                                    ultrafine soot or black carbon emissions. These          Report, 2022). U.S. Environmental Protection
                                            aerodynamic diameter less than or equal                 particles, referred to as ‘‘non-volatile’’ PM (nvPM),    Agency, Washington, DC, EPA–452/R–22–004,
                                            to 10 mm and greater than 2.5 mm).                      are present at high temperatures, in the engine          2022.
                                               Particles span many sizes and shapes                 exhaust. Compared to conventional diesel engines,          55 U.S. EPA. Integrated Science Assessment (ISA)

                                            and may consist of hundreds of different                gas turbine engines emit non-volatile particles of       for Particulate Matter (Final Report, 2019). U.S.
                                                                                                    smaller mean diameter. Their characteristic size         Environmental Protection Agency, Washington, DC,
                                            chemicals. Particles are emitted directly               ranges roughly from 15 to 60 nanometers. . . .           EPA/600/R–19/188, 2019.
                                            from sources and are also formed                        These particles are invisible to the human eye and         56 The causal framework draws upon the
                                            through atmospheric chemical reactions                  are ultrafine.’’ (page 98.)                              assessment and integration of evidence from across
                                            between PM precursors; the former are                     ‘‘Additionally, gaseous emissions from engines         epidemiological, controlled human exposure, and
                                            often referred to as ‘‘primary’’ particles,             can also condense to produce new particles (i.e.,        toxicological studies, and the related uncertainties
                                                                                                    volatile particulate matter—vPM) or coat the             that ultimately influence our understanding of the
                                            and the latter as ‘‘secondary’’ particles.              emitted soot particles. Gaseous emissions species        evidence. This framework employs a five-level
                                                                                                    react chemically with ambient chemical                   hierarchy that classifies the overall weight of
                                              50 Information Collection Request Submitted to        constituents in the atmosphere to produce the so-        evidence and causality using the following
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                                            OMB for Review and Approval; Comment Request;           called secondary particulate matter. Volatile            categorizations: causal relationship, likely to be
                                            Aircraft Engines—Supplemental Information               particulate matter is dependent on these gaseous         causal relationship, suggestive of a causal
                                            Related to Exhaust Emissions (Renewal), 83 FR           precursor emissions. While these precursors are          relationship, inadequate to infer a causal
                                            44621 (August 31, 2018). U.S. EPA, Aircraft             controlled by gaseous emissions certification and        relationship, and not likely to be a causal
                                            Engines—Supplemental Information Related to             the fuel composition (e.g., sulfur content) for          relationship (U.S. EPA. (2009). Integrated Science
                                            Exhaust Emissions (Renewal), OMB Control                aircraft gas turbine engines, the volatile particulate   Assessment for Particulate Matter (Final Report).
                                            Number 2060–0680, ICR Reference Number                  matter is also dependent on the ambient air              U.S. Environmental Protection Agency,
                                            201809–2060–08, December 17, 2018.                      background composition.’’ (pages 100 and 101.)           Washington, DC, EPA/600/R–08/139F, Table 1–3).



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                   Page 17 of 54
                                            72320        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            disparities for lower socioeconomic                     national parks and wilderness areas                     2. Materials Damage and Soiling
                                            status populations. As described in                     from visibility impairment caused by                       Deposition of PM is associated with
                                            Section III.D, concentrations of PM                     manmade pollution.61 In 1999, the EPA                   both physical damage (materials damage
                                            increase with proximity to an airport.                  finalized the regional haze program to                  effects) and impaired aesthetic qualities
                                            Further, studies described in Section                   protect the visibility in Mandatory Class               (soiling effects). Wet and dry deposition
                                            III.G report that many communities in                   I Federal areas.62 There are 156 national               of PM can physically affect materials,
                                            close proximity to airports are                         parks, forests and wilderness areas                     adding to the effects of natural
                                            disproportionately represented by                       categorized as Mandatory Class I                        weathering processes, by potentially
                                            people of color and low-income                          Federal areas.63 These areas are defined                promoting or accelerating the corrosion
                                            populations.                                            in CAA section 162 as those national                    of metals, by degrading paints and by
                                               The EPA has concluded that recent                                                                            deteriorating building materials such as
                                                                                                    parks exceeding 6,000 acres, wilderness
                                            evidence in combination with evidence                                                                           stone, concrete and marble.67
                                                                                                    areas and memorial parks exceeding
                                            evaluated in the 2009 PM ISA supports
                                            a ‘‘causal relationship’’ between both                  5,000 acres, and all international parks                D. Near-Source Impacts on Air Quality
                                            long- and short-term exposures to PM2.5                 which were in existence on August 7,                    and Public Health
                                            and mortality and cardiovascular effects                1977. The EPA has also concluded that
                                                                                                    PM2.5 causes adverse effects on visibility                 Airport activity can adversely impact
                                            and a ‘‘likely to be causal relationship’’                                                                      air quality in the vicinity of airports.
                                            between long- and short-term PM2.5                      in other areas that are not targeted by
                                                                                                                                                            Furthermore, these adverse impacts may
                                            exposures and respiratory effects.57                    the Regional Haze Rule, such as urban
                                                                                                                                                            disproportionately impact sensitive
                                            Additionally, recent experimental and                   areas, depending on PM2.5                               subpopulations. A recent study by Yim
                                            epidemiologic studies provide evidence                  concentrations and other factors such as                et al (2015) assessed global, regional,
                                            supporting a ‘‘likely to be causal                      dry chemical composition and relative                   and local health impacts of civil
                                            relationship’’ between long-term PM2.5                  humidity (i.e., an indicator of the water               aviation emissions, using modeling
                                            exposure and nervous system effects,                    composition of the particles). The                      tools that address environmental
                                            and long-term PM2.5 exposure and                        secondary (welfare-based) PM NAAQS                      impacts at different spatial scales.68 The
                                            cancer. Because of remaining                            provide protection against visibility                   study attributed approximately 16,000
                                            uncertainties and limitations in the                    effects. In recent PM NAAQS reviews,                    premature deaths per year globally to
                                            evidence base, the EPA determined a                     EPA evaluated a target level of                         global aviation emissions, with 87
                                            ‘‘suggestive of, but not sufficient to                  protection for visibility impairment that               percent attributable to PM2.5. The study
                                            infer, a causal relationship’’ for long-                is expected to be met through                           concludes that about a third of these
                                            term PM2.5 exposure and reproductive                    attainment of the existing secondary PM                 mortalities are attributable to PM2.5
                                            and developmental effects (i.e., male/                  standards.64                                            exposures within 20 kilometers of an
                                            female reproduction and fertility;                                                                              airport. Another study focused on the
                                            pregnancy and birth outcomes), long-                    1. Deposition of Metallic and Organic                   continental United States estimated 210
                                            and short-term exposures and metabolic                  Constituents of PM                                      deaths per year attributable to PM2.5
                                            effects, and short-term exposure and                                                                            from aircraft activity at airports.69 While
                                            nervous system effects.                                    Several significant ecological effects
                                                                                                                                                            there are considerable uncertainties
                                               More detailed information on the                     are associated with deposition of
                                                                                                                                                            associated with such estimates, these
                                            health effects of PM can be found in a                  chemical constituents of ambient PM
                                                                                                                                                            results suggest that in addition to the
                                            memorandum to the docket.58 The EPA                     such as metals and organics.65 Like all
                                                                                                                                                            contributions of PM2.5 emissions to
                                            is reconsidering a 2020 decision to                     internal combustion engines, turbine                    regional air quality, impacts on public
                                            retain the PM NAAQS.59                                  engines covered by this rule may emit                   health of these emissions in the vicinity
                                                                                                    trace amounts of metals due to fuel                     of airports are an important public
                                            C. Environmental Effects of Particulate
                                                                                                    contamination or engine wear.                           health concern.
                                            Matter
                                                                                                    Ecological effects of PM include direct                    A significant body of research has
                                               Environmental effects that can result                effects to metabolic processes of plant                 addressed pollutant levels and potential
                                            from particulate matter emissions                       foliage; contribution to total metal                    health effects in the vicinity of airports.
                                            include visibility degradation, plant and               loading resulting in alteration of soil                 Much of this research was synthesized
                                            ecosystem effects, deposition effects,                  biogeochemistry and microbiology,                       in a 2015 report published by the
                                            and materials damage and soiling. These                 plant and animal growth and                             Airport Cooperative Research Program
                                            effects are briefly summarized here and                 reproduction; and contribution to total                 (ACRP), conducted by the
                                            discussed in more detail in the memo to                 organics loading resulting in                           Transportation Research Board.70 The
                                            the docket cited in Section III.B.                      bioaccumulation and
                                               PM2.5 emissions also adversely impact                biomagnification.66                                        67 U.S. Environmental Protection Agency (U.S.
                                            visibility.60 In the Clean Air Act                                                                              EPA). 2018. Integrated Science Assessment (ISA) for
                                            Amendments of 1977, Congress                              61 See
                                                                                                                                                            Oxides of Nitrogen, Oxides of Sulfur and Particulate
                                                                                                              CAA section 169(a).                           Matter Ecological Criteria Second External Review
                                            recognized visibility’s value to society                  62 Regional  Haze Regulations; Final Rule, 64 FR      Draft). EPA–600–R–18–097. Washington, DC.
                                            by establishing a national goal to protect              35714 (July 1, 1999).                                   December.
                                                                                                       63 National Ambient Air Quality Standards for           68 Yim, S.H.L., Lee, G.L., Lee, I.H., Allrogen, F.,
                                              57 Short term exposures are usually defined as        Particulate Matter; Final Rule, 62 FR 38652 (July 18,   Ashok, A., Caiazzo, F., Eatham, S.D., Malina, R.,
                                            less than 24 hours duration.                            1997).                                                  Barrett, S.R.H. 2015. Global, regional, and local
                                              58 U.S. EPA, Cook, R. Memorandum to Docket               64 Cook, op. cit., p. 6.                             health impacts of civil aviation emissions. Environ.
                                            EPA–HQ–OAR–2019–0660, ‘‘Health and                         65 U.S. EPA. 2018. Integrated Science Assessment     Res. Lett. 10: 034001.
                                            environmental effects of non-GHG pollutants             (ISA) for Oxides of Nitrogen, Oxides of Sulfur and         69 Brunelle-Yeung, E., Masek, T., Rojo, J., Levy, J.,
lotter on DSK11XQN23PROD with RULES3




                                            emitted by turbine engine aircraft—final rule           Particulate Matter Ecological Criteria Second           Arunachalam, S., Miller, S., Barrett, S., Kuhn, S.,
                                            version,’’ August 11, 2022.                             External Review Draft). EPA–600–R–18–097.               Waitz, I. 2014. Assessing the impact of aviation
                                              59 Id., p. 6.                                         Washington, DC. December.                               environmental policies on public health. Transport
                                              60 U.S. EPA. Integrated Science Assessment (ISA)         66 U.S. EPA. Integrated Science Assessment (ISA)     Policy 34: 21–28.
                                            for Particulate Matter (Final Report, 2019). U.S.       for Particulate Matter (Final Report, 2019). U.S.          70 Kim, B., Nakada, K., Wayson, R., Christie, S.,

                                            Environmental Protection Agency, Washington, DC,        Environmental Protection Agency, Washington, DC,        Paling, C., Bennett, M., Raper, D., Raps, V., Levy,
                                            EPA/600/R–19/188, 2019.                                 EPA/600/R–19/188, 2019.                                 J., Roof, C. 2015. Understanding Airport Air Quality



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                  Page 18 of 54
                                                          Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                   72321

                                            report concluded that PM2.5                             Logan airport. Stacey (2019) conducted                  reactive organic species in bronchial
                                            concentrations in and around airports                   a literature survey and concluded that                  epithelial cells.
                                            vary considerably, ranging from                         the literature consistently reports that                   Because of these potential impacts, a
                                            ‘‘relatively low levels to those that are               particle numbers close to airports are                  systematic literature review was
                                            close to the NAAQS, and in some cases,                  significantly higher than locations
                                                                                                                                                            recently conducted to identify peer-
                                            exceeding the standards.’’ 71                           distant and upwind of airports, and that
                                               Furthermore, the report states that                                                                          reviewed literature on air quality near
                                                                                                    the particle size distribution is different
                                            ‘‘existing studies indicate that ultrafine                                                                      commercial airports and assess the
                                                                                                    from traditional road traffic, with more
                                            particle concentrations are highly                      extremely fine particles.77 Similar                     quality of the studies.87 The systematic
                                            elevated at an airport (i.e., near a                    findings have been published from                       review identified seventy studies for
                                            runway) with particle counts that can be                European studies.78 79 80 81 82 83 Results of           evaluation. These studies consistently
                                            orders of magnitude higher than                         a monitoring study of communities near                  showed that particulate matter, in the
                                            background with some persistence                        Seattle-Tacoma International Airport                    form of UFP, is elevated in and around
                                            many meters downwind (e.g., 600                         also found higher levels of ultrafine PM                airports. Furthermore, many studies
                                            m).’’ 72 Finally, the report concludes that             near the airport, and an impacted area                  showed elevated levels of black carbon,
                                            PM2.5 dominates overall health risks                    larger than at near-roadway sites.84 The                criteria pollutants, and polycyclic
                                            posed by airport emissions.73 Moreover,                 PM associated with aircraft landing                     aromatic hydrocarbons as well. Finally,
                                            one recently published study concluded                  activity was also smaller in size, with                 the systematic review, while not
                                            that emissions from aircraft play an                    lower black carbon concentrations than                  focused on health effects, identified a
                                            etiologic role in pre-term births,                      near-roadway samples. As discussed in                   limited number of references reporting
                                            independent of noise and traffic-related                Section III.B, PM2.5 exposures are                      adverse health effects impacts,
                                            air pollution exposures.74                              associated with a number of serious,                    including increased rates of premature
                                               Since the publication of the 2015                    adverse health effects. Further, the PM                 death, pre-term births, decreased lung
                                            ACRP literature review, a number of                     attributable to aircraft emissions has                  function, oxidative deoxyribonucleic
                                            studies conducted in the United States                  been associated with potential adverse                  acid (DNA) damage and childhood
                                            have been published which concluded                     health impacts.85 86 For example, He et                 leukemia. As indicated in the proposal,
                                            that ultrafine particle number                          al. (2018) found that particle                          more research is needed linking particle
                                            concentrations were elevated downwind                   composition, size distribution and                      size distributions to specific airport
                                            of commercial airports, and that                        internalized amount of particles near                   activities, and proximity to airports,
                                            proximity to an airport also increased                  airports all contributed to promotion of                characterizing relationships between
                                            particle number concentrations within
                                                                                                                                                            different pollutants, evaluating long-
                                            residences. Hudda et al. investigated                      77 Stacey, B. 2019. Measurement of ultrafine

                                                                                                    particles at airports: A review. Atmos. Environ. 198:   term impacts, and improving our
                                            ultrafine particle number concentrations
                                            (PNC) inside and outside 16 residences                  pp. 463–477.                                            understanding of health effects.
                                                                                                       78 Masiol M., Harrison R.M. Quantification of air
                                            in the Boston metropolitan area. They                   quality impacts of London Heathrow Airport (UK)
                                                                                                                                                               A systematic review of health effects
                                            found elevated outdoor PNC within                       from 2005 to 2012. Atmos Environ 2017; 116:308–         associated with exposure to jet engine
                                            several kilometers of the airport. They                 19.                                                     emissions in the vicinity of airports was
                                                                                                       79 Keuken, M.P., Moerman, M., Zandveld, P.,
                                            also found that aviation-related PNC                                                                            also recently published.88 This study
                                                                                                    Henzing, J.S., Hoek, G., 2015. Total and size-
                                            infiltrated indoors and resulted in                     resolved particle number and black carbon               concluded that literature on health
                                            significantly higher indoor PNC.75 In                   concentrations in urban areas near Schiphol airport     effects was sparse, but jet engine
                                            another study in the vicinity of Logan                  (the Netherlands). Atmos. Environ. 104: pp. 132–        emissions have physicochemical
                                            airport, Hudda et al. analyzed PNC                      142.
                                                                                                       80 Pirhadi, M., Mousavi, A., Sowlat, M.H.,
                                                                                                                                                            properties similar to diesel exhaust
                                            impacts of aviation activities.76 They                  Janssen, N.A.H., Cassee, F.R., Sioutas, C., 2020.       particles, and that exposure to jet engine
                                            found that, at sites 4.0 and 7.3 km from                Relative contributions of a major international         emissions is associated with similar
                                            the airport, average PNCs were 2 and                    airport activities and other urban sources to the       adverse health effects as exposure to
                                            1.33-fold higher, respectively, when                    particle number concentrations (PNCs) at a nearby
                                                                                                    monitoring site. Environ. Pollut, 260: 114027.          diesel exhaust particles and other traffic
                                            winds were from the direction of the                       81 Stacey, B., Harrison, R.M., Pope, F., 2020.       emissions. A 2010 systematic review by
                                            airport compared to other directions,                   Evaluation of ultrafine particle concentrations and     the Health Effects Institute (HEI)
                                            indicating that aviation impacts on PNC                 size distributions at London Heathrow Airport.          concluded that evidence was sufficient
                                            extend many kilometers downwind of                      Atmos. Environ., 222: 117148.
                                                                                                       82 Ungeheuer, F., Pinxteren, D., Vogel, A. 2021.     to support a causal relationship between
                                                                                                    Identification and source attribution of organic        exposure to traffic-related air pollution
                                            and Public Health Studies Related to Airports.
                                            Airport Cooperative Research Program, ACRP
                                                                                                    compounds in ultrafine particles near Frankfurt         and exacerbation of asthma among
                                                                                                    International Airport. Atmos. Chem. Phys. 21: pp.       children, and suggestive of a causal
                                            Report 135.                                             3763–3775.
                                               71 Id.
                                                                                                       83 Zhang, X., Karl, M. Zhang, L. Wang, J., 2020.     relationship for childhood asthma, non-
                                               72 Id. at 40.
                                                                                                    Influence of Aviation Emission on the Particle          asthma respiratory symptoms, impaired
                                               73 Id. at 41.
                                                                                                    Number Concentration near Zurich Airport.               lung function and cardiovascular
                                               74 Wing, S.E., Larson, T.V., Hudda, N.,              Environ. Sci. Technol. 54: pp. 14161–14171.
                                                                                                                                                            mortality.89
                                            Boonyarattaphan, S., Fruin, S., Ritz, B. 2020.             84 University of Washington. 2019. Mobile

                                            Preterm birth among infants exposed to in utero         Observations of Ultrafine Particles: The Mov-UP
                                            ultrafine particles from aircraft emissions. Environ.   study report.                                             87 Riley, K., Cook, R., Carr, E., Manning, B. 2021.

                                            Health Perspect. 128(4).                                   85 Habre. R., Zhou, H., Eckel, S., Enebish, T.,      A Systematic Review of The Impact of Commercial
                                               75 Hudda, N., Simon, N.C., Zamore, W., Durant,       Fruin, S., Bastain, T., Rappaport, E. Gilliland, F.     Aircraft Activity on Air Quality Near Airports. City
                                            J.L. 2018. Aviation-related impacts on ultrafine        2018. Short-term effects of airport-associated          and Environment Interactions, 100066.
                                            number concentrations outside and inside                ultrafine particle exposure on lung function and          88 Bendtsen, K.M., Bengtsen, E., Saber, A., Vogel,
lotter on DSK11XQN23PROD with RULES3




                                            residences near an airport. Environ. Sci. Technol.      inflammation in adults with asthma. Environment         U. 2021. A review of health effects associated with
                                            52: pp. 1765–1772.                                      International 118: pp. 48–59.                           exposure to jet engine emissions in and around
                                               76 Hudda, N., Simon, M.C., Zamore, W., Brugge,          86 He, R.-W., Shirmohammadi, F., Gerlofs-            airports. Environ. Health 20:10.
                                            D., Durant, J.L. 2016. Aviation emissions impact        Nijland, M.E., Sioutas, C., & Cassee, F.R. 2018. Pro-     89 Health Effects institute. ‘‘Special Report 17: A

                                            ultrafine particle concentrations in the greater        inflammatory responses to PM (0.25) from airport        Special Report of the Institute’s Panel on the Health
                                            Boston area. Environ. Sci. Technol. 50: pp. 8514–       and urban traffic emissions. The Science of the total   Effects of Traffic-Related Air Pollution.’’ January
                                            8521.                                                   environment, 640–641, pp. 997–100.                      2010.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023               Page 19 of 54
                                            72322         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            E. Contribution of Aircraft Emissions to                provide a fuller picture of how airports              However, it should be noted that two
                                            PM in Selected Areas                                    are impacting local air quality. Figure               airports cross county lines—Hartsfield-
                                                                                                    III–1 depicts the contribution to county-             Jackson Atlanta International Airport
                                              This section provides background on                   level PM2.5 direct emissions from all                 (Clayton and Fulton counties) and
                                            the contribution of aircraft engine                     turbine aircraft in that county with rated            O’Hare (Cook and DuPage counties). For
                                            emissions to local PM concentrations. In                output of greater than 26.7 kN.                       those airports, percentages are
                                            some areas with large commercial                        Emissions data were obtained from the                 calculated for the sum of the two
                                            airports, turbine engine aircraft can                   EPA 2017 National Emissions Inventory                 counties. In addition, five of these
                                            make a significant contribution to                      (NEI).90 Inventory estimates for turbine              counties are in nonattainment for either
                                            ambient PM2.5. To evaluate these                        engine aircraft were adjusted to account              the PM2.5 or PM10 standard. When
                                            potential impacts, we identified the 25                 for an improved methodology for                       emissions from these airports are
                                            airports where commercial aircraft                      estimating PM from nvPM                               considered as part of the entire MSA,
                                            operations are the greatest, based on                   measurements. This adjustment is                      the contribution is much smaller. Figure
                                            data for 2017 from the FAA Air Traffic                  described in detail in Section V.B. The               III–2 depicts the contributions at the
                                            Data System (ATADS). These 25                           contributions of engines greater than                 metropolitan statistical area (MSA)
                                            commercial airports are located in 24                   26.7 kN rated output to total turbine                 instead of the county level, and
                                            counties and 22 metropolitan statistical                engine emissions at individual airports               contributions across airports range from
                                            areas (MSAs). We compared the                           were estimated based on FAA data.91 At                about 0.5 to 3 percent. Details of this
                                            contributions of these airports to                      the county level, contributions to total              analysis are described in a
                                            emissions at both the county and MSA                    mobile source PM2.5 emissions range                   memorandum to the docket.92
                                            levels. Comparisons at both scales                      from less than 1 to about 16 percent.                 BILLING CODE 6560–50–P




                                                                 2017 Turbine Aircraft >26.7 kN PM2.5 as a Percent of All Mobile PM2.5
                                                               for the County or Counties in Which the Airport Resides, 25 Largest Carrier
                                                                                               Operations
                                                 18.00 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                                                 16.00

                                                 14.00

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                                                                                                                                                                            IIII                    1



                                            Figure III–1


                                              90 2017 National Emissions Inventory: Aviation        ATADS data, the 2017 NEI relies on 2014 ATADS         engines with thrust rating greater than 26.7 kN
                                            Component, Eastern Research Group, Inc., June 25,       data.                                                 compared to PM emissions from the whole fleet at
                                                                                                                                                          each airport.
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                                                                                                      91 These data were obtained using radar-informed
                                            2020, EPA Contract No. EP–C–17–011, Work Order
                                            No. 2–19. See section 3.2 for airports and aircraft     data from the FAA Enhanced Traffic Management           92 U.S. EPA, Cook, R. Memorandum to Docket

                                            related emissions in the Technical Supporting           System (ETMS). The annual fuel burn and               EPA–HQ–OAR–2019–0660, ‘‘Estimation of 2017
                                            Document for the 2017 National Emissions                emissions inventories at selected top US airports     Emissions Contributions of Turbine Aircraft >26.7
                                                                                                    were based on the 2015 FAA flight operations          kN to NOX and PM2.5 as a Percentage of All Mobile
                                            Inventory, January 2021 Updated Release. It should
                                                                                                    database. The fraction of total PM emissions from     PM2.5 for the Counties and MSAs in Which the
                                            be noted that while identification of the 25 airports   aircraft covered by the final PM standards is based   Airport Resides, 25 Largest Carrier Operations—
                                            with the greatest commercial activity uses 2017
                                                                                                                                                                                                              ER23NO22.165</GPH>




                                                                                                    on the ratio of total PM emissions from flights by    Final Rule,’’ June 14, 2022.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00012   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                           Document #1982482                                Filed: 01/20/2023                Page 20 of 54
                                                            Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                 72323



                                                                   2017 Turbine Aircraft >26. 7 kN PM2.S as a Percent of All Mobile PM2.S
                                                                  for the MSA in Which the Airport Resides, 25 Largest Carrier Operations
                                                 3.00 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



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                                            BILLING CODE 6560–50–C                                   particulate form. Metal compounds                      and enforcement of environmental laws,
                                            Figure III–2                                             emitted from aircraft turbine engine                   regulations, and policies.96
                                            F. Other Pollutants Emitted by Aircraft                  combustion include chromium,                              When assessing the potential for
                                               In addition to particulate matter, a                  manganese, and nickel. Several POM                     disproportionately high and adverse
                                            number of other criteria pollutants are                  compounds, as well as hexavalent                       health or environmental impacts of
                                            emitted by the aircraft subject to this                  chromium, manganese compounds and                      regulatory actions on minority
                                            final rule. These pollutants, which are                  nickel compounds are included in the                   populations, low-income populations,
                                            not covered by the rule, include NOX,                    National Air Toxics Assessment, based                  tribes, and/or Indigenous peoples, the
                                            including nitrogen dioxide (NO2), VOC,                   on potential carcinogenic risk.94 In                   EPA strives to answer three broad
                                            CO, and sulfur dioxide (SO2). Aircraft                   addition, as mentioned previously,                     questions: (1) Is there evidence of
                                            also contribute to ambient levels of                     deposition of metallic compounds can                   potential EJ concerns in the baseline
                                            hazardous air pollutants (HAP),                          have ecological effects. Impacts of POM                (the state of the world absent the
                                            compounds that are known or suspected                    and metals are further discussed in the                regulatory action)? Assessing the
                                            human or animal carcinogens, or that                     memorandum to the docket referenced                    baseline will allow the EPA to
                                            have noncancer health effects. These                     in Section III.B.
                                                                                                                                                               96 Fair treatment means that ‘‘no group of people
                                            compounds include, but are not limited                   G. Environmental Justice                               should bear a disproportionate burden of
                                            to, benzene, 1,3-butadiene,                                                                                     environmental harms and risks, including those
                                            formaldehyde, acetaldehyde, acrolein,                       The EPA’s June 2016 ‘‘Technical                     resulting from the negative environmental
                                            polycyclic organic matter (POM), and                     Guidance for Assessing Environmental                   consequences of industrial, governmental and
                                            certain metals. Some POM and HAP                                                                                commercial operations or programs and policies.’’
                                                                                                     Justice in Regulatory Analysis’’ provides              Meaningful involvement occurs when ‘‘(1)
                                            metals are components of PM2.5 mass                      recommendations on conducting the                      potentially affected populations have an
                                            measured in turbine engine aircraft                      highest quality analysis feasible,                     appropriate opportunity to participate in decisions
                                            emissions.93                                             recognizing that data limitations, time                about a proposed activity [e.g., rulemaking] that
                                               The term polycyclic organic matter                                                                           will affect their environment and/or health; (2) the
                                                                                                     and resource constraints, and analytic                 public’s contribution can influence [the EPA’s
                                            (POM) defines a broad class of                           challenges will vary by media and                      rulemaking] decision; (3) the concerns of all
                                            compounds that includes the polycyclic                   regulatory context.95 The EPA defines                  participants involved will be considered in the
                                            aromatic hydrocarbon compounds                           environmental justice as the fair                      decision-making process; and (4) [the EPA will]
                                            (PAHs). POM compounds are formed                         treatment and meaningful involvement                   seek out and facilitate the involvement of those
                                            primarily from combustion and are                                                                               potentially affected’’. A potential EJ concern is
                                                                                                     of all people regardless of race, color,               defined as ‘‘the actual or potential lack of fair
                                            present in the atmosphere in gas and                     national origin, or income with respect
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                                                                                                                                                            treatment or meaningful involvement of minority
                                                                                                     to the development, implementation,                    populations, low-income populations, tribes, and
                                              93 Kinsey, J.S., Hays, M.D., Dong, Y., Williams,                                                              Indigenous peoples in the development,
                                            D.C. Logan, R. 2011. Chemical characterization of                                                               implementation and enforcement of environmental
                                                                                                       94 U.S.
                                                                                                             EPA, Air Toxics Screening Assessment.
                                            the fine particle emissions from commercial aircraft                                                            laws, regulations and policies.’’ See ‘‘Guidance on
                                            engines during the aircraft particle emissions             95 ‘‘Technical
                                                                                                                    Guidance for Assessing                  Considering Environmental Justice During the
                                            experiment (APEX) 1–3. Environ. Sci. Technol.            Environmental Justice in Regulatory Analysis.’’        Development of an Action.’’ Environmental
                                                                                                                                                                                                                   ER23NO22.166</GPH>




                                            45:3415–3421.                                            Environmental Protection Agency (June 2016).           Protection Agency.



                                       VerDate Sep<11>2014    21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00013    Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                  Page 21 of 54
                                            72324        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            determine whether pre-existing                          during the academic year being exposed                 reduce pollution in communities living
                                            disparities are associated with the                     to airport pollution, and the percentage               in close proximity to airports.
                                            pollutant(s) under consideration (e.g., if              of impacted students was higher for                      The final in-production standards for
                                            the effects of the pollutant(s) are more                those who were economically                            both PM mass and PM number are
                                            concentrated in some population                         disadvantaged.102 Rissman et al. (2013)                levels that all aircraft engines in
                                            groups). (2) Is there evidence of                       studied PM2.5 at the Hartsfield-Jackson                production currently meet to align with
                                            potential EJ concerns for the regulatory                Atlanta International Airport and found                ICAO’s standards. Thus, the final
                                            option(s) under consideration?                          that the relationship between minority                 standards are not expected to result in
                                            Specifically, how are the pollutant(s)                  population percentages and aircraft-                   emission reductions, beyond the
                                            and its effects distributed for the                     derived PM was found to grow stronger                  business-as-usual fleet turnover that
                                            regulatory options under consideration?                                                                        would occur absent the final standards.
                                                                                                    as concentrations increased.103
                                            And, (3) do the regulatory option(s)                                                                           Therefore, we do not anticipate an
                                            under consideration exacerbate or                          Additional studies have reported that               improvement in air quality for those
                                            mitigate EJ concerns relative to the                    many communities in close proximity to                 who live near airports where these
                                            baseline? It is not always possible to                  airports are disproportionately                        aircraft operate, beyond what may occur
                                            quantitatively assess these questions.                  represented by minorities and low-                     as a result of fleet turnover and from any
                                               The EPA’s 2016 Technical Guidance                    income populations. McNair (2020)                      reductions in emissions from other
                                            does not prescribe or recommend a                       describes nineteen major airports that                 sectors contributing to air quality near
                                            specific approach or methodology for                    underwent capacity expansion projects                  airports.
                                            conducting an environmental justice                     between 2000 and 2010, thirteen of                       Response to comments on Section III
                                            analysis, though a key consideration is                 which met characteristics of race,                     of this action can be found in the
                                            consistency with the assumptions                        ethnicity, nationality and/or income                   Response to Comments document. In
                                            underlying other parts of the regulatory                that indicate a disproportionate impact                addition, all website addresses for
                                            analysis when evaluating the baseline                   on these residents.104 Woodburn (2017)                 references cited in this section are
                                            and regulatory options. Where                           reports on changes in communities near                 provided in a memorandum to the
                                            applicable and practicable, the Agency                  airports from 1970–2010, finding                       docket.107
                                            endeavors to conduct such an analysis.                  suggestive evidence that at many hub                   IV. Details of the Final Rule
                                            Going forward, the EPA is committed to                  airports over time, the presence of
                                            conducting environmental justice                                                                                  In determining what final PM
                                                                                                    marginalized groups residing in close                  standards are appropriate under CAA
                                            analysis for rulemakings based on a                     proximity to airports increased.105
                                            framework similar to what is outlined in                                                                       section 231 and after consultation with
                                            the EPA’s Technical Guidance, in                           Although not being conducted as part                FAA, the EPA considered the level of
                                            addition to investigating ways to further               of this rulemaking, the EPA is                         standards that could be met with the
                                            weave environmental justice into the                    conducting a demographic analysis to                   application of requisite technology
                                            fabric of the rulemaking process.                       explore whether populations living                     within the necessary period of time that
                                               Numerous studies have found that                     nearest the busiest runways show                       would allow the United States to meet
                                            environmental hazards such as air                       patterns of racial and socioeconomic                   its obligations under the Chicago
                                            pollution are more prevalent in areas                   disparity.106 This will help characterize              Convention to at least match the ICAO
                                            where people of color and low-income                    the state of environmental justice                     standards, and gave appropriate
                                            populations represent a higher fraction                 concerns and inform potential future                   consideration to the cost of compliance
                                            of the population compared with the                     actions. Finely resolved population data               within this period. This determination
                                            general population, including near                      (i.e., 30 square meters) will be paired                also took into account the requirement
                                            transportation sources.97 98 99 100 101                 with census block group demographic                    that EPA’s revised standards not
                                               As described in Section III.D,                       characteristics to evaluate if people of               significantly increase noise and
                                            concentrations of PM increase with                      color, children, Indigenous populations,               adversely affect safety. The EPA
                                            proximity to an airport. Air pollution                  and low-income populations are                         considered the statutory requirements in
                                            can disproportionately impact sensitive                 disproportionately living near airport                 CAA section 231 and other relevant
                                            subpopulations near airports. Henry et                  runways compared to populations living                 factors as described in Section VI of
                                            al. (2019) studied impacts of several                   further away. The results of this analysis             both the proposed rule and this final
                                            California airports on surrounding                      could help inform additional policies to               rule, and we concluded that it was
                                            schools and found that over 65,000                                                                             reasonable and appropriate to finalize
                                            students spend 1 to 6 hours a day                          102 Henry, R.C., Mohan, S., Yazdani, S. (2019)
                                                                                                                                                           the new PM standards that match the
                                                                                                    Estimating potential air quality impact of airports    international standards in scope,
                                              97 Rowangould, G.M. (2013) A census of the near-      on children attending the surrounding schools.         stringency, and effective date. The EPA
                                            roadway population: public health and                   Atmospheric Environment, 212: pp. 128–135.             has consulted with FAA and believes
                                            environmental justice considerations. Trans Res D          103 Rissman, J., Arunachalam, S., BenDor, T.,
                                                                                                                                                           sufficient lead time has been provided
                                            25: pp. 59–67.                                          West, J.J. (2013) Equity and health impacts of
                                              98 Marshall, J.D., Swor, K.R., Nguyen, N.P. (2014)    aircraft emissions at the Hartfield-Jackson Atlanta
                                                                                                                                                           since the technology has already been
                                            Prioritizing environmental justice and equality:        International Airport, Landscape and Urban             developed and implemented by
                                            diesel emissions in Southern California. Environ        Planning 120: pp. 234–247.                             manufacturers to comply with the new
                                            Sci Technol 48: pp. 4063–4068.                             104 McNair, A. (2020) Investigation of
                                                                                                                                                           PM standards. Also, as described in
                                              99 Marshall, J.D. (2000) Environmental inequality:    environmental justice analysis in airport planning     Section IV.F.1, the EPA is confident that
                                            air pollution exposures in California’s South Coast     practice from 2000 to 2010. Transp. Research Part
                                            Air Basin. Atmos Environ 21: pp. 5499–5503.             D 81:102286.                                           the final standards will not significantly
                                              100 Tessum, C.W., Paolella, D.A., Chambliss, SE,         105 Woodburn, A. (2017) Investigating               increase noise and adversely affect
lotter on DSK11XQN23PROD with RULES3




                                            Apte, J.S., Hill, J.D., Marshall, J.D. (2021) PM2.5     neighborhood change in airport-adjacent
                                            polluters disproportionately and systemically affect    communities in multiairport regions from 1970 to         107 U.S. EPA, Cook, R. Memorandum to Docket
                                            people of color in the United States. Science           2010. Journal of the Transportation Research Board,    EPA–HQ–OAR–2019–0660, ‘‘Web addresses for
                                            Advances 7:eabf4491.                                    2626, pp. 1–8.                                         references cited in Section III of the preamble for
                                              101 Mohai, P., Pellow, D., Roberts Timmons, J.           106 EPA anticipates that the results of the study   Control of Air Pollution from Aircraft Engines:
                                            (2009) Environmental justice. Annual Reviews 34:        will be released publicly in a separate document       Emission Standards and Test Procedures; Final
                                            pp. 405–430.                                            from the final rule.                                   Rule,’’ November 9, 2022.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023            Page 22 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                           72325

                                            safety. Further, as described in Section                to the existing gaseous exhaust                       standards for international
                                            VI.D, the EPA does not project any costs                emissions test procedures.                            harmonization, meet the United States’
                                            associated with these standards because                    Sections IV.A through IV.C describe                treaty obligations under the Chicago
                                            all in-production engines meet the in-                  the final mass, number, and mass                      Convention.
                                            production standards, nearly all in-                    concentration standards for aircraft                     These standards will also allow U.S.
                                            production engines meet the new type                    engines. Section IV.D describes the test              manufacturers of covered aircraft
                                            design standard, and future new type                    procedures and measurement                            engines to remain competitive in the
                                            designs are expected to meet the new                    procedures associated with the PM                     global marketplace. The ICAO aircraft
                                            type design standard. In addition to the                standards. Section IV.E presents                      engine PM emission standards have
                                            statutory requirements of CAA section                   information related to the reporting                  been, or are being, adopted by other
                                            231, the EPA, after consultation with                   requirements.                                         ICAO member states that certify aircraft
                                            FAA, also took into consideration the                      As discussed in Section III.A, PM2.5               engines. In the absence of U.S.
                                            importance of controlling PM emissions,                 consists of both volatile and non-                    standards implementing the ICAO
                                            international harmonization of aviation                 volatile PM (nvPM), although only non-                aircraft engine PM emission standards,
                                            requirements, and the international                     volatile PM will be covered by the                    the United States would not be able to
                                            nature of the aircraft industry. The EPA                adopted standards. Only non-volatile                  certify aircraft engines to the PM
                                            gave significant weight to the United                   PM is present at the engine exit because              standards. In this case, U.S. civil aircraft
                                            States’ treaty obligations under the                    the exhaust temperature is too high for               engine manufacturers could be forced to
                                            Chicago Convention in determining the                   volatile PM to form. The volatile PM (or              seek PM emissions certification from an
                                            need for and appropriate levels of PM                   secondary PM) is formed as the engine                 aviation certification authority of
                                            standards. U.S. manufacturers could be                  exhaust plume cools and mixes with the                another country to market and operate
                                            at a significant disadvantage if the                    ambient air. The result of this is that the           their aircraft engines internationally.
                                            United States fails to adopt standards by               volatile PM is significantly influenced               Foreign certification authorities may not
                                            the international implementation date.                  by the ambient conditions (or ambient                 have the resources to certify aircraft
                                            Also, given the short timeframe from                    air background composition). Because of               engines from U.S. manufacturers in a
                                            this final action and the international                 this complexity, a test procedure to                  timely manner, which could lead to
                                            implementation date, there would not                    measure volatile PM has not yet been                  delays in these engines being certified.
                                            be enough lead time for manufacturers                   developed for aircraft engines. To                    Thus, U.S. manufacturers could be at a
                                            to respond to more stringent standards                  directly measure non-volatile PM, ICAO                disadvantage if the United States does
                                            that would require them to develop and                  agreed to adopt a measurement                         not adopt standards that are at least as
                                            implement new technologies.                             procedure, as described in Section IV.D,              stringent as the ICAO standards for PM
                                                                                                    which is based on conditions that                     emissions. This action to adopt, in the
                                               These considerations led the EPA to                  prevent the formation of volatile PM                  United States, PM standards that match
                                            determine that adopting aircraft engine                 upstream of the measurement                           the ICAO standards will help ensure
                                            PM standards based on engine standards                  instruments. The intent of this approach              international consistency and
                                            adopted by ICAO is appropriate at this                  is to improve the consistency and                     acceptance of U.S.-manufactured
                                            time. When developing the PM                            repeatability of the non-volatile PM                  engines worldwide.
                                            standards, ICAO adopted three different                 measurement procedure.                                   The EPA considered whether to
                                            methods of measuring the amount of PM                      Due to the international nature of the             propose standards more stringent than
                                            emitted. The first is PM mass, or a                     aviation industry, there is an advantage              the ICAO standards. See 87 FR 6324,
                                            measure of the total weight of the                      to working within ICAO to secure the                  6337 (February 3, 2022). As noted in the
                                            particles produced over the test cycle.                 highest practicable degree of uniformity              preceding paragraphs, the EPA, after
                                            This is how the EPA has historically set                in international aviation regulations and             consultation with FAA, considered the
                                            PM emission standards for other sectors.                standards. Uniformity in international                statutory requirements under CAA
                                            The second is PM number, or the                         aviation regulations and standards is a               section 231, the importance of
                                            number of particles produced by the                     goal of the Chicago Convention, because               controlling PM emissions, international
                                            engine over the test cycle. These are two               it ensures that passengers and the public             harmonization of aviation requirements,
                                            different methods of measuring the                      can expect similar levels of protection               the international nature of the aircraft
                                            same pollutant, PM, but each provides                   for safety and human health and the                   industry and air travel, and the United
                                            distinct and valuable information.                      environment regardless of manufacturer,               States’ obligations under the Chicago
                                            Third, ICAO developed PM mass                           airline, or point of origin of a flight.              Convention in evaluating which
                                            concentration standards, as a                           Further, it helps prevent barriers in the             stringency of standards to propose.
                                            replacement to the existing standards                   global aviation market, benefiting both               These considerations have historically
                                            based on smoke number.                                  U.S. aircraft engine manufacturers and                led the EPA to adopt international
                                               The EPA’s final action will apply to                 consumers.                                            standards developed through ICAO. The
                                            subsonic turbofan and turbojet engines                     When developing new emission                       EPA concluded that proposing and now
                                            of a type or model with a rated output                  standards, ICAO/CAEP seeks to capture                 adopting standards equivalent to the
                                            (maximum thrust available for takeoff)                  the technological advances made in the                ICAO PM standards in place of more
                                            greater than 26.7 kN, hereinafter                       control of emissions through the                      stringent standards is appropriate in
                                            referred to as covered engines, and                     adoption of anti-backsliding standards                part because international uniformity
                                            consists of three key parts: (1) PM mass                reflecting the current state of                       and regulatory certainty are important
                                            and number emission standards for                       technology. The PM standards the EPA                  elements of these standards. This is
                                            covered engines, (2) a change in test                   is adopting were developed using this                 especially true for these final standards
lotter on DSK11XQN23PROD with RULES3




                                            procedure and form of the existing                      approach. Thus, the adoption of these                 because they change our approach to
                                            standards for covered engines—from                      aircraft engine standards into U.S. law               regulating aircraft PM emissions from
                                            smoke number to PM mass                                 will simultaneously prevent aircraft                  past smoke measurements to the
                                            concentration, and (3) new testing and                  engine PM levels from increasing                      measurement of nvPM mass
                                            measurement procedures for the PM                       beyond their current levels, align U.S.               concentration, nvPM mass, and nvPM
                                            emission standards and various updates                  domestic standards with the ICAO                      number for the first time. It is


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                Page 23 of 54
                                            72326         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            appropriate to gain experience from the                 efforts by the United States to seek                   Covered engines for which the type
                                            implementation of these nvPM                            international consensus on aircraft                    certificate application was first
                                            standards before considering whether to                 emission standards. For these reasons,                 submitted on or after January 1, 2023
                                            adopt more stringent nvPM mass and/or                   the EPA placed significant weight on                   will be subject to the new type level in
                                            nvPM number standards, or whether                       international regulatory uniformity and                Section IV.A.2. These engines are new
                                            another approach to PM regulation                       certainty and is finalizing standards that             engines that have not been previously
                                            would better address the health risks of                match the standards which the EPA                      certificated.
                                            PM emissions from aircraft engines.                     worked to develop and adopt at ICAO.                      Covered engines manufactured on or
                                            Additionally, the U.S. Government,                                                                             after January 1, 2023 will be subject to
                                                                                                    A. PM Mass Standards for Aircraft
                                            through the FAA, State Department, and                                                                         the in-production level, in Section
                                                                                                    Engines
                                            the EPA, played a significant role in the                                                                      IV.A.3.
                                            development of these standards through                  1. Applicability of Standards
                                            a multi-year process. The EPA believes                                                                         2. New Type nvPM Mass Numerical
                                            that international cooperation on                         These standards for PM mass, like the                Emission Limits for Aircraft Engines
                                            aircraft emissions brings substantial                   ICAO standards, will apply to covered                    Covered engines whose initial type
                                            benefits overall to the United States.                  engines whose date of manufacture is on                certification application is submitted to
                                            Given that the EPA and FAA invested                     or after January 1, 2023.108 These                     the FAA on or after January 1, 2023
                                            significant effort and considerable                     standards will not apply to engines                    shall not exceed the level, as defined by
                                            resources to develop these standards                    manufactured prior to this applicability               Equation IV–1. As described in Section
                                            and obtain international consensus for                  date.                                                  IV.D, the nvPM mass limit is based on
                                            ICAO to adopt these standards, a                          The level of the standard will vary                  milligram (mg) of PM, as determined
                                            decision by the United States to deviate                based on when the initial type                         over the LTO cycle, divided by kN of
                                            from them might well undermine future                   certification application is submitted.109             rated output (rO).


                                                 Equation IV-1                                             nvPM              =    {1251.1 - 6. 914 * rO,                26. 7   < rO:::; 150kN
                                                                                                                      Mass                       214. 0,                rO    > 150kN

                                            3. In Production nvPM Mass Numerical                     Covered engines that are                              2023 shall not exceed the level, as
                                            Emission Limits for Aircraft Engines                    manufactured on or after January 1,                    defined by Equation IV–2.


                                                Equation IV-2                                             nvPM               = {4646. 9 -         21. 497 * rO,          26. 7 < rO :::; 200kN
                                                                                                                      Mass                              347. 5,          rO   > 200kN
                                                                                                    in-production engines. Data shown in
                                                                                                    this figure is from the ICAO Engine
                                            4. Graphical Representation of nvPM
                                                                                                    Emissions Databank (EEDB) 110.
                                            Mass Numerical Emission Limits
                                                                                                    BILLING CODE 6560–50–P
                                             Figure IV–1 shows how the nvPM
                                            mass emission limits compare to known
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                                              108 ICAO, 2017: Aircraft Engine Emissions,
                                                                                                                                                                                                            ER23NO22.168</GPH>




                                            International Standards and Recommended
                                            Practices, Environmental Protection, Annex 16,          Edition, includes Amendment 10 of January 1,             110 ICAO Aircraft Engine Emissions Databank,

                                            Volume II, Fourth Edition, July 2017, III–4–3 & III–    2021.                                                  July 20, 2021, ‘‘edb-emissions-databank v28C
                                                                                                      109 In most cases, the engine manufacturer applies   (web).xlsx’’, European Union Aviation Safety
                                            4–4pp. The ICAO Annex 16, Volume II, Fourth
                                                                                                    to the FAA for the type certification; however, in     Agency (EASA), https://www.easa.europa.eu/
                                                                                                    some cases the applicant may be different than the     domains/environment/icao-aircraft-engine-
                                                                                                                                                                                                            ER23NO22.167</GPH>




                                                                                                    manufacturer (e.g., designer).                         emissions-databank.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                                  Document #1982482                                      Filed: 01/20/2023                  Page 24 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                                  72327


                                                                                                                    nvPM Mass vs. Rated Output
                                                                                                                    {Current Production Engines)
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                                                                                        '''                                                           ----- Mass std - In Production
                                                             2500                                                                                     -Mass std - New Type

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                                                                                                                                       Rated Output (kN}


                                            Figure IV–1—nvPM mass standards                                         to engines manufactured prior to this                    the in-production level, in Section
                                              compared to in-production engine                                      applicability date.                                      IV.B.3.
                                              LTO emission rates                                                       The level of the standard will vary                   2. New Type nvPM Number Numerical
                                                                                                                    based on when the initial type                           Emission Limits for Aircraft Engines
                                            B. PM Number Standards for Aircraft                                     certification application is submitted.
                                            Engines                                                                 Covered engines for which the type                         Covered engines whose initial type
                                                                                                                    certificate application was first                        certification application is submitted to
                                            1. Applicability of Standards                                                                                                    the FAA on or after January 1, 2023
                                                                                                                    submitted on or after January 1, 2023
                                              These standards for PM number, like                                   will be subject to the new type level in                 shall not exceed the level, as defined by
                                            the ICAO standards, will apply to                                       Section IV.B.2. These are new engines                    Equation IV–3. As described in Section
                                            covered engines whose date of                                           that have not been previously                            IV.D, the nvPM number limit is based
                                            manufacture is on or after January 1,                                   certificated.                                            on number of particles, as determined
                                            2023.111 These standards will not apply                                    Covered engines manufactured on or                    over the LTO cycle, divided by kN of
                                                                                                                    after January 1, 2023 will be subject to                 rO.


                                                          Equation IV-3                                  nvPM                 = fl. 490 * 1016 -         8. 080 * 1013 * rO,          26. 7  < rO ::; 150kN
                                                                                                                        num     l                             2. 780 * 10 1 5,        rO   > 150kN
                                                                                                                     Covered engines that are                                2023 shall not exceed the level, as
                                            3. In Production nvPM Number
                                                                                                                    manufactured on or after January 1,                      defined by Equation IV–4.
                                            Numerical Emission Limits for Aircraft
                                            Engines
lotter on DSK11XQN23PROD with RULES3




                                                                                                                                                                                                                             ER23NO22.170</GPH>




                                              111 ICAO, 2017: Aircraft Engine Emissions,

                                            International Standards and Recommended                                 Practices, Environmental Protection, Annex 16,           The ICAO Annex 16, Volume II, Fourth Edition,
                                                                                                                                                                                                                             ER23NO22.169</GPH>




                                                                                                                    Volume II, Fourth Edition, July 2017, III–4–4pp.         includes Amendment 10 of January 1, 2021.



                                       VerDate Sep<11>2014    21:18 Nov 22, 2022   Jkt 259001         PO 00000           Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM      23NOR3
                                                   USCA Case #23-1019                                         Document #1982482                                   Filed: 01/20/2023             Page 25 of 54
                                            72328            Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations


                                                             Equation IV-4                                    nvPM            = {2. 669 * 10 16 -            1.126 * 10 14 * rO,     26. 7  < rO ~ 200kN
                                                                                                                       num                                       4.170 * 10 15 ,     rO   > 200kN

                                            4. Graphical Representation of nvPM                                      Figure IV–2 shows how the nvPM                         shown in this figure is from the ICAO
                                            Number Numerical Emission Limits                                       number emission limits compare to                        Engine Emissions Databank (EEDB).112
                                                                                                                   known in-production engines. Data



                                                                                                                  nvPM Number vs. Rated Output
                                                                                                                   (Current Production Engines)
                                                             3.0E+16



                                                             2.5E+16

                                                                           ''
                                                                                                                                                     ----- Number Std - In Production
                                                                                                                                                     -
                                                                                                                                                         •
                                                                                                                                                           NUmber Std - New Type
                                                                                                                                                           Engine Test Data
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                                                      _2.0E+16
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                                                      IIii                                 \
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                                                      i      1.5E+16
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                                                       ~ 1.0E+16                                               ' ',
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                                                             5.0E+15

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                                                             O.OE+OO             ~                                                                                                    ••
                                                                       0                       100                          200                300                    400             500                600
                                                                                                                                     Rated Output (kN)


                                            BILLING CODE 6560–50–C                                                 equivalent exhaust visibility control as                 to separately test and measure smoke
                                            Figure IV–2—nvPM number standards                                      the existing smoke number standard                       number. In addition to CAEP/10
                                              compared to in-production engine                                     starting on January 1, 2020. With the                    agreeing to a maximum PM mass
                                              LTO emission rates                                                   EPA’s involvement, the ICAO PM mass                      concentration standard, CAEP/10
                                                                                                                   concentration limit line was developed                   adopted a reporting requirement where
                                            C. PM Mass Concentration Standard for
                                                                                                                   using measured smoke number and PM                       aircraft engine manufacturers were
                                            Aircraft Engines
                                                                                                                   mass concentration data from several                     required to provide PM mass
                                              The previous smoke number-based                                      engines to derive a smoke number-to-                     concentration, PM mass, and PM
                                            standards were adopted to reduce the                                   PM mass concentration correlation. This                  number emissions data—and other
                                            visible smoke emitted by aircraft                                      correlation was then used to transform                   related parameters—by January 1, 2020
                                            engines. Smoke number is quantified by                                 the existing smoke number-based limit                    for in-production engines.
                                            measuring the opacity of a filter after                                line into a generally equivalent PM mass                   While the ICAO PM mass
                                            soot has been collected upon it during                                 concentration limit line, which was                      concentration standard was intended to
                                            the test procedure. Another means of                                   ultimately adopted by ICAO as the                        have equivalent visibility control as the
                                            quantifying the smoke from an engine                                   CAEP/10 p.m. mass concentration                          existing smoke number standard, the
                                            exhaust is through PM mass                                             standard. The intention when the                         method used to derive it was based on
                                            concentration (PMmc).                                                  equivalent PM mass concentration                         limited data and needed to be confirmed
                                              ICAO developed a PM mass                                             standard was adopted was that                            for regulatory purposes. Additional
                                            concentration standard during the                                      equivalent visibility control would be                   analysis was conducted during the
                                            CAEP/10 cycle and adopted it in                                        maintained and testing would coincide                    CAEP/11 cycle to confirm this
lotter on DSK11XQN23PROD with RULES3




                                                                                                                                                                                                                            ER23NO22.172</GPH>




                                            2017.113 This PM mass concentration                                    with the PM mass and PM number                           equivalence. The EPA followed this
                                            standard was developed to provide                                      measurement, thus removing the need                      work as it progressed, provided input
                                              112 ICAO Aircraft Engine Emissions Databank,                         (web).xlsx,’’ European Union Aviation Safety               113 ICAO, 2016: Tenth Meeting Committee on

                                            July 20, 2021, ‘‘edb-emissions-databank v28C                           Agency (EASA).                                           Aviation Environmental Protection Report, Doc
                                                                                                                                                                                                                            ER23NO22.171</GPH>




                                                                                                                                                                            10069, CAEP/10.



                                       VerDate Sep<11>2014     21:18 Nov 22, 2022     Jkt 259001          PO 00000      Frm 00018   Fmt 4701   Sfmt 4700      E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                Page 26 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                 72329

                                            during the process, and ultimately                      January 1, 2023.115 This standard has                 standards discussed in Section IV.A and
                                            concurred with the results.114 The                      the same form, test procedures, and                   Section IV.B (and described in the
                                            analysis, based on aerosol optical theory               stringency as the CAEP/10 p.m. mass                   introductory paragraphs of Section IV),
                                            and visibility criterion, demonstrated                  concentration standard adopted by                     this is based on the measurement of
                                            with a high level of confidence that the                ICAO in 2017. Note, the applicability                 nvPM only, not total PM emissions.
                                            ICAO PM mass concentration standard                     date of the mass concentration standard,                To determine compliance with the
                                            did indeed provide equivalent visibility                finalized in this action, represents a                PM mass concentration standard, the
                                            control as the existing smoke number                    delay from the January 1, 2020 date                   maximum nvPM mass concentration
                                            standard. This provided the justification               agreed to by ICAO 116. The PM mass                    [mg/m3] will be obtained from
                                            for ICAO to agree to end applicability of               concentration standard is based on the                measurements at sufficient thrust
                                            the existing smoke number standard for                  maximum concentration of PM emitted                   settings such that the emission
                                            engines subject to the PM mass                          by the engine at any thrust setting,                  maximum can be determined. The
                                            concentration standard, effective                       measured in micrograms (mg) per meter                 maximum value will then be converted
                                            January 1, 2023.                                        cubed (m3). This is similar to the                    to a characteristic level in accordance
                                                                                                    previous smoke standard, which is also                with the procedures in ICAO Annex 16,
                                            1. PM Mass Concentration Standard
                                                                                                    based on the measured maximum at any                  Volume II, Appendix 6. The resultant
                                              The EPA is adopting a PM mass                         thrust setting. Section IV.D describes the            characteristic level must not exceed the
                                            concentration standard for all covered                  measurement procedure. Like the LTO-                  regulatory level determined from the
                                            engines manufactured on or after                        based PM mass and PM number                           following formula:


                                                      Equation IV-5                                                   nvPM mass concentration                               10 3 + 2.9 ro-0.214

                                              Engines certificated under the new                    continue to apply to some already                     2. Graphical Representation of nvPM
                                            PM mass concentration standard will                     manufactured aircraft engines that were               Mass Concentration Numerical
                                            not need to certify smoke number values                 certified to smoke number standards. In               Emission Limit
                                            and will not be subject to in-use smoke                 this final rule, the EPA did not                        Figure IV–3 shows how the nvPM
                                            standards. It is important to note that                 reexamine or reopen the existing smoke                mass concentration emission limits
                                            other smoke number standards remain                     number standards. Any comments we                     compare to known in-production
                                            in effect for turbofan and turbojet                     received on the existing smoke number                 engines, which all were certified to the
                                            aircraft engines at or below 26.7 kN                    standards are beyond the scope of this                previous smoke standard. Data shown in
                                            rated output and for turboprop engines.                 rulemaking.117                                        this figure is from the ICAO Engine
                                            Also, the in-use smoke standards will                                                                         Emissions Databank (EEDB).118




                                              114 ICAO, 2019: Report of Eleventh Meeting,           ICAO Annex 16, Volume II, Fourth Edition,             equal to 26.7 kilonewtons (kN) rated output used
                                            Montreal, 4–15 February 2019, Committee on              includes Amendment 10 of January 1, 2021.             in supersonic airplanes, and so the single comment
                                            Aviation Environmental Protection, Document               116 A second component of the CAEP/10               received on the extended applicability is within the
lotter on DSK11XQN23PROD with RULES3




                                            10126, CAEP/11. The analysis performed to confirm       agreement was data collection by January 1, 2020,     scope of this rulemaking and is responded to in the
                                            the equivalence of the PM mass concentration
                                                                                                    so the EPA implemented domestically by updating       Response to Comments document.
                                            standard and the SN standard is located in
                                            Appendix C (starting on page 3C–33) of this report.     the Aircraft Engine Emission ICR (EPA ICR Number        118 ICAO Aircraft Engine Emissions Databank,

                                              115 ICAO, 2017: Aircraft Engine Emissions,            2427.04, OMB Control Number 2060–0680) on             July 20, 2021, ‘‘edb-emissions-databank v28C
                                            International Standards and Recommended                 December 31, 2018 to include PM emission data.        (web).xlsx,’’ European Union Aviation Safety
                                                                                                      117 The EPA proposed to extend the applicability
                                            Practices, Environmental Protection, Annex 16,                                                                Agency (EASA).
                                                                                                                                                                                                                 ER23NO22.178</GPH>




                                            Volume II, Fourth Edition, July 2017, III–4–3. The      of the smoke standards to engines of less than or



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                                     Document #1982482                           Filed: 01/20/2023                Page 27 of 54
                                            72330        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations


                                                                                                  nvPM Mass Concentration vs. Rated Output
                                                                                                        (Current Production Engines)
                                                                    10000

                                                                    9000
                                                                                    \                                                                      •    Engine Test Data

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                                                                                                                                                                                          600
                                                                                                                               Rated Output (kN)


                                            BILLING CODE 6560–50–C                                           has historically measured PM emissions                   The EPA is incorporating by reference
                                            Figure IV–3—nvPM Mass Concentration                              subject to standards for other sectors.                the metrics agreed at ICAO and
                                              Standard                                                       The second is PM number, or the                        incorporated into Annex 16 Volume II,
                                            D. Test and Measurement Procedures                               number of particles produced by the                    to measure PM mass (Equation IV–6)
                                                                                                             engine over the test cycle. These are two              and PM number (Equation IV–7). These
                                            1. Aircraft Engine PM Emissions Metrics                          different methods of measuring the                     metrics are based on a measurement of
                                               When developing the PM standards,                             same pollutant, PM, but each provides                  the nvPM emissions, as measured at the
                                            ICAO adopted three different methods                             valuable information. Third, ICAO                      instrument, over the LTO cycle and is
                                            of measuring the amount of PM emitted.                           developed PM mass concentration                        normalized by the rated output of the
                                            The first is PM mass, or a measure of the                        standards, as an alternative to the                    engine (rO).
                                            total weight of the particles produced                           existing visibility standards based on
                                            over the test cycle. This is how the EPA                         smoke.


                                                         Equation IV-6                                                                          nvPMmass
                                                                                                                                                                        - L nvPMMass
                                                                                                                                                                        -     ro
                                                                                                                                                                                        [mn;kN]


                                                         Equation IV-7

                                              The EPA is adopting the PM mass                                IV–7 or mass concentration divided by                  2. Test Procedure
                                            concentration standard based on the                              the appropriate factor from Table IV–2,                   The EPA is incorporating by reference
lotter on DSK11XQN23PROD with RULES3




                                            maximum mass concentration, in                                   to obtain the characteristic level that is             the PM test and measurement
                                                                                                                                                                                                               ER23NO22.174</GPH>




                                            micrograms per meter cubed, produced                             used to determine compliance with                      procedures in ICAO Annex 16, Volume
                                            by the engine at any thrust setting.                             emission standards (see Section IV.D.4).               II. These procedures were developed in
                                              Regulatory compliance with the                                                                                        conjunction with the Society of
                                            emission standards is based on the                                                                                      Automotive Engineers (SAE) E–31
                                                                                                                                                                    Aircraft Exhaust Emissions
                                                                                                                                                                                                               ER23NO22.173</GPH>




                                            product of Equation IV–6 or Equation


                                       VerDate Sep<11>2014     21:18 Nov 22, 2022   Jkt 259001        PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                     USCA Case #23-1019                                           Document #1982482                                                 Filed: 01/20/2023                            Page 28 of 54
                                                               Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                                                          72331

                                            Measurement Committee 119 in close                                           ICAO and SAE E–31and the result is                                           of the PM being lost in the sample lines,
                                            consultation between government and                                          adopted in this final rule.                                                  on the order of 50 percent for PM mass
                                            industry, and subsequently they were                                            Second, the sample is measured                                            and 90 percent for PM number. These
                                            adopted by ICAO and incorporated into                                        continuously rather than being collected                                     particle losses in the sampling system
                                            ICAO Annex 16, Volume II.                                                    on a filter and measured after the test.                                     are not corrected for in the standards.
                                               These procedures build off the                                            This approach was taken primarily for                                        Compliance with the standard is based
                                            existing ICAO Annex 16, Volume II                                            the practical reasons that, due to high                                      on the measurement at the instruments
                                            aircraft engine measurement procedures                                       dilution rates leading to relatively low                                     rather than the exit plane of the engine
                                            for gaseous pollutants. As described in                                      concentrations of PM in the sample,
                                                                                                                                                                                                      (instruments are 35 meters from engine
                                            the Annex 16, at least three engine tests                                    collecting enough particulate on a filter
                                                                                                                                                                                                      exit). This is due to the lack of
                                            need to be conducted to determine the                                        to analyze has the potential to take
                                            emissions rates. These tests can be                                          hours. Given the high fuel flow rates of                                     robustness of the sampling system
                                            conducted on a single engine or                                              these engines, such lengthy test modes                                       particle loss correction methodology
                                            multiple engines.120 A representative                                        would be very expensive. Additionally,                                       and that a more stringent standard at the
                                            sample of the engine exhaust is sampled                                      because of the high volume of air                                            instrument will lead to a reduction in
                                            at the engine exhaust exit. The exhaust                                      required to run a jet engine and the                                         the nvPM emissions at the engine exit
                                            then travels through a heated sample                                         extreme engine exhaust temperatures, it                                      plane. A correction methodology has
                                            line where it is diluted and kept at a                                       is not possible to collect the full exhaust                                  been developed to better estimate the
                                            constant temperature prior to reaching                                       stream in a controlled manner as is done                                     actual PM emitted into the atmosphere.
                                            the measurement instruments.                                                 for other mobile source PM2.5                                                This correction is described in Section
                                               The methodology for measuring PM                                          measurements.                                                                V.A.2.
                                            from aircraft engines differs from certain                                      Included in the procedures now
                                            other EPA test procedures for mobile                                         incorporated by reference by the EPA                                         3. Test Duty Cycles
                                            source PM2.5 standards in two ways.                                          are measurement system specifications                                           Mass and number PM emissions are
                                            First, as discussed in the introductory                                      and requirements, instrument
                                                                                                                                                                                                      measured over the LTO cycle shown in
                                            paragraphs of Section IV, the procedure                                      specifications and calibration
                                                                                                                                                                                                      Table IV–1. This is the same duty cycle
                                            is designed to measure only the non-                                         requirements, fuel specifications, and
                                            volatile component of PM. The                                                corrections for fuel composition,                                            used to measure gaseous emissions from
                                            measurement of volatile PM is very                                           dilution, and thermophoretic losses in                                       aircraft engines and is intended to
                                            dependent on the environment where it                                        the collection part of the sampling                                          represent operations and flight under an
                                            is measured. The practical development                                       system.                                                                      altitude of 3,000 feet near an airport.
                                            of a standardized method of measuring                                           To create a uniform sampling system                                       Emissions rates for each mode can be
                                            volatile PM from aircraft engines has                                        design that works across gas turbine                                         calculated by testing the engine(s) over
                                            proved challenging. Therefore, the                                           engine testing facilities, the test                                          a sufficient range of thrust settings such
                                            development of a procedure for                                               procedure calls for a 35-meter sample                                        that the emission rates at each condition
                                            measuring nvPM was prioritized by                                            line. This results in a significant portion                                  in Table IV–1 can be determined.

                                                                           TABLE IV–1—LANDING AND TAKE-OFF CYCLE THRUST SETTINGS AND TIME IN MODE 121
                                                                                                                                                                                                                                                Time in
                                                                                                                                                                                                                             Thrust setting
                                                                                                                  LTO operating mode                                                                                                           operating
                                                                                                                                                                                                                              percent rO      mode minutes

                                            Take-off ....................................................................................................................................................................              100             0.7
                                            Climb ........................................................................................................................................................................              85             2.2
                                            Approach ..................................................................................................................................................................                 30             4.0
                                            Taxi/ground idle .......................................................................................................................................................                     7            26.0



                                               The previous smoke number standard                                        data can be collected concurrently with                                      Environmental Protection, Volume II—
                                            was adopted to reduce the visible smoke                                      other PM measurements. Like the                                              Aircraft Engine Emissions, Fourth
                                            emitted from aircraft engines. Smoke                                         previous smoke standard, the PM mass                                         Edition, July 2017.
                                            number has been determined by                                                concentration standard is be based on                                        4. Characteristic Level
                                            measuring the visibility or opacity of a                                     the maximum value at any thrust
                                            filter after soot has been collected upon                                    setting. The engine(s) will be tested over                                      EPA is incorporating by reference
                                                                                                                         a sufficient range of thrust settings that                                   Appendix 6 to ICAO Annex 16, Volume
                                            it during the test procedure. Another
                                                                                                                                                                                                      II—International Standards and
                                            means of measuring this visibility is by                                     the maximum can be determined. This
                                                                                                                                                                                                      Recommended Practices for correcting
                                            direct measurement of the particulate                                        maximum could be at any thrust setting
                                                                                                                                                                                                      engine measurements to characteristic
                                            matter mass concentration. By                                                and is not limited to the LTO thrust                                         value. Like existing gaseous standards,
                                            measuring visibility based on mass                                           points in Table IV–1.                                                        compliance with the PM standards
                                            concentration rather than smoke                                                 The EPA is incorporating by reference                                     adopted in this action is based on the
                                            number, the number of tests needed can                                       ICAO’s Annex 16 to the Convention on                                         characteristic level of the engine. The
                                            be reduced, and mass concentration                                           International Civil Aviation,                                                characteristic level is a statistical
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                                              119 The E–31 Committee develops and maintains                                120 For example, all three tests could be                                    121 ICAO, 2017: Aircraft Engine Emissions,

                                            standards for measurement of emissions from                                  conducted on a single engine. Or two tests could                             International Standards and Recommended
                                            aircraft engines. (See https://www.sae.org/works/                            be conducted on one engine and one test on a                                 Practices, Environmental Protection, Annex 16,
                                            committeeHome.do?comtID=TEAE31, last accessed                                second engine. Or three separate engines could each                          Volume II, Fourth Edition, July 2017, III–4–2. The
                                            October 31, 2022).                                                           be tested a single time.                                                     ICAO Annex 16, Volume II, Fourth Edition,
                                                                                                                                                                                                      includes Amendment 10 of January 1, 2021.



                                       VerDate Sep<11>2014          21:18 Nov 22, 2022         Jkt 259001       PO 00000        Frm 00021        Fmt 4701       Sfmt 4700       E:\FR\FM\23NOR3.SGM                23NOR3
                                                     USCA Case #23-1019                                            Document #1982482                                               Filed: 01/20/2023                  Page 29 of 54
                                            72332              Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            method of accounting for engine-to-                                           emissions rate measured is from a                                     adjustment and reflecting the increased
                                            engine variation in the measurement                                           typical engine rather than a high or low                              confidence that the emissions rate is
                                            based on the number of engines tested.                                        engine.                                                               reflective of the average engine off the
                                            A minimum of three engine emissions                                             Table IV–2 is reproduced from Annex                                 production line. In this way, there is an
                                            tests is needed to determine the engine                                       16 Volume II Appendix 6 Table A6–1                                    incentive to test more engines to reduce
                                            type’s emissions rates for compliance                                         and shows how these factors change                                    the characteristic adjustment while also
                                            with emission standards. The more                                             based on the number of engines                                        increasing confidence that the measured
                                            engines that are used for testing                                             tested.122 As the number of engines                                   emissions rate is representative of the
                                            increases the confidence that the                                             tested increases, the factor also                                     typical production engine.
                                                                                                                          increases resulting in a smaller

                                                                                                           Table IV-2 - Factors to determine characteristic values
                                                                  Number                       co                     HC                     NOx                        SN          nvPMmass      nvPM                     nvPM
                                                                 of engines                                                                                                        concentration LTO mass                  LTO
                                                                 tested (i)                                                                                                                                               number
                                                                      I                    0.814       7           0.649       3          0.862       7           0.776      9        0.776     9       0.719     4       0.719 4
                                                                      2                    0.877       7           0.768       5          0.909       4           0.852      7        0.852     7       0.814     8       0.814 8
                                                                      3                    0.924       6           0.857       2          0.944       1           0.909      1        0.909     1       0.885     8       0.885 8
                                                                      4                    0.934       7           0.876       4          0.951       6           0.921      3        0.921     3       0.901     1       0.901 1
                                                                      5                    0.941       6           0.889       4          0.956       7           0.929      6        0.929     6       0.911     6       0.911 6
                                                                      6                    0.946       7           0.899       0          0.960       5           0.935      8        0.935     8       0.919     3       0.919 3
                                                                      7                    0.950       6           0.906       5          0.963       4           0.940      5        0.940     5       0.925     2       0.925 2
                                                                      8                    0.953       8           0.912       6          0.965       8           0.944      4        0.944     4       0.930     1       0.930 1
                                                                      9                    0.956       5           0.917       6          0.967       7           0.947      6        0.947     6       0.934     1       0.934 1
                                                                     10                    0.958       7           0.921       8          0.969       4           0.950      2        0.950     2       0.937     5       0.937 5
                                                                    more                  0.13059                0.24724                 0.09678                 0.15736              0.15736           0.19778           0.19778
                                                                                         1---                   1---                    1---                    1---                 1---              1---              1---
                                                                  than 10                          0                       0                      0                      0                  0                 0                0


                                               For PM mass and PM number, the                                             value of all engine tests). The nvPM                                    An engine type’s characteristic level
                                            characteristic level is based on the mean                                     LTO mass factor (or nvPM mass                                         can also be further improved by testing
                                            of all engines tested, and appropriately                                      characteristic factor) from Table IV–2 for                            additional engines. For example, if 10
                                            corrected, divided by the factor                                              three engines is 0.7194. The metric                                   separate engines were tested of the same
                                            corresponding to the number of engine                                         value, with applicable corrections                                    type, the nvPM mass characteristic
                                            tests performed in Table IV–1. For PM                                         applied, is then divided by the factor to                             factor becomes 0.9375. The resulting
                                            mass concentration, the characteristic                                        obtain the characteristic level of the                                characteristic level (assuming the
                                            level is based on the mean of the                                             engine. Therefore, the resulting                                      average nvPM mass metric value
                                            maximum values of all engines tested,                                         characteristic level for this engine type,                            remains 100 mg/kN) would be 106.667
                                            and appropriately corrected, divided by                                       to determine compliance with the nvPM
                                                                                                                                                                                                mg/kN. This approach could be used if
                                            the factor corresponding to the number                                        mass standard is 139.005 mg/kN. If
                                                                                                                                                                                                an engine exceeds the standard at the
                                            of engine tests performed in Table IV–                                        instead three engines are each tested
                                                                                                                                                                                                time it is initially tested or there is a
                                            2.                                                                            once, the characteristic factor would be
                                               For example, an engine type where                                          0.8858 and the nvPM mass                                              desire to increase the margin to the
                                            three measurements were obtained from                                         characteristic level to determine                                     standard for whatever reason. Table IV–
                                            the same engine has an nvPM mass                                              compliance with the standard would be                                 3 shows these three different examples
                                            metric value of 100 mg/kN (mean metric                                        112.892 mg/kN.                                                        for nvPM LTO Mass.

                                                                 TABLE IV–3—IMPACT OF THE NUMBER OF ENGINES TESTED ON RESULTING CHARACTERISTIC LEVEL
                                                                                                                                                                                                Measured
                                                                                                                                                                         Number of                                                  Characteristic
                                                                                                                                                                                                  nvPM            Characteristic
                                                                                   Number of engines tested                                                               tests per                                                     level
                                                                                                                                                                                                LTO Mass             factor
                                                                                                                                                                           engine                                                     (mg/kN)
                                                                                                                                                                                                 (mg/kN)

                                            1 .......................................................................................................................                   3               100              0.7194           139.005
                                            3 .......................................................................................................................                   1               100              0.8858           112.892
                                            10 .....................................................................................................................                    1               100              0.9375           106.667
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                                              122 ICAO, 2017: Aircraft Engine Emissions,                                  Practices, Environmental Protection, Annex 16,                        The ICAO Annex 16, Volume II, Fourth Edition,
                                                                                                                                                                                                                                                     ER23NO22.177</GPH>




                                            International Standards and Recommended                                       Volume II, Fourth Edition, July 2017, App 6–2pp.                      includes Amendment 10 of January 1, 2021.



                                       VerDate Sep<11>2014          21:18 Nov 22, 2022          Jkt 259001       PO 00000          Frm 00022      Fmt 4701        Sfmt 4700      E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                             Document #1982482                            Filed: 01/20/2023              Page 30 of 54
                                                          Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                             72333

                                            5. Derivative Engines for Emissions                     emissions is greater than or equal to                 formally incorporating all aspects of that
                                            Certification Purposes                                  2×1015 particles/kN.                                  ICR, as proposed to be renewed, into 40
                                                                                                      For PM mass concentration                           CFR 1031.150. It is important to note
                                              Aircraft engine types can remain in
                                                                                                    measurements described in Section                     that the incorporation of the PM
                                            production for many years and be
                                                                                                    IV.C, the following values apply:                     reporting requirements into the CFR
                                            subject to numerous modifications
                                            during their production life. As part of                  • ±200 mg/m3 if the characteristic                  will not create a new requirement for
                                                                                                    level of maximum nvPM mass                            the manufacturers of aircraft engines.
                                            the certification process for any change,
                                                                                                    concentration is below 1,000 mg/m3.                   Rather, it will simply incorporate the
                                            the type certificate applicant will need
                                            to show if the change will have an                        • ±20% of the characteristic level if               existing reporting requirements (as
                                                                                                    the characteristic level for maximum                  proposed to be amended and renewed
                                            impact the engine emissions. While
                                                                                                    nvPM mass concentration is at or above                in a separate action) into the CFR for
                                            some of these changes could impact                                                                            ease of use by having all the reporting
                                            engine emissions rates, many of them                    1,000 mg/m3.
                                                                                                      If a type certificate applicant can                 requirements readily available in the
                                            will not. To simplify the certification                                                                       CFR.
                                            process and reduce burden on both type                  demonstrate that the engine’s emissions
                                                                                                    are within these ranges, then new                        The EPA uses the collection of
                                            certificate applicant and certification                                                                       information to help conduct technology
                                            authorities, ICAO developed criteria to                 emissions rates will not need to be
                                                                                                    developed and the proposed derivative                 assessments, develop aircraft emission
                                            determine whether there has been an                                                                           inventories (for current and future
                                            emissions change that requires new                      engine for emissions certification
                                                                                                    purposes will keep the existing                       inventories), and inform our policy
                                            testing. Such criteria already exist at                                                                       decisions—including future standard-
                                            ICAO and in the EPA regulations for                     emissions rates.
                                                                                                      If the engine is not determined to be               setting actions. The information enables
                                            gaseous and smoke standards.                                                                                  the EPA to further understand the
                                                                                                    a derivative engine for emissions
                                              ICAO recommends 123 that if the                                                                             characteristics of aircraft engines that
                                                                                                    certification purposes, the type
                                            characteristic level for an engine was                                                                        are subject to emission standards—and
                                                                                                    certificate applicant will need to certify
                                            type certificated at a level that is at or                                                                    engines subject to the PM emission
                                                                                                    the new emission rates for the engine.
                                            above 80 percent of the PM mass, PM                                                                           standards—and engines’ impact on
                                            number, or PM mass concentration                        E. Annual Reporting Requirement                       emission inventories. In addition, the
                                            standard, the type certificate applicant                  In 2012, the EPA adopted an annual                  information helps the EPA set
                                            would be required to test the proposed                  reporting requirement as part of a                    appropriate and achievable emission
                                            derivative engine. If the engine is below               rulemaking to adopt updated aircraft                  standards and related requirements for
                                            80 percent of the standard, engineering                 engine NOX standards.125 This                         aircraft engines. Annually updated
                                            analysis can be used to determine new                   provision, adopted into 40 CFR 87.42,                 information helps in assessing
                                            emission rates for the proposed                         requires the manufacturers of covered                 technology trends and their impacts on
                                            derivative engines. The EPA is                          engines to annually report data to the                national emissions inventories. Also, it
                                            implementing these ICAO                                 EPA which includes information on                     assists the EPA to stay abreast of
                                            recommended practices in this final rule                engine identification and                             developments in the aircraft engine
                                            as the regulatory standard in the United                characteristics, emissions data for all               industry.
                                            States.                                                 regulated pollutants, and production                     As discussed in Section VII, the EPA
                                              ICAO evaluated the measurement                        volumes. In 2018, the EPA issued an                   is finalizing the proposal to migrate the
                                            uncertainty to develop criteria for                     information collection request (ICR)                  existing 40 CFR part 87 regulatory text
                                            determining if a proposed derivative                    which renewed the existing ICR and                    to a new 40 CFR part 1031. This effort
                                            engine’s emissions are similar to the                   added PM information to the list of                   includes clarifying portions of the
                                            previously certificated engine’s                        required data.126 127 However, that 2018              regulatory text for ease of use. In the old
                                            emissions. The EPA is adopting these                    ICR was not part of a rulemaking effort,              40 CFR 87.42(c)(6), the regulatory text
                                            ICAO criteria in this final rule.124                    and the new PM reporting requirements                 did not specifically spell out some
                                              For PM mass measurements described                    were not incorporated into the CFR at                 required data, but instead relied on
                                            in Section IV.A, the following values                   that time. Further, that 2018 ICR is                  incorporation by reference of ICAO
                                            apply:                                                  currently being renewed (in an action                 Annex 16, Volume II’s data reporting
                                              • 80 mg/kN if the characteristic level                separate from this rulemaking), and the               requirements and listed the data from
                                            for nvPMmass emissions is below 400                     EPA is including as part of that effort               this Annex that is not required by the
                                            mg/kN.                                                  some additional data elements to the                  EPA’s reporting requirement. For future
                                              • ±20% of the characteristic level if                 ICR (specifically, the emission indices               ease of use, 40 CFR 1031.150 explicitly
                                            the characteristic level for nvPMmass                   for HC, CO, and NOX at each mode of                   lists all the required items rather than
                                            emissions is greater than or equal to 400               the LTO cycle).128 129 The EPA is now                 continuing the incorporation by
                                            mg/kN.                                                                                                        reference approach in the existing
                                              For PM number measurements,                             125 77 FR 36342 (June 18, 2012).                    reporting regulations. Finally, the EPA
                                            described in Section IV.B, the following                  126 83 FR 44621 (August 31, 2018).                  is incorporating by reference Appendix
                                            values apply:                                             127 U.S. EPA, Aircraft Engines—Supplemental
                                                                                                                                                          8 of Annex 16, Volume II, which
                                              • 4×1014 particles/kN if the                          Information Related to Exhaust Emissions
                                                                                                    (Renewal), OMB Control Number 2060–0680, ICR
                                                                                                                                                          outlines procedures used to estimate
                                            characteristic level for nvPMnum                        Reference Number 201809–2060–08, December 17,         measurement system losses, which are a
                                            emissions is below 2×1015 particles/kN.                 2018. Available at https://www.reginfo.gov/public/    required element of the reporting
                                              • ±20% of the characteristic level if                 do/PRAViewICR?ref_nbr=201809-2060-008, last           provisions.
                                                                                                    accessed June 8, 2022.
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                                            the characteristic level for nvPMnum                      128 Proposed Information Collection Request;        F. Response to Key Comments
                                                                                                    Comment Request; Air Emissions Reporting
                                              123 ICAO, 2020, Environmental Technical               Requirements (Renewal); EPA ICR No. 2170.08,
                                                                                                                                                            The EPA received numerous
                                            Manual, Doc 9501, Volume II—Procedures for the          OMB Control No. 2060–0580, 86 FR 24614 (May 7,        comments on the proposed rulemaking
                                            Emissions Certification of aircraft Engines, Fourth     2021).
                                            Edition, Section 2, Part III, Chapter 2.                  129 Documentation and Public comments are           EPA-HQ-OAR-2016-0546, last accessed June 8,
                                              124 Id.                                               available at: https://www.regulations.gov/docket/     2022.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023            Page 31 of 54
                                            72334         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            which are summarized in the Response                    Chicago Convention, ICAO member                        1944 Chicago Convention treaty
                                            to Comments document along with the                     States must recognize as valid                         obligations. They say that these
                                            EPA’s responses to those comments.                      certificates of airworthiness issued by                standards continue the long
                                            Comments in their entirety are available                other ICAO member States, provided the                 collaborative tradition between the EPA
                                            in the docket for this rulemaking action.               requirements under which such                          and ICAO. The commenters say that the
                                            The following sections summarize the                    certificates were issued are as least as               objective of the Chicago Convention is
                                            comments related to the stringency of                   stringent as the minimum ICAO                          to foster global cooperation and
                                            the standards and the EPA’s response to                 standards.131                                          encourage an atmosphere where
                                            these comments. Some adverse                               Comment summary: Some                               international civil aviation could be
                                            comments are addressed more fully in                    commenters urged the EPA to promptly                   developed in a safe and orderly manner,
                                            the Response to Comments document.                      issue the final rule with the standards                while being operated soundly and
                                                                                                    matching the international standards.                  economically. The commenters say that,
                                            1. Comments in Support of the Proposed                                                                         with both the FAA and the EPA playing
                                                                                                    They say that this EPA rulemaking and
                                            Standards                                                                                                      key leadership roles, it was only after
                                                                                                    the subsequent FAA certification
                                               Comment summary: Some                                rulemaking must be completed to start                  significant deliberation and technical
                                            commenters stated that the proposed                     the certification process in the United                and economic analyses that CAEP
                                            standards adhere to the statutory                       States. Thus, they believe that prompt                 agreed to the ICAO PM standards. The
                                            requirements of CAA section 231. They                   EPA action is necessary to provide                     commenters say that the EPA’s adoption
                                            say that the proposed standards are well                sufficient time for FAA to promulgate                  of standards that align with ICAO
                                            supported by an extensive                               their certification rulemaking and U.S.                standards supports international
                                            administrative record. The commenters                   aircraft engine manufacturers to conduct               harmonization and regulatory
                                            point out that the D.C. Circuit ruled in                the lengthy and expensive steps to                     uniformity.
                                            2007 that CAA section 231 confers a                     demonstrate compliance with the                           Response: The EPA agrees adopting
                                            broad degree of discretion on the EPA                   standards, for all aircraft engines that               the PM standards in this action satisfies
                                            in setting aircraft engine emission                     will be in-production in 2023. They                    the United States’ treaty obligations
                                            standards.130                                           note that January 1, 2023, is the                      under the Chicago Convention. The EPA
                                               Response: EPA is finalizing the                      implementation date for the ICAO                       also agrees that the EPA and the FAA
                                            standards as proposed. We agree that                    standards.                                             had key leadership roles in the ICAO
                                            the proposed standards, as well as the                     Response: The EPA acknowledges                      PM standard-setting process, and the
                                            final standards, satisfy our statutory                  that the international effective date for              EPA recognizes the significant
                                            obligations and are well-supported. The                 the ICAO mass concentration standards                  deliberations and economic analyses
                                            EPA acknowledges that the D.C. Circuit                  was January 1, 2020, and that the                      that occurred in CAEP. The EPA agrees
                                            recognized the EPA’s broad authority in                 international effective date for the mass              that this action promotes international
                                            CAA section 231 in National                             and number standards is January 1,                     cooperation and harmonization.
                                            Association of Clean Air Agencies v.                                                                              Comment summary: Some
                                                                                                    2023. The EPA also acknowledges that
                                            EPA, 489 F.3d 1221, 1229–30 (D.C. Cir.                                                                         commenters say that the standards are
                                                                                                    FAA will need to conduct a separate,
                                            2007) (NACAA).                                                                                                 consistent with the CAEP terms of
                                                                                                    subsequent certification rulemaking
                                               Comment summary: Several                                                                                    reference which provide that standards
                                                                                                    process to implement the EPA’s PM
                                            commenters expressed their support of                                                                          be technologically feasible,
                                                                                                    standards finalized in this action.
                                            the EPA adopting PM standards that                                                                             economically reasonable,
                                                                                                       In this action, the EPA is aiming to
                                            match the international PM standards                                                                           environmentally beneficial, and
                                                                                                    minimize disruption by finalizing this
                                            because doing so is vital to the                                                                               balanced against interdependencies
                                                                                                    action before the January 1, 2023, the                 (aircraft noise and competing emission
                                            competitiveness of U.S. industry and                    international effective date of the PM
                                            regulatory certainty. They say it would                                                                        reductions of other pollutants, such as
                                                                                                    mass and number standards.                             NOX). The commenters say that the
                                            protect U.S. jobs and strengthen the U.S.                  For comparison, the EPA notes the
                                            aviation industry by ensuring the global                                                                       CAEP terms of reference align well with
                                                                                                    EPA finalized the domestic GHG                         the considerations in CAA section 231,
                                            acceptance of U.S.-manufactured                         standards for airplanes on January 11,
                                            aircraft engines. They also say it will                                                                        and ICAO’s assessment of each of the
                                                                                                    2021, after the international effective                criteria of the terms of reference is
                                            make sure U.S.-manufactured aircraft                    date for new type planes; 132 however,
                                            engines are available to aircraft                                                                              directly related to the decisions the EPA
                                                                                                    disruption was avoided in practice                     must make when issuing aircraft engine
                                            manufacturers and U.S. airlines, while                  because no manufacturers applied to
                                            enabling U.S. airlines to obtain aircraft                                                                      emission standards. The commenters
                                                                                                    FAA for a type certificate for a new type              assert that CAA section 231(b) requires
                                            and aircraft engines at market-driven,                  design airplane between January 1,
                                            competitive prices.                                                                                            that aircraft engine emission standards
                                                                                                    2020, and January 11, 2021.                            allow sufficient lead time for the
                                               Response: The EPA agrees this rule                      Comment summary: Some
                                            has the benefit of helping to ensure the                                                                       development of the necessary
                                                                                                    commenters state that the proposed                     technology, while giving consideration
                                            acceptance of U.S.-manufactured                         standards are identical to ICAO’s
                                            aircraft engines by member States,                                                                             of the cost to comply within this time
                                                                                                    aircraft engine PM standards and that                  period.
                                            aircraft (airframe) manufacturers, and                  adopting them is consistent with the
                                            airlines around the world. The EPA                                                                                Response: The EPA agrees that the
                                            notes that under the terms of the                                                                              final standards are consistent with the
                                                                                                       131 ICAO, 2006: Convention on International Civil
                                                                                                                                                           CAEP terms of reference and that the
                                                                                                    Aviation, Article 33, Ninth Edition, Document
                                                                                                    7300/9.                                                standards also meet the requirements of
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                                               130 National Association of Clean Air Agencies v.

                                            EPA, 489 F.3d 1221, 1229–30 (D.C. Cir. 2007)               132 CAEP/10 airplane CO standards apply to new
                                                                                                                                 2
                                                                                                                                                           CAA section 231. The EPA would not
                                            (‘‘When Congress enacted § 231 providing that the       type design airplanes for which the application for    adopt ICAO standards domestically
                                            Administrator could, ‘from time to time,’ act ‘in his   a type certificate was or will be submitted on or      without exercising the Agency’s own
                                            judgment,’ as ‘he deems appropriate,’ it conferred      after January 1, 2020, some modified in-production
                                            broad discretion to the Administrator to weigh          airplanes on or after January 1, 2023, and all
                                                                                                                                                           independent evaluation of appropriate
                                            various factors in arriving at appropriate              applicable in-production airplanes manufactured        domestic standards under CAA section
                                            standards.’’).                                          on or after January 1, 2028.                           231, which is what the EPA has done in


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023              Page 32 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                            72335

                                            this rulemaking. Any domestic aircraft                  considered have been proven safe and of                 standards would have to occur in the
                                            engine standards adopted by the EPA                     an acceptable noise level, and therefore,               context of the specific standards under
                                            must comport with the requirements in                   that the final PM standards do not                      consideration.
                                            CAA section 231.                                        adversely affect safety and do not
                                                                                                                                                            2. Comments in Support of More
                                               Comment summary: Some                                significantly increase noise. In setting
                                                                                                                                                            Stringent Standards
                                            commenters say that CAA section                         the international standards, ICAO
                                            231(a)(2)(B)(ii) expressly prohibits                    considered the emissions performance                       Comment summary: Several
                                            changes in aircraft engine emission                     of aircraft engines assumed to be in-                   commenters were dissatisfied with the
                                            standards that ‘‘would significantly                    production on the implementation date                   level of stringency of the PM standards.
                                            increase noise and adversely affect                     for the PM mass and number standards,                   One commenter argued that CAA
                                            safety.’’ The commenters point out that,                January 1, 2023. Thus, the technology                   section 231 requires the EPA to adopt
                                            as the EPA describes in the proposed                    was already demonstrated to be safe and                 technology-forcing standards. Other
                                            rulemaking, ICAO/CAEP evaluates                         of acceptable noise levels for these                    comments argued CAA section 231
                                            ‘‘technological feasibility’’ using the                 standards, and ICAO did not view that                   requires the EPA to set standards
                                            Technology Readiness Level (‘‘TRL’’)                    a new safety and noise analysis was                     according to expectations of the
                                            scale and deems technologies that have                  necessary.                                              development of technology over time.
                                            attained TRL8 (defined as the ‘‘actual                     However, in the EPA’s view, ICAO’s                   Some commenters say that, at a
                                            system completed and ‘flight qualified’                 use of TRL8 to define technological                     minimum, the EPA should establish
                                            through test and demonstration’’) to be                 feasibility is not the only means to                    standards that reduce emissions based
                                            ‘‘technologically feasible.’’ Therefore,                ensure a standard does not adversely                    on available engine technology. A
                                            the commenters conclude, the use of                     affect safety and does not significantly                number of commenters supported these
                                            TRL8 to evaluate ‘‘technological                        increase noise. The EPA does not view                   arguments by pointing to the text of the
                                            feasibility’’ makes sure aircraft engine                TRL8 to represent the most stringent                    statute, the underlying legislative intent,
                                            emission standards reflect what                         level of technology that could be                       legislative history, and the purpose of
                                            technologies can safely deliver, instead                required in an EPA aircraft standard                    the CAA.
                                                                                                    setting rulemaking. Nor does the EPA                       Response: The statutory-based
                                            of hypothetical ‘‘technology forcing’’
                                                                                                    agree with the premise that standards                   arguments presented by commenters
                                            standards that could pose a potential
                                                                                                    based on technology below TRL8 would                    that the level of stringency of the PM
                                            threat to air safety.133
                                                                                                    necessarily be technology forcing or                    standards are not authorized by CAA
                                               Response: The EPA agrees that
                                                                                                    inherently have a negative effect on                    section 231 import requirements into
                                            TRL8 134 is an adequate and appropriate
                                                                                                    safety and noise. In establishing U.S.                  the statute that do not exist.
                                            criteria for identifying proven                                                                                    As described in Section II.A, CAA
                                            technologies that are demonstrably safe                 aircraft engine emission standards, the
                                                                                                    EPA is not constrained to ICAO’s                        section 231(a)(2)(A) directs the
                                            and of an acceptable noise level for                                                                            Administrator of the EPA to, from time
                                            purposes of this rulemaking. The EPA                    definition of technological feasibility in
                                                                                                    assessing appropriate aircraft engine                   to time, propose aircraft engine
                                            relies on TRL8 to support the PM                                                                                emission standards applicable to the
                                            standards finalized in this rule because                standards under CAA section 231(a).
                                                                                                    See NACAA, 489 F.3d at 1229–30. In                      emission of any air pollutant from
                                            TRL8 was used to justify the PM                                                                                 classes of aircraft engines which in the
                                            standards by ICAO, as described in                      fact, the EPA has adopted technology-
                                                                                                    forcing standards under CAA section                     Administrator’s judgment causes or
                                            Section VI.B. ICAO treats TRL8 as a                                                                             contributes to air pollution that may
                                            proxy for what is technologically                       231 in the past and found them to be
                                                                                                                                                            reasonably be anticipated to endanger
                                            feasible in the course of establishing                  safe and not to significantly increase
                                                                                                                                                            public health or welfare. CAA section
                                            new international standards. This                       noise.135 In the future, if the EPA were
                                                                                                                                                            231(a)(3) provides that after the EPA
                                            conservative approach allows ICAO to                    to consider setting emission standards
                                                                                                                                                            proposes standards, the Administrator
                                            ensure that all technology being                        based on technology that was not yet at
                                                                                                                                                            shall issue such standards ‘‘with such
                                            considered is safe and of acceptable                    TRL8 or not expected to be at TRL8 by
                                                                                                                                                            modifications as he deems appropriate.’’
                                            noise level without having to conduct                   the implementation date of the
                                                                                                                                                            CAA section 231(b) requires that any
                                            additional evaluation of specific                       standards,136 the Agency, just as it did
                                                                                                                                                            emission standards ‘‘take effect after
                                            technologies. The EPA agrees this use of                in this action, in consultation with the
                                                                                                                                                            such period as the Administrator finds
                                            TRL8 is a valid means for ICAO to                       FAA, would evaluate the safety and
                                                                                                                                                            necessary . . . to permit the
                                            develop standards that will, by                         noise impact (also lead time and cost) of
                                                                                                                                                            development and application of the
                                            definition, be based on technologies that               such standards before making a
                                                                                                                                                            requisite technology, giving appropriate
                                            have been proven safe, of acceptable                    determination in this regard. CAA
                                                                                                                                                            consideration to the cost of compliance
                                            noise level, and technologically feasible.              section 231(a)(2)(B) and (a)(3). Any
                                                                                                                                                            during such period.’’ The D.C. Circuit
                                            The EPA also agrees that ICAO’s use of                  assessment of safety and noise (also lead
                                                                                                                                                            has held that the delegation of authority
                                            TRL8 means that technologies                            time and cost) in the context of
                                                                                                                                                            in CAA section 231 ‘‘is both explicit and
                                                                                                    hypothetical technology-forcing
                                               133 Any reference to technology-forcing standards
                                                                                                                                                            extraordinarily broad’’ and that the text
                                            in this rulemaking is not based on the level of the       135 See 38 FR 19088 (July 17, 1973); 41 FR 34722
                                                                                                                                                            confers ‘‘broad discretion . . . to weigh
                                            final PM standards, but it is intended to respond to    (August 16, 1976).                                      various factors in arriving at appropriate
                                            comments.                                                 136 As described in Section VI.B, for the ICAO PM     standards.’’ NACAA, 489 F.3d 1221,
                                               134 As described in Section VI.B, TRL is a           standard setting, ICAO referred to technical            1229–30.
                                            measure of Technology Readiness Level. CAEP has         feasibility as any technology demonstrated to be           The statutory language of CAA section
                                            defined TRL8 as the ‘‘actual system completed and       safe and airworthy proven to Technology Readiness
                                                                                                                                                            231 is not identical to other provisions
lotter on DSK11XQN23PROD with RULES3




                                            ‘flight qualified’ through test and demonstration.’’    Level 8 and available for application over a
                                            TRL is a scale from 1 to 9, TRL1 is the conceptual      sufficient range of newly certificated aircraft. This   in the CAA that direct the EPA to
                                            principle, and TRL9 is the ‘‘actual system ‘flight      means that the ICAO analysis that informed the          establish technology-based standards.
                                            proven’ on operational flight.’’ The TRL scale was      international standard considered the emissions         CAA section 231(a) states that the EPA
                                            originally developed by NASA. ICF International,        performance of aircraft engines assumed to be in-
                                            CO2 Analysis of CO2-Reducing Technologies for           production on the ICAO implementation date for
                                                                                                                                                            must ‘‘issue proposed emission
                                            Aircraft, Final Report, EPA Contract Number EP–C–       the PM mass and number standards, January 1,            standards applicable to the emission of
                                            12–011, see page 40, March 17, 2015.                    2023.                                                   any air pollutant’’ from aircraft engines


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023              Page 33 of 54
                                            72336        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            and to finalize ‘‘such regulations’’ with               based on a consideration of pollution                   Report established Congress’ intent that
                                            those modifications the EPA ‘‘deems                     impacts and technological feasibility                   the EPA prioritize forward-looking
                                            appropriate.’’ CAA section 231(a)(2)(A)                 because the final CAA section 231(a)(1)                 standards. NACAA, 489 F.3d at 1229–
                                            and (a)(3). This language is in contrast                required the EPA to conduct a study                     30; Sierra Club v. EPA, 325 F.3d 374,
                                            to Congress’ direction in other parts of                within 90 days after December 31, 1970                  379–380 (D.C. Cir. 2003).
                                            the Act, where it required the EPA to set               of air pollutants from aircraft to                         The EPA’s interpretation of CAA
                                            standards that achieve a particular                     determine impact on air quality and                     section 231 is not categorically at odds
                                            degree of emission reduction or                         technological feasibility of controlling                with the Clean Air Act’s general
                                            environmental or public health                          such pollutants. S. Rep. No. 91–1196, at                protective purpose. The Act’s general
                                            protection. For example, in setting                     24, 1 Leg. Hist. at 424; H.R. Rep. No. 91–              goal of reducing air pollution does not,
                                            technology-based emission standards for                 1783, at 55 (Conf. Rep.). One commenter                 in itself, prescribe regulatory factors for
                                            hazardous air pollutants under CAA                      alleged this means ‘‘the necessary                      specific programs, nor does it restrict
                                            section 112(d)(2) and (3), the EPA must                 premise [is] that such study should                     the EPA’s discretion as to how best
                                            ‘‘require the maximum degree of                         inform the standards themselves.’’ 137                  effectuate that goal in a specific action
                                            reduction . . . that the Administrator                  However, the study requirement in CAA                   or in a regulatory program over time.
                                            . . . determines is achievable,’’ taking                section 231(a)(1) does not establish a                  Accordingly, while the EPA’s discretion
                                            into account cost and non-air quality                   requirement for aircraft engine                         under CAA section 231 would allow it
                                            health and environmental impacts. CAA                   standards to be forward-looking                         to select more stringent standards when
                                            section 112(d)(2). Those standards also                 technology-based regulation. That                       appropriate, it does not mandate that
                                            ‘‘shall not be less stringent than’’                    provision required EPA to conduct a                     the EPA elevate pollution reduction
                                            explicitly prescribed levels. CAA                       one-time ‘‘study and investigation’’ ‘‘to               over all relevant factors in the
                                            section 112(d)(3). Health- and                          determine’’ the extent of aircraft                      consideration of any particular aircraft
                                            environmental quality-based NAAQS                       emissions’ impacts on air quality and                   standard. See NACAA, 489 F.3d at
                                            under CAA section 109 must be set at                    the feasibility of controlling them                     1229–30.
                                            levels ‘‘requisite to protect the public                ‘‘[w]ithin 90 days after December 31,                      The final PM standards fall squarely
                                            health’’ and ‘‘requisite to protect the                 1970.’’ The single study required in                    within the EPA’s statutory authority
                                            public welfare from any known or                        CAA section 231(a)(1) is not a                          under CAA section 231 to promulgate.
                                            anticipated adverse effects associated                  continuing obligation that pertains to                  As described in Section I.B.2 and the
                                            with the presence of [the] air pollutant                each exercise of the standard-setting                   introductory text of Section IV, in
                                            in the ambient air.’’ CAA section                       authority under CAA section 231(a)(2)                   proposing and adopting the final PM
                                            109(b)(1) and (2). When regulating                      and (3), which contain no discussion of                 standards, the EPA considered the
                                            certain pollutants from motor vehicles                                                                          statutory requirements of CAA section
                                                                                                    technological feasibility and under
                                            and nonroad engine emissions under                                                                              231. The EPA also took into account the
                                                                                                    which standards are set and may be
                                            CAA sections 202(a)(3) and 213(a)(3)                                                                            need to control PM emissions, the
                                                                                                    revised ‘‘from time to time.’’ Cf. Sierra
                                            and (5), the EPA’s standards must                                                                               importance of international
                                                                                                    Club, 325 F.3d 374, 377 (D.C. Cir. 2003)
                                            ‘‘reflect the greatest degree of emission                                                                       harmonization, avoiding adverse
                                                                                                    (holding that a provision requiring EPA
                                            reduction achievable . . . , giving                                                                             impacts that could result from delaying
                                                                                                    to set standards ‘‘based on’’ such a study
                                            appropriate consideration to cost,                                                                              adoption of PM standards at least as
                                                                                                    did not make the validity of the
                                            energy, and safety factors associated                                                                           stringent as ICAO’s PM standards, and
                                                                                                    standards dependent on their
                                            with the application of such                                                                                    gaining experience from the novel
                                                                                                    connection to that study).
                                            technology.’’ CAA sections 202(a)(3)                                                                            approach to implementing PM
                                                                                                       The commenters also quoted to a                      standards. Further, based on the EPA’s
                                            and 213(a)(3) and (5).                                  Senate report accompanying the CAA
                                               CAA section 231 lacks comparable                                                                             independent view that technology at the
                                                                                                    1970 amendment Senate bill to suggest                   TRL8 has been demonstrated to be safe
                                            language requiring it to meet a
                                                                                                    CAA section 231 requires standards to                   and of an acceptable noise-level, the
                                            particular threshold of protectiveness,
                                                                                                    be based on the degree of harm caused                   EPA is confident that the final standards
                                            emission reduction, or technological
                                                                                                    by aircraft pollution and the technology                will not significantly increase noise or
                                            stringency, despite this clear evidence
                                                                                                    that can be developed in the future to                  adversely affect safety. The EPA reached
                                            that Congress knew how to impose such
                                                                                                    reduce it. The statement cited by                       the same conclusion as ICAO that a new
                                            obligations when it wished. See
                                            generally CAA section 231. ‘‘Where                      commenters from the Senate Report                       noise and safety analysis was not
                                            Congress uses certain language in one                   does not constrain the EPA where the                    necessary. For the same reasons, the
                                            part of a statute and different language                plain text of the statute does not, and                 EPA believes sufficient lead time has
                                            in another, it is generally presumed that               where Congress knew how, but                            been provided since the technology has
                                            Congress acts intentionally.’’ Nat’l Fed’n              declined, to make such constraints                      already been developed. Costs
                                            of Indep. Bus. v. Sebelius, 567 U.S. 519,               mandatory on the Agency. ‘‘Congress’                    information for the standards is
                                            544 (2012); Sosa v. Alvarez-Machain,                    authoritative statement is the statutory                described in Section VI.D. Based on this
                                            542 U.S. 692, 711 n.9 (2004) (citing a                  text, not the legislative history.’’                    assessment, the EPA concludes that it is
                                            treatise on statutory construction and                  Chamber of Com. Of U.S. v. Whiting,                     reasonable to finalize PM standards that
                                            calling this principle the ‘‘usual rule’’ of            563 U.S. 582, 599 (2011) (quoting Exxon                 match the international standards in
                                            judicial interpretation). In certain                    Mobil Corp. v. Allapattah Services, Inc.,               scope, stringency, and effective date.
                                            respects, the EPA’s authority is broader                545 U.S. 546, 568 (2005) (internal                         Additional legal issues raised by these
                                            than it is under other CAA provisions,                  quotation marks omitted). Further, the                  comments are addressed in the
                                            in that the EPA is not required in setting              NACAA Court rejected an argument that                   Response to Comments document.
lotter on DSK11XQN23PROD with RULES3




                                            aircraft emission standards to achieve a                similar statements in the 1970 Senate                      Comment summary: Some
                                            specified degree of emissions reduction.                                                                        commenters claim the EPA has an
                                                                                                       137 Comments of California, Connecticut, Illinois,
                                               Some commenters also presented a                                                                             obligation to consider the feasibility,
                                                                                                    Maryland, Massachusetts, New Jersey, New York,
                                            textual comparison of the House and                     Oregon, Pennsylvania, Vermont, Washington, and
                                                                                                                                                            costs, and benefits of more stringent
                                            Senate bills to conclude that Congress                  Wisconsin at 13. See also Comment of Sierra Club        standards, including technology-forcing
                                            intended for CAA section 231 to be                      at 7–8.                                                 standards, or at least explain why it did


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023            Page 34 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                       72337

                                            not do so. A few commenters proposed                    2023. More specific comments related to               international cooperation on aircraft
                                            suggestions to alternative PM controls                  suggested alternative PM controls are                 engine emission standards, and such
                                            such as de-rated takeoff, accelerated                   addressed in the Response to Comments                 cooperation is the key for achieving
                                            implementation of Optimized Profile                     document.                                             worldwide emission reductions.
                                            Descents, reduced power during taxiing,                    Comment summary: According to                      Deviating from the international PM
                                            improved taxi time, and reduced usage                   some commenters, the EPA                              standards could undermine future
                                            of auxiliary power units (APUs).                        impermissibly factored international                  efforts by the United States to seek
                                               Response: The focused scope of the                   harmonization, adverse impacts on U.S.                international consensus on aircraft
                                            EPA’s proposed PM standards was                         industry, or other non-statutory                      emission standards in general, including
                                            informed by the January 1, 2023,                        considerations into its rationale                     more stringent future standards for PM.
                                            international effective date for the mass               supporting the PM standards.                          Reaching this conclusion is not
                                            and number PM standards, as well as                        Response: The EPA’s past practice                  tantamount to a determination that it
                                            the other considerations identified                     and the D.C. Circuit’s holding in                     would never be appropriate for the EPA
                                            elsewhere throughout this preamble.                     NACAA that the EPA’s historical                       to adopt more stringent PM standards
                                            The EPA does not believe it would be                    approach of taking international                      than ICAO’s standards. However, at this
                                            feasible to repropose more stringent PM                 harmonization into account in setting                 time, the EPA finds it appropriate to
                                            standards and also meet the                             domestic standards as not ‘‘manifestly                finalize the standards as proposed.
                                            international effective date of the new                 contrary to the statute’’, NACAA, 489                    In addition, the ICAO applicability
                                            mass and number standards. Should the                   F.3d at 1230, affirm that the EPA’s broad             date of the mass and number standards
                                            United States miss the January 1, 2023,                 discretion includes the ability to weigh              of January 1, 2023, is fast approaching.
                                            deadline, U.S. airplane and engine                      considerations such as international                  The U.S. aircraft engine manufacturers,
                                            manufacturers could be forced to seek                   harmonization and the competitive                     aircraft manufacturers, and airlines are
                                            PM emissions certification from an                      effects of the EPA’s standards on                     urging the EPA to promptly promulgate
                                            aviation certification of another country               international aviation. Nothing in CAA                this final rulemaking to adopt ICAO’s
                                            to market and operate their airplanes                   section 231 precludes such                            standards, which were adopted back in
                                            and engines internationally. The United                 considerations. Aircraft and their                    2017 and 2020, so they can build (and
                                            States would also miss its obligations                  engines are manufactured and sold                     sell) or have access to U.S. engines to
                                            under the Chicago Convention.                           around the world, and routinely operate               remain competitive in the global
                                               The EPA believes that the limited                    in international airspace. Furthermore,               marketplace. Furthermore, the EPA
                                            scope of the proposal is permissible                    CAA section 231 does not list or dictate              understands that U.S. aircraft engine
                                            under CAA section 231 and, based on                     the EPA’s consideration of particular                 manufacturers need time to certify their
                                            the plain language of the statute,                      factors and enables the EPA to identify               products, after the subsequent FAA
                                            disagrees with the premise that the                     and apply relevant considerations in                  rulemaking to enforce the standards, to
                                            statute requires the Agency to propose                  determining what standards are                        ensure the aircraft engines comply with
                                            multiple levels of stringency of                        ‘‘appropriate’’. CAA section 231(a)(3).               standards. Also, the EPA did not
                                            standards. To the extent commenters                     The D.C. Circuit rejected an argument                 conduct the analyses needed to support
                                            identified specific alternative levels of               similar to the commenters’ in NACAA:                  more stringent standards in the
                                            stringency they would prefer, the                       ‘‘Finding nothing in the text or structure            proposed rulemaking, or otherwise
                                            comments did not provide sufficient                     of the statute to indicate that the                   develop a sufficient record for more
                                            information about safety, noise, lead                   Congress intended to preclude the EPA                 stringent standards, that would be
                                            time, and costs of those alternatives to                from considering ‘[factors other than air             necessary to support finalizing such
                                            support the EPA finalizing more                         quality],’ we refused to infer from                   standards in this final rule. We do not
                                            stringent standards in this rulemaking.                 congressional silence an intention to                 believe we could finalize more stringent
                                            In light of the reasons the EPA has                     preclude the agency from considering                  standards without conducting
                                            provided for adopting the PM standards                  factors other than those listed in a                  significant additional analyses and
                                            as proposed, the EPA does not view                      statute.’’ 489 F.3d at 1230 (quoting                  undertaking a new round of notice and
                                            these ‘‘modifications’’ requested by                    George E. Warren Corp. v. EPA, 159                    comment, which would certainly cause
                                            commenters to be ‘‘appropriate’’ to                     F.3d 61, 623–24 (D.C. Cir. 1998)).                    a significant delay in meeting the
                                            incorporate into the PM standards                       Moreover, the Chicago Convention,                     United States’ obligations under the
                                            adopted in this rulemaking. See CAA                     ratified by the United States, has the                Chicago Convention. We have decided
                                            section 231(a)(3). The EPA’s current and                force of Federal law, and therefore, the              that the most appropriate course, under
                                            intended future work related to                         EPA acts appropriately in implementing                CAA section 231, is to adopt aircraft
                                            addressing PM emissions from aircraft                   our Clean Air Act authorities in a                    engine PM standards that are
                                            engines is described in Section I.C.                    manner that is harmonious and                         harmonized with the standards adopted
                                               A number of commenters also                          consistent with the Chicago Convention                by ICAO in 2017 and 2020.
                                            provided suggested ideas for alternative                and the United States’ international                     In determining what final PM
                                            methods to regulating PM emissions                      obligations under the treaty.                         standards are appropriate under CAA
                                            (e.g., de-rated takeoff, reduced power                     Having invested significant effort and             section 231 and after consultation with
                                            during taxiing, and improved taxi time).                resources, working with the FAA and                   FAA, the EPA considered the level of
                                            The EPA has carefully reviewed the                      the Department of State, to gain                      standards that could be met with the
                                            alternatives raised by the commenters,                  international consensus within ICAO to                application of requisite technology
                                            but has decided not to adopt them in                    adopt the international PM standards for              within the necessary period of time that
                                            this final rulemaking. The EPA does not                 aircraft engines, the EPA believes that               would allow the United States to meet
lotter on DSK11XQN23PROD with RULES3




                                            believe it would be feasible to assess the              meeting the United States’ obligations                its obligations under the Chicago
                                            legal, technical, and policy issues raised              under the Chicago Convention by                       Convention to at least match the ICAO
                                            by suggested alternatives put forward by                aligning domestic standards with the                  standards, and gave appropriate
                                            commenters; repropose standards; take                   ICAO standards, rather than adopting                  consideration to the cost of compliance
                                            public comment; and meet the                            more stringent standards, will have                   within this period. This determination
                                            international effective date of January 1,              substantial benefits for future                       also took into account the requirement


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023               Page 35 of 54
                                            72338        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            that EPA’s revised standards not                        this final rule the EPA does not consider             reduction in PM in comparison to most
                                            significantly increase noise and                        more stringent standards than those                   in-service engines. Specifically, the
                                            adversely affect safety.                                adopted in this action, applicable to all             current lean-burn engines and some
                                               Comment summary: Some                                in-production and new type design                     advanced Rich-Quench-Lean (RQL)
                                            commenters argued that the EPA’s                        engines, to be appropriate at this time.              engines developed for the purpose of
                                            position that it would be appropriate to                Additionally, the EPA did not propose                 achieving low NOX emissions
                                            gain experience from implementation of                  more stringent standards, and the                     coincidentally provided order of
                                            the novel approach to implementing PM                   existing record that has been developed               magnitude reductions in PM emissions
                                            standards before considering whether to                 does not support finalizing more                      in comparison to existing RQL
                                            adopt more stringent regulations is                     stringent standards absent significant
                                                                                                                                                          engines.139 Other manufacturers did not
                                            arbitrary and capricious.                               additional analyses.
                                               Response: As described the                              The EPA disagrees that the standards               develop or implement such technologies
                                            introductory paragraphs of Section IV,                  are not anti-backsliding. Although the                that resulted in such PM reduction, and
                                            these final standards change the                        PM mass concentration standard is                     thus, their recent in-production aircraft
                                            approach to regulating aircraft engine                  replacing the smoke standard for some                 engines are not achieving similar PM
                                            PM emissions from past smoke                            engines, the PM mass and number                       control. The final PM standards are anti-
                                            measurements to the measurement of                      standards are the first of their kind. In             backsliding for these aircraft engines by
                                            mass and number for the first time for                  that regard, PM mass and number are                   ensuring that they will not exceed the
                                            U.S. manufacturers, and international                   currently unregulated from aircraft                   final standards in the future. Further,
                                            regulatory uniformity and certainty are                 engines and the standards finalized in                this information shows that available
                                            key elements for these manufacturers as                 this action represent a new regulatory                engine technology includes a wide
                                            they become familiar with adhering to                   backstop of those two forms of                        range of technologies, and the EPA’s
                                            these standards and test procedures.                    previously uncontrolled PM emissions.                 final standards are standards that can be
                                            Further, some manufacturers are still                   Further, all three PM standards will                  met by all engines expected to be in
                                            adapting to how best control aircraft                   prevent backsliding by ensuring that all              production by the implementation date
                                            engine PM since they designed recent                    new type design and in-production                     of the PM mass and number standards,
                                            in-production engines to optimize NOX                   aircraft engines will not exceed those                January 1, 2023.
                                            control, as explained in the succeeding                 regulatory levels in the future.
                                            paragraphs.138 We think that                               CAEP meets triennially, and in the                    Comment summary: Some
                                            considering the novelty of these                        future, we anticipate ICAO/CAEP                       commenters argued that the EPA is not
                                            approaches and the industry’s response                  considering more stringent aircraft                   bound by the Chicago Convention to
                                            to them falls well within our discretion.               engine PM standards. The U.S.                         adopt standards equivalent to ICAO’s
                                            Moreover, they also pertain to the                      Interagency Group on International                    standards, and relatedly some
                                            statutory directive to consider the lead                Aviation (IGIA) facilitates coordinated               commenters asserted the EPA is not
                                            time necessary for the development and                  recommendations to the Secretary of                   prohibited from adopting standards
                                            application of the requisite technology.                State on issues pertaining to                         more stringent than ICAO’s standards.
                                            See CAA section 231(b).                                 international aviation (and ICAO/                     Some comments argued that the EPA
                                               Comment summary: Some                                CAEP), and the FAA is the chair of                    cannot allow international agreements
                                            commenters say that proposed                            IGIA. Representatives of domestic states,             to dictate its domestic regulation of PM
                                            standards are far less stringent than PM                non-governmental organizations, and                   from aircraft engines.
                                            emission levels that existing aircraft                  industry can participate in IGIA to
                                            engine technologies already achieve.                    provide input into future standards for                  Response: As explained in the
                                            Some commenters assert that more                        ICAO/CAEP. U.S. manufacturers will be                 introductory text of Section IV and in
                                            stringent PM standards compared to the                  better prepared for any future standard               Section VI, and reiterated throughout
                                            proposed standards are feasible for in-                 change due to their experience with                   the responses to comments, the EPA
                                            production and new type design aircraft                 measuring nvPM mass and number for                    conducted its independent assessment
                                            engines. Some commenters argue that                     the first time for these final standards.             of the appropriateness of the ICAO
                                            the proposed PM standards are not anti-                 The PM standards adopted in this                      standards for domestic application in
                                            backsliding. These comments say that                    rulemaking, within the larger context of              the United States and finds it
                                            all in-production engines already meet                  international aircraft standard-setting,              appropriate to adopt domestic PM
                                            the proposed standards for in-                          send an important signal that PM                      standards aligned with the international
                                            production engines and most meet the                    emissions is a factor that manufacturers              PM standards in this action. The EPA
                                            proposed standards for new type design                  need to consider when building aircraft               agrees that the United States could
                                            engines by a considerable margin;                       engines now and going forward—with                    adopt standards at a different stringency
                                            therefore, no backsliding could                         the anticipation that ICAO/CAEP will                  than ICAO’s, even more stringent
                                            reasonably happen absent these                          consider more stringent PM standards in               standards. Under the terms of the
                                            standards.                                              the future.                                           Chicago Convention, ICAO member
                                               Response: While it may be true that                     In response to the comments that the
                                                                                                                                                          States must recognize as valid
                                            more stringent PM standards compared                    standards are far less stringent than PM
                                                                                                    emission levels of existing aircraft                  certificates of airworthiness issued by
                                            to the final standards are feasible for
                                            some in-production and new type                         engine technologies, the EPA notes that               other ICAO member States, provided the
                                            design aircraft engines, for the reasons                there is a wide range of PM levels for                requirements under which such
                                            explained in the proposal and again in                  in-production aircraft engines. As                    certificates were issued are as least as
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                                                                                                    described in Section VI.C, for some
                                                                                                                                                            139 ICAO, 2019: Independent Expert Integrated
                                              138 ICAO, 2019: Independent Expert Integrated         manufacturers new technologies aimed
                                            Technology Goals Assessment and Review for                                                                    Technology Goals Assessment and Review for
                                                                                                    at reducing aircraft engine NOX, which
                                            Engines and Aircraft, Document 10127. It is found                                                             Engines and Aircraft, Document 10127. It is found
                                            on page 34 of the English Edition of the ICAO
                                                                                                    were implemented for in-production                    on page 34 of the English Edition of the ICAO
                                            Products & Services 2022 Catalog and is copyright       engines that were recently built, also                Products & Services 2022 Catalog and is copyright
                                            protected; Order No. 10127.                             resulted in an order of magnitude                     protected; Order No. 10127.



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                                                   USCA Case #23-1019                          Document #1982482                                Filed: 01/20/2023                    Page 36 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                       72339

                                            stringent as the minimum ICAO                           V. Aggregate PM Inventory                                    As described in Section III.A, aircraft
                                            standards.140                                           Methodology and Impacts                                   PM emissions are composed of both
                                               The need for direct cooperation                         The PM emissions inventory is                          volatile and non-volatile PM (nvPM)
                                            between countries gave rise to ICAO, an                 presented here to provide information                     components.145 With a precisely
                                            active regulatory body that sets and                    on the contribution of aircraft engine                    controlled air-fuel mixture, a typical
                                            revises standards. As described in                      emissions to local inventories as context                 aircraft engine yields combustion
                                            Section II.B, ICAO’s work on the                        for this regulatory effort. This PM                       products on the order of 27.6 percent
                                            environment focuses primarily on those                  emissions inventory is from the aviation                  water (H2O), 72 percent CO2, about 0.02
                                                                                                    portion of the EPA’s 2017 National                        percent SOX, and only about 0.4 percent
                                            problems that benefit most from a
                                                                                                    Emissions Inventory (NEI).141 142 143 The                 incomplete residual products. These
                                            common and coordinated approach on a
                                                                                                    NEI contains comprehensive emissions                      incomplete residual products can be
                                            worldwide basis, namely aircraft noise
                                                                                                    data for criteria pollutants and                          broken down to 84 percent NOX, 11.8
                                            and engine emissions. Compliance with
                                                                                                    hazardous air pollutants for mobile,                      percent CO, 4 percent unburned
                                            ICAO’s standards, including its                                                                                   hydrocarbons (UHC), 0.1 percent PM,
                                            emission standards, is essential to                     point, and nonpoint sources covering
                                                                                                    both natural and anthropogenic                            and trace amounts of other products.146
                                            ensure acceptance by other countries as                                                                           Although the PM emissions are a small
                                            people, aircraft, and cargo move in                     contribution to the overall national PM
                                                                                                    emissions inventory. For this PM                          fraction of total engine exhaust, the
                                            international commerce. The EPA                                                                                   composition and morphology of PM are
                                            recognizes nations have authority to                    rulemaking, we updated the aviation
                                                                                                    portion of the PM emissions inventory                     complex and dynamic. While the
                                            vary from ICAO standards, provided                                                                                emissions certification test procedures
                                            they give the required notice. Also, the                using newly available measured data
                                                                                                    reported for most in-production engines                   focus only on measuring non-volatile
                                            EPA has not concluded that the unique                                                                             PM (black carbon), our emissions
                                            features of the aviation industry                       and an improved approximation method
                                                                                                    for engines without measurement data,                     inventory includes estimates for volatile
                                            necessitate a policy to never adopt more                                                                          PM (organic, lubrication oil residues
                                            stringent emission standards compared                   as described in this section.
                                                                                                       The inventory is developed from                        and sulfuric acid) as well.
                                            to ICAO standards. However, adopting
                                                                                                    using actual operations at airports. The                  A. Aircraft Engine PM Emissions
                                            more stringent PM standards than                        number of aircraft operations or
                                            ICAO’s PM standards, which change the                                                                             Modeling Methodologies
                                                                                                    landings and takeoffs affects PM
                                            approach to regulating aircraft engine                  emissions that contribute to the local air                  This section describes the nvPM
                                            PM emissions, would risk disruption to                                                                            approximation method we used in the
                                                                                                    quality near airports. The landing and
                                            international cooperation. The EPA                                                                                proposed rulemaking, the use of newly
                                                                                                    take-off (LTO) emissions are defined as
                                            considered the timing of the ICAO PM                                                                              available measured nvPM data, and
                                                                                                    emissions between ground level and an
                                            mass and number standards for new                       altitude of about 3,000 feet. These LTO
                                            type design and in-production engines,                                                                            aircraft operations of interest within the [mixing
                                                                                                    emissions directly affect the ground                      height] are defined as the [LTO] cycle.’’ (page 137.)
                                            which have a January 1, 2023                            level air quality at the vicinity of the                  The default mixing height in the U.S. is 3,000 feet.
                                            implementation date. Given the limited                  airport since they are within the local                   (EPA, 1992: Procedures for Emission Inventory
                                            time frame and potential implications of                mixing height. They are composed of                       Preparation—Volume IV: Mobile Sources, EPA420–
                                            the EPA not adopting a standard, the                                                                              R–92–009.
                                                                                                    emissions during departure operations                        145 ICAO: 2019, ICAO Environmental Report. A
                                            EPA has acted reasonably in this                        (taxi-out movement from gate to                           copy of this document is available in the docket for
                                            rulemaking by giving significant weight                 runway, aircraft take-off run and climb-                  this rulemaking under document identification
                                            to the value of international                           out to 3,000 feet), and during arrival                    number EPA–HQ–OAR–2019–0660–0022. See
                                            harmonization and to the fact that, in                                                                            pages 100 and 101 for a description of non-volatile
                                                                                                    operations (approach at or below 3,000                    PM and volatile PM.
                                            the EPA’s judgment, international                       feet down to landing on the ground and                       ‘‘At the engine exhaust, particulate emissions
                                            harmonization would promote ongoing                     taxi-in from runway to gate). Depending                   mainly consist of ultrafine soot or black carbon
                                            cooperation to control global pollution                 on the meteorological conditions, the                     emissions. Such particles are called ‘non-volatile’
                                            of PM.                                                                                                            (nvPM). They are present at the high temperatures
                                                                                                    emissions will be mixed with ambient                      at the engine exhaust and they do not change in
                                               Comment summary: Some                                air down to ground level, dispersed, and                  mass or number as they mix and dilute in the
                                            commenters urged the EPA to withdraw                    transported to areas downwind from the                    exhaust plume near the aircraft. The geometric
                                            the proposed rule and issue a proposed                  airport with elevated concentration                       mean diameter of these particles is much smaller
                                                                                                                                                              than PM2.5 (geometric mean diameter of 2.5
                                            rule that would assess the full range of                levels.144                                                Microns) and ranges roughly from 15nm to 60nm
                                            feasible stringency options and propose                                                                           (0.06 Microns). These are classified as ultrafine
                                                                                                      141 2017 National Emissions Inventory: Aviation
                                            emission standards that reduce aircraft                                                                           particles (UFP).’’ (See page 100.) ‘‘The new ICAO
                                                                                                    Component, Eastern Research Group, Inc., June 25,         standard is a measure to control the ultrafine non-
                                            PM emissions.                                           2020, EPA Contract No. EP–C–17–011, Work Order            volatile particulate matter emissions emitted at the
                                               Response: The EPA is finalizing the                  No. 2–19.                                                 engine exit[.]’’ (See page 101.)
                                                                                                      142 See section 3.2 for airports and aircraft related
                                            PM standards as proposed. However, as                                                                                ‘‘Additionally, gaseous emissions from engines
                                                                                                    emissions in the Technical Supporting Document            can also condense to produce new particles (i.e.,
                                            explained in Section I.C, the EPA                       for the 2017 National Emissions Inventory, January        volatile particulate matter—vPM), or coat the
                                            remains committed to analyzing this                     2021 Updated Release.                                     emitted soot particles. Gaseous emissions species
                                            issue and will continue to work with the                  143 U.S. EPA, 2017 National Emissions Inventory         react chemically with ambient chemical
                                            United States’ international partners to                (NEI) Data.                                               constituents in the atmosphere to produce the so
                                                                                                      144 A local air quality ‘‘emissions inventory for       called secondary particulate matter. Volatile
                                            revisit these standards in the future. We                                                                         particulate matter is dependent on these gaseous
                                                                                                    aircraft focuses on the emission characteristics of
                                            do not believe it would be appropriate                  this source relative to the vertical column of air that   precursor emissions. While these precursors are
                                            to withdraw the proposed rule and issue                                                                           controlled by gaseous emissions certification and
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                                                                                                    ultimately affects ground level pollutant
                                            a new proposal for the reasons stated in                concentrations. This portion of the atmosphere,           the fuel composition (e.g., sulfur content) for
                                                                                                    which begins at the earth’s surface and is simulated      aircraft gas turbine engines, the volatile particulate
                                            the preceding paragraphs.                                                                                         matter is also dependent on the ambient air
                                                                                                    in air quality models, is often referred to as the
                                                                                                    mixing zone’’ or mixing height. (page 137.) The air       background composition.’’ (See pages 100 and 101.)
                                              140 ICAO, 2006: Convention on International Civil     in this mixing height is completely mixed and                146 European Monitoring and Evaluation

                                            Aviation, Article 33, Ninth Edition, Document           pollutants emitted anywhere within it will be             Programme/European Environment Agency, Air
                                            7300/9.                                                 carried down to ground level. (page 143.) ‘‘The           Pollutant Emission Inventory Guidebook 2019.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM       23NOR3
                                                   USCA Case #23-1019                           Document #1982482                                  Filed: 01/20/2023                  Page 37 of 54
                                            72340         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            improvement to the nvPM                                   results in significant particle loss in the                3. Improvements to Calculated Emission
                                            approximation method for the final                        measurement system, on the order of 50                     Indices
                                            rulemaking.                                               percent for nvPM mass and 90 percent                          As described in Section V.A, an
                                                                                                      for nvPM number.150 Further the                            improved approximation method has
                                            1. PM Emission Indices Used in the
                                            Rulemaking                                                particle loss is size dependent, and thus                  also been developed since the EPA’s
                                                                                                      the losses will be dependent on the                        2017 NEI was first published. This new
                                               Measured PM data were not available                    engine operating condition (e.g., idle vs
                                            when the EPA first developed the 2017                                                                                approximation method is needed for
                                                                                                      take-off thrust), engine combustor                         modeling PM emissions of in-service
                                            inventory. Thus, to calculate the                         design, and technology. To assess the
                                            baseline aircraft engine PM emissions,                                                                               engines that do not have measured PM
                                                                                                      emissions contribution of aircraft                         data. The new version of the
                                            we used the First Order Approximation                     engines for inventory and modeling
                                            Version 3.0 (FOA3) method defined in                                                                                 approximation method, known as
                                                                                                      purposes, and subsequently for human                       FOA4, has been developed by CAEP to
                                            the Society of Automotive Engineers                       health and environmental effects, it is
                                            (SAE) Aerospace Information Report,                                                                                  improve nvPM mass estimation and to
                                                                                                      necessary to know the emissions rate at                    extend the methodology to nvPM
                                            AIR5715.147 For nvPM mass, the FOA3                       the engine exit. Thus, the measured PM
                                            method is based on an empirical                                                                                      number based on the newly available
                                                                                                      mass and PM number values must be                          PM measurement data.154 The
                                            correlation of Smoke Number (SN)                          corrected for system losses to determine
                                            values and the nvPM mass                                                                                             simultaneously collected data of nvPM
                                                                                                      the engine exit emissions rate.                            mass concentration and smoke number
                                            concentrations of aircraft engines. The                      The EPA led the effort within the SAE
                                            nvPM mass concentration (g/m3)                                                                                       from test engines help define a better
                                                                                                      E–31 committee to develop the                              correlation between nvPM mass
                                            derived from SN can then be converted                     methodology to correct for system
                                            into an nvPM mass emission index (EI)                                                                                concentration and smoke number.155
                                                                                                      losses. The EPA led the development of                     The FOA4 estimated nvPM mass
                                            in gram of nvPM per kg fuel using the
                                                                                                      two SAE standards publications, AIR                        concentration tracks closely with
                                            method developed by Wayson et al.148
                                                                                                      6504 151 and Aerospace Recommended                         FOA3’s for some smoke numbers, but it
                                            based on a set of empirically determined
                                                                                                      Practice (ARP) 6481,152 describing this                    is much higher for other smoke
                                            Air Fuel Ratios (AFR) and engine
                                                                                                      methodology to correct for system                          numbers. Overall, we found that
                                            volumetric flow rates at the four ICAO
                                                                                                      losses. Also, the EPA funded and led                       fleetwide nvPM mass emissions using
                                            LTO thrust settings (see Table IV–1).
                                                                                                      test campaigns that verified the                           the new method (FOA4 and measured
                                            Subsequently, the nvPM mass EI can be
                                                                                                      methodology.153 ICAO has incorporated                      data when available) increase by 27
                                            used to calculate the nvPM mass for the
                                                                                                      this same procedure into Annex 16                          percent over the nvPM mass emissions
                                            four LTO modes with engine fuel flow
                                                                                                      Volume II Appendix 8.                                      reported in 2017 NEI using the FOA3
                                            rate and time-in-mode information. As
                                            the name suggests, the FOA3 method is                        The engine exit emissions rate, which                   method. Note that the data has
                                            a rough estimate, and it is only for PM                   is corrected for system losses, is specific                significant variation at the individual
                                            mass (not number).                                        to each measurement system and to                          airport level. For the top airports
                                               In addition, as described in sections                  each engine. The calculation is an                         modeled the effect on total PM ranges
                                            III.A and IV, volatile PM and nvPM                        iterative function based upon the                          from a 3 percent decrease to a 14
                                            together make up total PM. The FOA3                       measured nvPM mass and nvPM                                percent increase relative to the
                                            method for volatile PM is based on the                    number values and the geometry of the                      modeling in the proposed rulemaking.
                                            jet fuel organics 149 and sulfur content.                 measurement system. Manufacturers                             Recognizing that the development of
                                            Since the total PM is the emission                        provide the corrected emissions values                     the first order approximation method is
                                            inventory we are estimating for this                      to the ICAO EEDB and to the EPA.                           not static and continues to evolve, while
                                            rulemaking, we are including the                             When calculating emissions                              more accurate measurement data and
                                            volatile PM emission estimates from the                   inventories, these corrected EIs are used                  better understanding of the underlying
                                            FOA3 method in our emission                               rather than the values used to show                        mechanisms will certainly help to
                                            inventory.                                                compliance with emission standards as                      improve the estimate further, FOA4
                                                                                                      they are more reflective of what is                        represents the state of the science today.
                                            2. Measured nvPM Emission Indices for                     emitted into the atmosphere. These                         It has been used to update the nvPM
                                            Inventory Modeling                                        measured EIs are only for the non-                         baseline emission rates for this final
                                               The measurement and reporting of                       volatile component of PM, and an                           rule.
                                            engine EIs allows for improved accuracy                   approximation method is still required                        The calculation of volatile PM has not
                                            of engine emission inventories. As                        for quantifying the volatile PM                            changed between FOA3 and FOA4
                                            mentioned in Section IV.D.2, the                          inventory.                                                 because no improved data or method
                                            regulatory compliance level is based on                                                                              has become available to inform
                                            the amount of particulate that is directly                  150 Annex   16 Vol. II Appendix 8 Note 2.                improvements.
                                            measured by the instruments. The test                       151 SAE   International. 2017. Procedure for the
                                                                                                      Calculation of non-volatile Particulate Matter             B. PM Emission Inventory
                                            procedures specify a sampling line that
                                                                                                      Sampling and Measurement System Penetration
                                            can be up to 35 meters long. This length                  Functions and System Loss Correction Factors.
                                                                                                                                                                   As discussed in the introductory
                                                                                                      Aerospace Information Report 6504, Warrendale,             paragraphs of Section V, the PM
                                               147 SAE Aerospace Information Report, AIR5715,         PA, October 2017.
                                            Procedure for the Calculation of Aircraft Emissions,         152 SAE International. 2019. Procedure for the            154 ICAO: Second edition, 2020: Doc 9889,
                                            2009, SAE International.                                  Calculation of Non-Volatile Particulate Matter             Airport Air Quality Manual. Order Number 9889.
                                               148 Wayson R.L., Fleming G.G., Iovinelli R.            Sampling and Measurement System Losses and                 See Attachment D to Appendix 1 of Chapter 3. Doc
                                            Methodology to Estimate Particulate Matter                System Loss Correction Factors. Aerospace                  9889 can be ordered from ICAO. It is found on page
lotter on DSK11XQN23PROD with RULES3




                                            Emissions from Certified Commercial Aircraft              Recommended Practice 6481, Warrendale, PA,                 78 of the English Edition of the ICAO Products &
                                            Engines. J Air Waste Management Assoc. 2009 Jan           February 2019.                                             Services 2022 Catalog and is copyright protected:
                                            1; 59(1).                                                    153 D.B. Kittelson, et al., Experimental verification   Order No. 9889.
                                               149 In this context, organics refers to hydrocarbons   of principal losses in a regulatory particulate matter       155 Agarwal, A. et al., SCOPE11 Method for

                                            in the exhaust that coat on existing particles or         emissions sampling system for aircraft turbine             Estimating Aircraft Black Carbon Mass and Particle
                                            condense to form new particles after the engine           engines, Aerosol Science & Technology, 2022, 56,           Number Emissions, Environmental Science &
                                            exit.                                                     1, 63–74.                                                  Technology, 2019, DOI: 10.1021/acs.est.8b04060.



                                       VerDate Sep<11>2014    21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00030    Fmt 4701    Sfmt 4700   E:\FR\FM\23NOR3.SGM      23NOR3
                                                   USCA Case #23-1019                            Document #1982482                              Filed: 01/20/2023                 Page 38 of 54
                                                          Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                  72341

                                            emissions inventory used for this rule is                 Master Record (form 5010) 163 data.164                 meet the standards. Therefore, the EPA
                                            from the aviation portion of the EPA’s                    The NEI used the FAA’s Aviation                        also does not anticipate emission
                                            2017 National Emissions Inventory                         Environmental Design Tool (AEDT) 165                   reductions from the new type design
                                            (NEI).156 157 158 The NEI is compiled by                  version 2d to estimate emissions for                   standards.
                                            the EPA triennially based on                              aircraft that were in the AEDT database.                  Most of the in-production engines that
                                            comprehensive emissions data for                          The NEI used a more general estimation                 do not meet the new type design
                                            criteria pollutants and hazardous air                     methodology to account for emissions                   standards are older engines that already
                                            pollutants for mobile, point, and                         from aircraft types not available in                   have replacement engines that will meet
                                            nonpoint sources. The mobile sources in                   AEDT by multiplying the reported                       the new type design standards. There is
                                            the NEI include aviation, marine,                         activities by fleet-wide average emission              only one newer in-production engine
                                            railroad, on-road vehicles, and nonroad                   factors of generic aircraft types (or by               (an engine that recently started being
                                            engines. As described in Section V.A,                     aircraft category, such as general                     manufactured) that does not meet the
                                            the aircraft emission estimates in the                    aviation or air taxi).166                              new type design standards, and it does
                                                                                                        For aircraft PM contribution in 2017                 not currently have a replacement
                                            EPA’s 2017 NEI (or the baseline PM
                                                                                                      to total mobile PM emissions in                        engine. Since the new type design
                                            emissions inventory) are based on the
                                                                                                      counties and MSAs for the top 25                       standards will not apply to in-
                                            FOA3 method instead of the newly
                                                                                                      airports (inventories for aircraft with                production engines, the manufacturer of
                                            developed FOA4 or measured PM                             engines >26.7 kN), see Figure III–1 and                this engine could continue producing
                                            emissions data. For the final                             Figure III–2 in Section III.E.                         and selling its one in-production engine
                                            rulemaking, we have updated the                             We respond to comments on the                        that does not meet the new type design
                                            baseline PM emissions inventory based                     emissions inventory in Section 7 of the                standards. Market forces might drive the
                                            on measured data reported to the EPA                      Response to Comments document.                         manufacturer of this in-production
                                            or the European Union Aviation Safety                                                                            engine to make some improvements to
                                            Agency (EASA) for most in-production                      C. Projected Reductions in PM
                                                                                                      Emissions                                              meet the new type design standards, or
                                            engines and FOA4 for engines without                                                                             chose to bring forward its next
                                            measurement data.                                            Due to the technology-following                     generation new type design engine to
                                              The aviation emissions developed for                    nature of the PM standards, the final in-              the market a few years earlier than
                                            the NEI include emissions associated                      production and new type design                         currently planned. The manufacturer
                                            with airport activities in commercial                     standards will not result in emission                  has announced plans to develop the
                                                                                                      reductions below current levels of                     next generation of engines to improve
                                            aircraft, air taxi aircraft,159 general
                                                                                                      engine emissions. The in-production                    emission levels compared to the
                                            aviation aircraft, military aircraft,
                                                                                                      standards for both PM mass and PM                      previous generation of engines.167 168 We
                                            auxiliary power units, and ground
                                                                                                      number, which are set at levels where                  expect that these next generation
                                            support equipment. All emissions from                     all in-production engines meet the
                                            aircraft with gas turbine engines of rated                                                                       engines from this manufacturer will
                                                                                                      standards, will not affect any in-                     meet the new type design standards.
                                            output greater than 26.7 kN, except                       production engines as shown in Figure
                                            military aircraft, are used in the                                                                               Further details on market forces are
                                                                                                      IV–1 and Figure IV–2. Thus, the in-                    provided in Section VI.A. In conclusion,
                                            emissions inventory for this final rule                   production standards are not expected
                                            (which is only a subset of the aviation                                                                          when considering the final new type
                                                                                                      to produce emission reductions, beyond                 design standards in the context of the
                                            emissions inventory in the 2017 NEI).                     the business-as-usual fleet turn over that             in-production engines that already have
                                            To estimate emissions, 2017 activity                      would occur in the absence of the                      a replacement engine or the one in-
                                            data by states were compiled and                          standards. The EPA projects that all                   production engine that does not, the
                                            supplemented with publicly available                      future new type design engines will                    EPA expects no emission reductions
                                            FAA data. The FAA activity data                           meet the new type design standards.                    from the new type design standards.
                                            included 2017 T–100 160 dataset, 2014                     There are a few in-production engines                     All website addresses for references
                                            Terminal Area Forecast (TAF) 161 data,                    that do not meet the new type design                   cited in this section are provided in a
                                            2014 Air Traffic Activity Data System                     standards, but because in-production                   memorandum to the docket.169
                                            (ATADS) 162 data, and 2014 Airport                        engines will not be subject to these new
                                                                                                      type design standards, engine                          VI. Technological Feasibility and
                                              156 2017  National Emissions Inventory: Aviation        manufacturers will not be required to                  Economic Impacts
                                            Component, Eastern Research Group, Inc., June 25,         make improvements to these engines to                    As described in Section IV, we are
                                            2020, EPA Contract No. EP–C–17–011, Work Order
                                            No. 2–19.                                                                                                        adopting PM mass concentration, PM
                                              157 See section 3.2 for airports and aircraft related
                                                                                                        163 Federal Aviation Administration. 2009.
                                                                                                                                                             mass, and PM number standards that
                                                                                                      Airport Master Record Form 5010. Published by          match ICAO’s standards. As discussed
                                            emissions in the Technical Supporting Document
                                                                                                      GCR & Associates.
                                            for the 2017 National Emissions Inventory, January          164 The rationale for the use of multiple FAA        in Section V.C, for in-production aircraft
                                            2021 Updated Release.
                                              158 U.S. EPA, 2017 National Emissions Inventory
                                                                                                      activity databases is described in the 2017 NEI        engines, the 2017 ICAO PM maximum
                                            (NEI) Data.
                                                                                                      report (2017 National Emissions Inventory:             mass concentration standard and the
                                                                                                      Aviation Component, Eastern Research Group, Inc.,      2020 ICAO PM mass and number
                                              159 Air taxis fly scheduled service carrying
                                                                                                      June 25, 2020, EPA Contract No. EP–C–17–011,
                                            passengers and/or freight, but they usually are           Work Order No. 2–19. See section 3.2 for airports
                                            smaller aircraft and operate on a more limited basis      and aircraft related emissions in the Technical           167 https://www.rolls-royce.com/products-and-
                                            compared to the commercial aircraft operated by           Supporting Document for the 2017 National              services/civil-aerospace/future-products.aspx#/;
                                            airlines.                                                 Emissions Inventory, January 2021 Updated              last accessed on October 31, 2022.
                                              160 Title 14—Code of Federal Regulations—Part
                                                                                                      Release).                                                 168 Aviation Week, Rolls-Royce Considers
                                            241 Uniform System of Accounts and Reports for                                                                   UltraFan Development Pause, Guy Norris, January
lotter on DSK11XQN23PROD with RULES3




                                                                                                        165 AEDT is a software system that models aircraft
                                            Large Certificated Air Carriers. T–100 Segment (All       performance in space and time to estimate fuel         4, 2021.
                                            Carriers)—Published Online by Bureau of                   consumption, emissions, noise, and air quality            169 U.S. EPA, Yen, D. Memorandum to Docket
                                            Transportation Statistics.                                consequences.                                          EPA–HQ–OAR–2019–0660, ‘‘website addresses for
                                              161 Federal Aviation Administration. Terminal             166 See section 4.1.2 of the 2017 National           references cited in Section V of the Preamble for
                                            Area Forecast (TAF).                                      Emissions Inventory: Aviation Component, Eastern       Control of Air Pollution from Aircraft Engines:
                                              162 Federal Aviation Administration. ATADS:             Research Group, Inc., June 25, 2020, EPA Contract      Emission Standards and Test Procedures; Final
                                            Airport Operations: Standard Report.                      No. EP–C–17–011, Work Order No. 2–19.                  Rule,’’ November 9, 2022.



                                       VerDate Sep<11>2014    21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                Page 39 of 54
                                            72342        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            standards are set at emission levels                    standards. In addition, the final PM                  ICAO PM standards, and that the new
                                            where all in-production engines meet                    standards send an important signal to                 technology will be integrated in aircraft
                                            these standards. Thus, there will not be                manufacturers that they need to                       engines throughout the fleet in the time
                                            costs or emission reductions associated                 consider PM emissions when producing                  frame provided before the standards’
                                            with the final standards for in-                        aircraft engines now and going                        effective date. Therefore, the EPA
                                            production engines. For new type                        forward—with the anticipation that                    projects that these final standards will
                                            design engines, the 2020 ICAO PM mass                   more stringent PM standards will be                   impose no additional burden on
                                            and number standards are set at more                    adopted by ICAO/CAEP in the future.                   manufacturers.
                                            stringent emission levels compared to                      U.S. manufacturers could be at a
                                                                                                    significant disadvantage if the United                B. Conceptual Framework for
                                            the PM mass and number standards for
                                                                                                    States fails to adopt standards by the                Technology
                                            in-production engines, but nearly all in-
                                            production engines meet these new type                  international implementation date,                       The long-established ICAO/CAEP
                                            design standards. In addition, in-                      January 1, 2023. Also, given the short                terms of reference were taken into
                                            production engines will not be required                 timeframe from this final action and the              account when deciding the international
                                            to meet these new type design                           international implementation date, there              PM standards, principal among these
                                            standards. Only new type design                         would not be enough lead time for                     being technical feasibility. For the ICAO
                                            engines will need to comply with the                    manufacturers to respond to more                      PM standard setting, technical
                                            new type design standards. The EPA                      stringent standards that would require                feasibility refers to any technology
                                            projects that all new type design engines               them to develop and implement new                     demonstrated to be safe and airworthy
                                            entering into service into the future will              technologies.                                         proven to Technology Readiness
                                            meet these PM mass and number                                                                                 Level 170 (TRL) 8 and available for
                                                                                                    A. Market Considerations                              application over a sufficient range of
                                            standards. Thus, the EPA expects that
                                            there will not be costs and emission                       Aircraft and aircraft engines are sold             newly certificated aircraft.171 This
                                            reductions from the standards for new                   around the world, and international                   means that the analysis that informed
                                            type design engines, although the                       aircraft emission standards help ensure               the international standard considered
                                            standards would likely prevent                          the worldwide acceptability of these                  the emissions performance of aircraft
                                            backsliding for some new type design                    products. Aircraft and aircraft engine                engines assumed to be in-production on
                                            engines. In addition, following this final              manufacturers make business decisions                 the ICAO/CAEP implementation date
                                            rulemaking for the PM standards, the                    and respond to the international market               for the PM mass and number standards,
                                            FAA will issue a rulemaking to enforce                  by designing and building products that               January 1, 2023.172 The analysis
                                            compliance to these standards, and any                  conform to ICAO’s international                       included the current in-production fleet
                                            anticipated certification costs for the PM              standards. However, ICAO’s standards                  and engines scheduled for entry into the
                                            standards will be accounted for in the                  need to be implemented domestically                   fleet by this date. (ICAO/CAEP’s
                                            FAA rulemaking.                                         for products to prove such conformity.                analysis was completed in 2018 and
                                               As described in Section I.B.2, when                  Domestic action through the EPA                       considered at the February 2019 ICAO/
                                            developing new emission standards,                      rulemaking and subsequent FAA                         CAEP meeting.)
                                            ICAO/CAEP seeks to capture the                          rulemaking enables U.S. manufacturers
                                                                                                    to obtain internationally recognized U.S.             C. Technological Feasibility
                                            technological advances made in the
                                            control of emissions through the                        certification, which for the final PM                   The EPA and FAA participated in the
                                            adoption of anti-backsliding standards                  standards will ensure type certification              ICAO analysis that informed the
                                            reflecting the current state of                         consistent with the requirements of the               adoption of the international aircraft
                                            technology. The final standards that                    international PM emission standards.                  engine PM emission standards. A
                                            match ICAO’s standards are anti-                        This is important, as compliance with                 summary of that analysis was published
                                            backsliding standards that prevent                      the international standards (via U.S.                 in the report of ICAO/CAEP’s eleventh
                                            aircraft engine PM levels from                          type certification) is a critical                     meeting (CAEP/11),173 which occurred
                                            increasing beyond their current levels.                 consideration in aircraft manufacturer                in February 2019. However, due to the
                                            As discussed in Section IV.F.2, in that                 and airlines’ purchasing decisions. By                commercial sensitivity of much of the
                                            regard, PM mass and number are                          implementing the requirements in the                  data used in the ICAO analysis, the
                                            currently unregulated from aircraft                     United States that align with ICAO                    publicly available, published version of
                                            engines and the standards finalized in                  standards, any question regarding the                 the ICAO report of the CAEP/11 meeting
                                            this action represent a new regulatory                  compliance of aircraft engines
                                                                                                                                                             170 TRL is a measure of Technology Readiness
                                            backstop of those two new standards.                    certificated in the United States will be
                                                                                                                                                          Level. CAEP has defined TRL8 as the ‘‘actual
                                            Further, all three PM standards will                    removed. The rulemaking will help                     system completed and ‘flight qualified’ through test
                                            prevent backsliding by ensuring that all                ensure the acceptance of U.S. aircraft                and demonstration.’’ TRL is a scale from 1 to 9,
                                            new type design and in-production                       engines by member States, aircraft                    TRL1 is the conceptual principle, and TRL9 is the
                                            aircraft engines will not exceed those                  manufacturers, and airlines around the                ‘‘actual system ‘flight proven’ on operational
                                                                                                                                                          flight.’’ The TRL scale was originally developed by
                                            regulatory levels in the future.                        world. Conversely, without this                       NASA. ICF International, CO2 Analysis of CO2-
                                               As described in Section IV.F.2, for                  domestic action, U.S. aircraft engine                 Reducing Technologies for Aircraft, Final Report,
                                            some manufacturers, new technologies                    manufacturers would likely be at a                    EPA Contract Number EP–C–12–011, see page 40,
                                            aimed at reducing aircraft engine NOX,                  competitive disadvantage compared                     March 17, 2015.
                                                                                                                                                             171 ICAO, 2019: Report of the Eleventh Meeting,
                                            which were implemented for in-                          with their international competitors.
                                                                                                                                                          Montreal, 4–15 February 2019, Committee on
                                            production engines that were recently                      In considering the aviation market, it             Aviation Environmental Protection, Document
                                            built, also resulted in significant PM                  is important to understand that the                   10126, CAEP/11. It is found on page 27 of the
lotter on DSK11XQN23PROD with RULES3




                                            reductions. Other manufacturers did not                 international PM emission standards                   English Edition of the ICAO Products & Services
                                            develop or implement technologies that                  were predicated on demonstrating                      2022 Catalog and is copyright protected: Order No.
                                                                                                                                                          10126. The statement on technological feasibility is
                                            resulted in such PM reductions. In                      ICAO’s concept of technological                       located in Appendix C of Agenda Item 3 of this
                                            either case, the final PM standards                     feasibility; i.e., that manufacturers have            report (see page 3C–4, paragraph 2.2).
                                            ensure that PM emissions do not                         already developed or are developing                      172 Id., starting on page 3C–1.

                                            increase beyond the levels of these PM                  improved technology that meets the                       173 Id.




                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                           Document #1982482                              Filed: 01/20/2023                   Page 40 of 54
                                                          Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                    72343

                                            only provides limited supporting data                    In addition, some previous generation                  to U.S. manufacturers since it will
                                            for the ICAO analysis. Separately from                   engines that are in production meet the                enable them to certify their aircraft
                                            this ICAO analysis and the CAEP/11                       final new type design standards, which                 engine (via subsequent FAA
                                            meeting report, information on                           match the ICAO standards, with                         rulemaking) domestically instead of
                                            technology for the control of aircraft                   considerable margin. When considering                  having to certificate with a foreign
                                            engine PM emissions is provided in an                    the nvPM emission levels for current in-               authority (which will occur without this
                                            Independent Expert Review document                       production engines and those engines                   EPA rulemaking). If the final PM
                                            on technology goals for engines and                      expected to be in production by the                    standards, which match the ICAO
                                            aircraft, which was published in                         effective date of the ICAO standard,                   standards, are not ultimately adopted in
                                            2019.174 Although this ICAO document                     January 1, 2023, the lean-burn,                        the United States, U.S. civil aircraft
                                            is primarily used for setting goals, and                 advanced RQL, and some previous                        engine manufacturers will have to
                                            is not directly related to ICAO’s                        generation technologies (with relatively               certify to the ICAO standards at higher
                                            adoption of the PM emission standards,                   low levels of nvPM emissions) of many                  costs because they will have to move
                                            information from the Independent                         of the engines demonstrate that the final              their entire certification program(s) to a
                                            Expert Review is helpful in                              standards, which match ICAO                            non-U.S. certification authority.180 Any
                                            understanding the state of aircraft                      standards, are technologically feasible.               potential costs or cost savings related to
                                            engine technology.                                                                                              certification will be estimated by FAA.
                                               The 2019 ICAO Independent Expert                      D. Costs Associated With the Rule
                                                                                                                                                               For the same reasons there will be no
                                            Review document indicates that new                         The EPA does not anticipate new                      non-recurring and certification costs for
                                            technologies aimed at reducing aircraft                  technology costs (non-recurring costs)                 the rule, there also will be no recurring
                                            engine NOX also resulted in an order of                  due to the final rule. As described in the             costs (recurring operating and
                                            magnitude reduction in non-volatile PM                   introductory paragraph of Section VI,                  maintenance costs) for the rule. The
                                            (nvPM) mass and nvPM number in                           since all in-production engines meet the               elements of recurring costs include
                                            comparison to most in-service                            in-production standards and nearly all                 additional maintenance, material, labor,
                                            engines.175 (As described in Section                     in-production engines meet these new                   and tooling costs.
                                            IV.D.2, only nvPM emissions will be                      type design standards, we project there                   As described in Section IV.E, the EPA
                                            measured in the final test procedure for                 will not be costs, nor emission                        is formally incorporating the PM aspects
                                            the final standards.) Specifically, the                  reductions, from the final rule. Also,                 of the existing information collection
                                            current lean-burn engines and some                       because current in-production engines                  request (ICR) into the CFR (or
                                            advanced Rich-Quench-Lean (RQL)                          will not be required to make any
                                                                                                                                                            regulations) in 40 CFR 1031.150 and
                                            engines 176 177 developed for the purpose                changes under this final rule, there will
                                                                                                                                                            1031.160. This action will not create a
                                            of achieving low NOX emissions                           not be any adverse impact on noise and
                                                                                                                                                            new requirement for the manufacturers
                                            coincidentally provide order of                          safety of these engines. Likewise, the
                                                                                                                                                            of aircraft engines. Instead, it will
                                            magnitude reductions in nvPM                             noise and safety of future type designs
                                                                                                                                                            simply incorporate the existing
                                            emissions in comparison to existing                      should not be adversely impacted by
                                                                                                                                                            reporting requirements into the CFR for
                                            RQL engines.178 However, achieving                       compliance with these final new type
                                                                                                                                                            ease of use by having all the reporting
                                            these levels of nvPM emissions is more                   design standards since all
                                                                                                                                                            requirements readily available in the
                                            difficult for physically smaller-sized                   manufacturers currently have engines
                                                                                                                                                            CFR. Thus, this action will not create
                                            engines due to technical constraints.179                 that meet that level.
                                                                                                       Following this final rulemaking for                  new costs.
                                               174 ICAO, 2019: Independent Expert Integrated         the PM standards, the FAA will issue a                 E. Summary of Benefits and Costs
                                            Technology Goals Assessment and Review for               rulemaking to enforce compliance to
                                            Engines and Aircraft, Document 10127. It is found        these standards, and any anticipated                      The final standards match the ICAO
                                            on page 34 of the English Edition of the ICAO
                                                                                                     certification costs for the PM standards               standards, and as discussed in Section
                                            Products & Services 2022 Catalog and is copyright                                                               II.C and Section IV.F.1 of this preamble,
                                            protected; Order No. 10127.                              will be estimated by FAA.
                                               175 See id. at 8.                                       As described in Section VI.A,                        ICAO intentionally established its
                                               176 See id. at 47 and 48. For lean-burn engines (or   manufacturers have already developed                   standards at a level which is technology
                                            combustors), enough air is introduced with the fuel      or are developing technologies to                      following. The final rule takes an
                                            from the injector so it is never overall rich. For
                                                                                                     respond to ICAO standards that are                     appropriate step in controlling aircraft
                                            aviation combustors, the fuel is not premixed and                                                               engine PM emissions and prevents
                                            pre-vaporized, and in the microscopic region             equivalent to the final standards, and
                                            around each droplet, the mixture can be near to          they will comply with the ICAO                         backsliding by ensuring that all in-
                                            stoichiometric. Yet, the mixture remains lean            standards in the absence of U.S.                       production and new type design engines
                                            throughout the combustor, and the temperature
                                                                                                     regulations. Also, domestic                            have at least the PM emission levels of
                                            does not approach the stoichiometric value. For a                                                               today’s aircraft engines. Additionally,
                                            lean-burn combustor, the peak temperatures are not       implementation of the ICAO standards
                                            as high, and thus, the NOX is low.                       will potentially provide for cost savings              this final rule maintains consistency or
                                               177 See id. at 47. For Rich-Quench-Lean (RQL)                                                                harmonizes with the international
                                            engines (or combustors), the fuel first burns rich,      constraints on the use of low NOX combustor            standards and meets the United States’
                                            and thus, there is little oxygen free to form NOX.       concepts, which inherently require the availability    treaty obligations under the Chicago
                                            Dilution air is introduced to take the mixture as        of greater flow path cross-sectional area than         Convention. Also, it allows U.S.
                                            quickly as possible through the stoichiometric           conventional combustors. Also, fuel-staged
                                            region (when it briefly becomes very hot) to a                                                                  manufacturers of covered aircraft
                                                                                                     combustors need more fuel injectors, and this need
                                            cooler, lean state.                                      is not compatible with the relatively smaller total    engines to remain competitive in the
                                               178 See id. at 57 and 58. From previous generation
                                                                                                     fuel flows of lower thrust engines. (Reductions in     global marketplace by ensuring the
                                            rich-burn to lean-burn technology, an order of           fuel flow per nozzle are difficult to attain without   acceptance of their engines worldwide
                                            magnitude improvement in nvPM mass and nvPM
lotter on DSK11XQN23PROD with RULES3




                                                                                                     having clogging problems due to the small sizes of     (which benefits U.S. manufacturers and
                                            number is likely for the LTO cycle. Also,                the fuel metering ports.) In addition, lower thrust
                                            potentially, an order of magnitude improvement in        engine combustors have an inherently greater liner     consumers), provides uniformity and
                                            nvPM mass and nvPM number could be achieved              surface-to combustion volume ratio, and this
                                            for the LTO cycle from previous generation rich-         requires increased wall cooling air flow. Thus, less     180 In addition, European authorities charge fees
                                            burn to advanced rich-burn combustor technology.         air will be available to obtain acceptable turbine     to aircraft engine manufacturers for the certification
                                               179 For example, the relatively small combustor       inlet temperature distribution and for emission        of their engines, but FAA does not charge fees for
                                            space and section height of these engines creates        control. See 77 FR 36342, 36353 (June 18, 2012).       certification.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                   USCA Case #23-1019                           Document #1982482                              Filed: 01/20/2023            Page 41 of 54
                                            72344        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            certainty to U.S. manufacturers as they                 emissions regulations to new parts, such              accommodate any references to 40 CFR
                                            become familiar with the new approach                   that all mobile source regulations are                part 87 that currently exist in the type
                                            to adhering to these PM standards and                   contained in a single group of                        certification documentation and
                                            test procedures,181 and prevents U.S.                   contiguous parts of the CFR. In addition              advisory circulars issued by the FAA, as
                                            manufacturers from having to seek PM                    to the migration, that effort has included            well as any other references to 40 CFR
                                            emissions certification from an aviation                clarifications to regulations and                     part 87 that currently exist elsewhere.
                                            certification authority of another                      improvements to the ease of use through               Since it would be extremely difficult to
                                            country (not the FAA) to market and                     plain language updates and                            identify and update all such documents
                                            operate their aircraft engines                          restructuring. To date, the aircraft                  prior to January 1, 2023, the EPA is
                                            internationally. All engines currently                  engine emission regulations contained                 instead adopting language in 40 CFR
                                            manufactured will meet the ICAO in-                     in 40 CFR part 87 are the only mobile                 part 87 that simply states the provisions
                                            production standards, and nearly all                    source emission regulations which have                relating to a particular section of 40 CFR
                                            these same engines will meet the new                    not undergone this migration and                      part 87 apply as described in a
                                            type design standards—even though                       update process.                                       corresponding section of the new 40
                                            these new type design standards do not                     The current 40 CFR part 87 was                     CFR part 1031.
                                            apply to in-production engines.                         initially drafted in the early 1970s and                 The EPA received a comment
                                            Therefore, as further described in the                  has seen numerous updates and                         regarding some existing equations being
                                            introductory paragraph of Section VI                    revisions since then. This has led to a               incorrectly migrated from 40 CFR part
                                            and in Section VI.C, there will be no                   set of aircraft engine emission                       87 to the new 40 CFR part 1031.
                                            costs and no emission reductions from                   regulations that is difficult to navigate             Specifically, the equations in the
                                            complying with these final standards.                   and contains numerous unnecessary                     proposed 40 CFR 1031.40(a)(1),
                                                                                                    provisions. Further, the current                      1031.50(a)(1), and 1031.90(a)(1), (b) and
                                            VII. Technical Amendments                               structure of the regulations would make               (c) contained terms that should have
                                               In addition to the PM-related                        the adoption of the PM standards                      been exponents but were instead
                                            regulatory provisions discussed in                      finalized in this document, as well as                expressed as multiplicative terms. Given
                                            Section IV, the EPA is finalizing                       any future standards the EPA may                      that the EPA’s stated intent with the
                                            technical amendments to the regulatory                  adopt, difficult to incorporate.                      proposed migration from 40 CFR part 87
                                            text that apply more broadly than to just                  Therefore, the EPA is migrating the
                                                                                                                                                          to 40 CFR part 1031 was to move,
                                            the new PM standards. First, the EPA is                 existing aircraft engine regulations from
                                            migrating the existing aircraft engine                                                                        restructure, streamline and clarify the
                                                                                                    40 CFR part 87 to a new 40 CFR part
                                            emissions regulations from 40 CFR part                                                                        existing regulations without changing
                                                                                                    1031, directly after the airplane GHG
                                            87 to a new 40 CFR part 1031. Along                                                                           the underlying regulatory requirements,
                                                                                                    standards contained in 40 CFR part
                                            with this migration, the EPA is                         1030. In the process, the EPA is                      the equations contained in the
                                            restructuring the regulations to allow for              restructuring, streamlining, and                      paragraphs in 40 CFR part 1031 should
                                            better ease of use and allow for more                   clarifying the regulatory provisions for              have aligned with the corresponding
                                            efficient future updates. The EPA is also               ease of use and to facilitate more                    equations in 40 CFR part 87. Thus, these
                                            deleting some regulatory provisions and                 efficient future updates. Finally, the                equations in 40 CFR part 1031 have
                                            definitions that are unnecessary, as well               EPA is deleting unnecessary regulatory                been accordingly corrected in this final
                                            as making several other minor technical                 provisions, which are discussed in                    rule.
                                            amendments to the regulations. Finally,                 detail in the next section. This                      B. Deletion of Unnecessary Provisions
                                            the EPA is also revising 40 CFR part 87                 regulatory migration and restructuring
                                            to provide continuity during the                        effort is not intended to change any                     As previously mentioned, the existing
                                            transition of 40 CFR part 87 to 40 CFR                  substantive provision of the existing                 aircraft engine emission regulations
                                            part 1031. In this final rule, the EPA did              regulatory provisions.                                contain some unnecessary provisions
                                            not reexamine or reopen the substantive                    As noted in the amendatory                         which the EPA is deleting. These
                                            provisions of 40 CFR part 87 that were                  instructions in the regulations, the EPA              deletions include transitional
                                            merely migrated to the new 40 CFR part                  is making this transition effective on                exemption provisions that are no longer
                                            1031 and streamlined or the substantive                 January 1, 2023. The new 40 CFR part                  available, several definitions, and some
                                            provisions of 40 CFR part 1030 and 40                   1031 will become effective (i.e., be                  unnecessary language regarding the
                                            CFR part 1031 beyond those specially                    incorporated into the Code of Federal                 Secretary of the Department of
                                            discussed in the proposed rule. Any                     Regulations) 30 days following the                    Transportation, as detailed in the
                                            comments we received on the substance                   publication of this final rule in the                 following paragraphs.
                                            of the provisions migrated from 40 CFR                  Federal Register. However, the                           The EPA is not migrating the current
                                            part 87 to 40 CFR part 1031 provisions,                 applicability language in 40 CFR 1031.1               40 CFR 87.23(d)(1) and (3) to the new
                                            as opposed to comments pointing out                     indicates that the new 40 CFR part 1031               40 CFR part 1031. Both these paragraphs
                                            typos or inadvertent impacts on                         will apply to engines subject to the                  contain specific phase-in provisions
                                            substantive provisions caused by the                    standards beginning January 1, 2023.                  available for a short period after the Tier
                                            regulatory streamlining, are beyond the                 Prior to January 1, 2023, the existing 40             6 NOX standards began to apply, and
                                            scope of this rulemaking.                               CFR part 87 will continue to apply. On                their availability as compliance
                                                                                                    January 1, 2023, the existing 40 CFR                  provisions ended on August 31, 2013.
                                            A. Migration of Regulatory Text to New
                                                                                                    part 87 will be replaced with a                       Thus, they are no longer needed. It
                                            Part
                                                                                                    significantly abbreviated version of 40               should be noted that while the EPA is
                                              In the 1990s, the EPA began an effort                 CFR part 87 whose sole purpose will be                effectively deleting these provisions by
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                                            to migrate all transportation-related air               to direct readers to the new 40 CFR part              not migrating them to the new 40 CFR
                                                                                                    1031. Additionally, a reference in the                part 1031, the underlying standards
                                              181 The final standards change the approach to
                                                                                                    current 40 CFR part 1030 to 40 CFR part               referred to in these provisions (i.e., the
                                            regulating aircraft engine PM emissions from past
                                            smoke measurements to the measurement of mass
                                                                                                    87 will be updated to reference 40 CFR                Tier 4 and 6 NOX standards) remain
                                            and number for the first time for U.S.                  part 1031 at that time. The purpose of                unchanged. Thus, the underlying
                                            manufacturers.                                          the abbreviated 40 CFR part 87 is to                  certification basis for any engines


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00034   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                     USCA Case #23-1019                                          Document #1982482                                      Filed: 01/20/2023             Page 42 of 54
                                                               Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                                72345

                                            certificated under these provisions will                                    regulations, some of these definitions                     likely artifacts of previous revisions to
                                            remain intact.                                                              have effectively been incorporated                         the regulations (e.g., where a regulatory
                                               The EPA is also deleting several                                         directly into the regulatory text where                    provision was deleted but the associated
                                            definitions from the current 40 CFR part                                    they are used, making a stand-alone                        definition was not).
                                            87 as it is migrated to the new 40 CFR                                      definition unnecessary. Second, some of                       The definitions that the EPA is
                                            part 1031 for two reasons. First, in the                                    these definitions are simply not needed                    deleting and the reasons for the
                                            effort to streamline and clarify the                                        for any regulatory purpose and are                         deletions are listed in Table VII–1.

                                                                        TABLE VII–1—LIST OF TERMS FOR WHICH DEFINITIONS WILL BE DELETED FROM THE CFR
                                                                                       Term                                                                                    Reason for deletion

                                            Act ............................................................................................   Not used in the regulatory text.
                                            Administrator ............................................................................         No longer needed as not used in revised and streamlined regulatory text.
                                            Class TP ...................................................................................       No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Class TF ...................................................................................       No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Class T3 ...................................................................................       No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Class T8 ...................................................................................       No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Class TSS ................................................................................         No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Commercial aircraft ..................................................................             No longer needed as not used in revised and streamlined regulatory text.
                                            Commercial aircraft gas turbine engine ...................................                         No longer needed as not used in revised and streamlined regulatory text.
                                            Date of introduction ..................................................................            Unnecessary definition that is not used in existing regulatory text and not needed
                                                                                                                                                 in revised regulatory text.
                                            Engine ......................................................................................      For regulatory purposes, definition of engine not needed given existing definitions
                                                                                                                                                 of Aircraft engine, Engine model, and Engine sub-model.
                                            In-use aircraft gas turbine engine ............................................                    No longer needed in light of deletion of unnecessary provisions and technical
                                                                                                                                                 amendments to fuel venting requirements.
                                            Military aircraft ..........................................................................       Not needed as regulatory text applies to commercial engines.
                                            Operator ...................................................................................       No longer needed as not used in revised and streamlined regulatory text.
                                            Production cutoff or the date of production cutoff ...................                             No longer needed with deletion of unnecessary exemption provisions and
                                                                                                                                                 streamlining of exemption regulatory text.
                                            Tier 0 ........................................................................................    No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Tier 2 ........................................................................................    No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Tier 4 ........................................................................................    No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Tier 6 ........................................................................................    No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            Tier 8 ........................................................................................    No longer needed as definition was effectively incorporated into regulatory text
                                                                                                                                                 during migration.
                                            U.S.-registered aircraft .............................................................             Unnecessary term that is not used in the regulatory text.



                                               The EPA is also not migrating the                                        these terms are used in the current                        simply to more clearly separate
                                            current 40 CFR 87.3(b) to the new 40                                        aircraft engine emissions regulations,                     definitions from the related regulatory
                                            CFR part 1031, which in effect results in                                   but they are currently undefined. The                      requirements.
                                            its deletion. This paragraph is simply a                                    new definitions will help provide                            The EPA is not migrating the existing
                                            restatement of an obligation directly                                       clarity to the provisions that utilize                     40 CFR 87.42(d) to the new 40 CFR part
                                            imposed under the Clean Air Act that                                        those terms.                                               1031, which in effect results in the
                                            the Secretary shall issue regulations to                                      The EPA is modifying the definitions                     deletion of this provision. This
                                            assure compliance with the regulations                                      for ‘‘Exception’’ and ‘‘Exemption.’’ The                   paragraph related to the annual
                                            issued under the Act. This is not a                                         current definitions of these terms in 40                   production report regards the
                                            regulatory requirement related to the                                       CFR 87.1 go beyond simply defining the                     identification and treatment of
                                            rest of the part, and as such it is not                                     terms and contain what could more                          confidential business information (CBI)
                                            needed in 40 CFR part 1031.                                                 accurately be described as regulatory                      in manufacturers’ annual production
                                                                                                                        requirements stating what provisions an                    reports. The EPA is instead relying on
                                            C. Other Technical Amendments and                                           excepted or exempted engine must                           the existing CBI regulations in 40 CFR
                                            Minor Changes                                                               meet. These portions of the definitions,                   1068.10 (as referenced in 40 CFR
                                               In addition to the migration of the                                      which are more accurately described as                     1031.170). This change will have no
                                            regulations to a new part and the                                           regulatory requirements, are being                         impact on the ability of manufacturers
lotter on DSK11XQN23PROD with RULES3




                                            removal of unnecessary provisions just                                      moved to the introductory text in                          to make claims of CBI, or in the EPA’s
                                            discussed, the EPA is adopting some                                         1031.15 and 1031.20, as applicable.                        handling of such claims. However, it
                                            minor technical amendments to the                                           These changes are in no way intended                       will assure a more consistent treatment
                                            regulations.                                                                to change any regulatory requirement                       of CBI across mobile source programs.
                                               The EPA is adding definitions for                                        applicable to excepted or exempted                           The EPA is adopting a minor change
                                            ‘‘Airplane’’ and ‘‘Emission index.’’ Both                                   engines. Rather, they are intended                         to the existing emission requirements


                                       VerDate Sep<11>2014         21:18 Nov 22, 2022          Jkt 259001       PO 00000        Frm 00035      Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                            Document #1982482                               Filed: 01/20/2023                  Page 43 of 54
                                            72346           Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            for spare engines, as found in the                        ICAO’s emission standards fully apply                 exemption provisions currently in 40
                                            existing 40 CFR 87.50(c)(2). In the                       to all engines to be used on supersonic               CFR 87.50. First, this section contains
                                            regulatory text for 40 CFR 1031.20(a),                    airplanes, regardless of rated output. In             provisions regarding exemptions,
                                            the EPA is deleting the existing                          an apparent oversight, the EPA only                   exceptions, and annual reporting
                                            provision that a spare engine is required                 applied the smoke number standards to                 provisions relating to exempted and
                                            to meet standards applicable to Tier 4 or                 engines of greater than or equal to 26.7              excepted engines. The EPA is migrating
                                            later engines (currently contained in 40                  kN rated output in that 2012 action.                  the exceptions section concerning spare
                                            CFR 87.50(c)(2)). The EPA is retaining                    Thus, the EPA is applying smoke                       engines (40 CFR 87.50(c)) to 40 CFR
                                            and migrating to 40 CFR part 1031 the                     number standards to include engines                   1031.20(a), with the changes discussed
                                            requirement in 40 CFR 87.50(c)(3) such                    below 26.7 kN rated output for use on                 in the preceding paragraphs. The
                                            that a spare engine will need to be                       supersonic airplanes which are                        provisions regarding the annual
                                            certificated to emission standards equal                  equivalent to ICAO’s provisions. This                 reporting of exempted and excepted
                                            to or lower than those of the engines                     change is consistent with U.S. efforts to             engines are being incorporated into the
                                            they are replacing, for all regulated                     secure the highest practicable degree of              new annual reporting 40 CFR 1031.150.
                                            pollutants. This deletion of 40 CFR                       uniformity in aviation regulations and                These reporting provisions otherwise
                                            87.50(c)(2) aligns with ICAO’s current                    standards and will have no practical                  remain unchanged. Section 87.50(a),
                                            guidance on the emissions of spare                        impact on engine manufacturers. The                   regarding engines installed on new
                                            engines and is consistent with U.S.                       EPA is currently unaware of any engines               aircraft, and 40 CFR 87.50(b), regarding
                                            efforts to secure the highest practicable                 in production which could be used on                  temporary exemptions based on flights
                                            degree of uniformity in aviation                          supersonic airplanes, and those being                 for short durations at infrequent
                                            regulations and standards. The EPA                        developed for application to future                   intervals, are being migrated to a new 40
                                            does not believe this change will have                    supersonic airplanes are expected to be               CFR 1031.15. The temporary
                                            any impact on current industry                            well above 26.7 kN rated output, and                  exemptions provisions remain
                                            practices. Deleting the provision                         thus, they will be covered by the                     unchanged, with the exception of
                                            currently in 40 CFR 87.50(c)(2) will                      existing smoke number standard.                       adding ‘‘of Transportation’’ after
                                            leave in place the requirement that any                   Throughout its regulations, the EPA is                ‘‘Secretary’’ in 40 CFR 1031.15(b)(4) to
                                            new engine manufactured as a spare                        aligning with ICAO regarding a common                 improve clarity. The changes to the
                                            will need to be at least as clean as the                  rated output threshold for emission                   exemptions for engines installed on new
                                            engine it is replacing (as stated in the                  regulations. The applicability and                    aircraft are a bit more extensive, as
                                            current 40 CFR 87.50(c)(3)), but with no                  stringency of several aircraft engine                 discussed in the next paragraph.
                                            requirement that it meet standards                        emission standards can be different                      In 2012, the EPA adopted new
                                            applicable to Tier 4 or later engines.                    depending on whether an engine’s rated                exemption provisions specifically to
                                            Thus, under this deletion a new spare                     output is above or below 26.7 kN. In the              provide flexibility during the transition
                                            engine could, in theory, be                               ICAO regulations, the threshold is                    to Tier 6 and Tier 8 NOX standards.183
                                            manufactured that only met pre-Tier 4                     consistently stated as either greater                 These provisions were only available
                                            standards. The Tier 4 standards became                    than, or less than or equal to 26.7 kN.               through December 31, 2016, and they
                                            effective in 2004, so the deletion will                   In the current 40 CFR part 87, the equal              are being deleted in this action.
                                            only impact spare engines manufactured                    to portion of the threshold is applied                However, during the adoption of those
                                            to replace engines manufactured                           inconsistently. In some cases, it is                  transitional flexibilities, the EPA
                                            roughly before 2004. It is extremely                      expressed as less than, and greater than              inadvertently replaced the existing
                                            unlikely that a manufacturer would                        or equal to. In other cases, it is                    exemption provisions with the new
                                            build a new engine as a replacement for                   expressed as greater than, and less than              transitional provisions rather than
                                            such an old design as it would be very                    or equal to. The EPA is making all                    appending the transitional provisions to
                                            disruptive to the manufacturing of                        instances in the new 40 CFR part 1031                 the existing ones. This left 40 CFR 87.50
                                            current designs for new aircraft. Rather,                 consistent with ICAO, i.e., greater than,             with no general exemption language,
                                            it is common practice that spares for use                 and less than or equal to. As there are               only those provisions specific to the
                                            in replacing older engines would not be                   no current engines with a rated output                newly adopted NOX standards. Given
                                            newly manufactured engines of an old                      of exactly at 26.7 kN, this change will               that the transitional NOX exemption
                                            design, but engines that have been taken                  have no practical impact. However, it is              provisions have expired and are now
                                            from similar aircraft that have been                      consistent with U.S. efforts to secure the            obsolete, the EPA is deleting them
                                            retired. The EPA does not believe that                    highest practicable degree of uniformity              rather than migrating them to the new
                                            any engines would be manufactured to                      in aviation regulations and standards.                40 CFR 1031.15. The EPA is further
                                            pre-Tier 4 designs for use as spare                          The EPA is incorporating by reference              restoring the general exemption
                                            engines given current practices. Thus,                    Appendix 1 of ICAO Annex 16, Volume                   provisions that were inadvertently
                                            the EPA does not believe that this                        II. This appendix deals with the                      removed in 2012. In a recent action
                                            effective deletion of 40 CFR 87.50(c)(2)                  determination of a test engine’s                      which established GHG standards for
                                            for the purposes of uniformity will have                  reference pressure ratio, and its                     airplanes, the EPA adopted much more
                                            any practical impact on current industry                  exclusion from the U.S. regulations was               streamlined exemption provisions for
                                            practices.                                                an oversight. Other Annex 16, Volume                  airplanes in consultation with the
                                               The EPA is aligning the applicability                  II appendices which contain test                      FAA.184 The EPA is adopting similarly
                                            of smoke number standards for engines                     procedures, fuel specifications, and                  streamlined general exemption
                                            used in supersonic airplanes with                         other compliance-related provisions                   provisions for aircraft engines as well,
                                            ICAO’s applicability. The EPA adopted                     have been incorporated by reference                   as contained in 40 CFR 1031.15(a).
lotter on DSK11XQN23PROD with RULES3




                                            emission standards for engines used on                    into the U.S. regulations for many years,                The EPA is adopting some changes
                                            supersonic airplanes in 2012.182 Those                    and it is important to correct this                   relative to the prohibition on fuel
                                            standards were equivalent to ICAO’s                       oversight so the complete testing and                 venting. The fuel venting standard is
                                            existing standards with one exception.                    compliance provisions are clear.
                                                                                                         The EPA is streamlining,                             183 77   FR 36342 (June 18, 2012).
                                              182 77   FR 36342 (June 18, 2012).                      restructuring, and updating the                         184 86   FR 2136 (January 11, 2021).



                                       VerDate Sep<11>2014     21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                   USCA Case #23-1019                            Document #1982482                               Filed: 01/20/2023                  Page 44 of 54
                                                            Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                               72347

                                            intended to prevent the discharge of fuel                 problematic during periods of transition                 The EPA is updating several
                                            to the atmosphere following engine                        from one standard to another. To                      definitions and aligning them with
                                            shutdown, as explicitly stated in 40 CFR                  address this concern, ICAO agreed at the              definitions included in the recent
                                            87.11(a). The existing definition for fuel                CAEP/11 meeting in 2019 to transition                 airplane GHG regulations.187 The
                                            venting emissions in 40 CFR 87.1                          from the date of manufacture of the first             definitions being updated are for
                                            defines fuel venting emissions as fuel                    production engine to the date of                      ‘‘Aircraft,’’ ‘‘Aircraft engine,’’
                                            discharge during all normal ground and                    application for a type certificate to                 ‘‘Airplane,’’ ‘‘Exempt,’’ and ‘‘Subsonic.’’
                                            flight operations. As the standard                        determine standards applicability for                 These definitions are being updated in
                                            section itself limits the applicability                   new type designs. The EPA was actively                the aircraft engine regulations simply
                                            only to venting that occurs following                     involved in the deliberations that led to             for consistency with the airplane GHG
                                            engine shutdown, consistent with                          this agreement and supported the                      regulations and with FAA regulations.
                                            ICAO’s fuel venting provisions, the EPA                   transition from date of first individual              The changes being adopted will not
                                            is deleting the definition for fuel venting               production model to date of application               have any impact on the regulatory
                                            emissions as both unnecessary and                         to establish the certification basis for              requirements related to the definitions.
                                            contradictory to the actual requirement.                  type certification in the future. This                   The EPA is also addressing an
                                               The EPA is adding the word ‘liquid’                    approach is reflected in the applicability            unintentional applicability gap related
                                            in front of the phrase ‘‘fuel emissions’’                 date provisions of the PM standards                   to the EPA’s airplane GHG standards
                                            in 40 CFR 1031.30(b)(2). That phrase                      being adopted in this action, consistent              that could potentially exclude some
                                            has been interpreted internationally in                   with ICAO. The EPA is also adopting it                airplanes from being subject to the
                                            significantly different ways. Some have                   in 40 CFR 1031.60(e)(5) for existing                  standards. The intention of the
                                            interpreted the word ‘‘emissions’’ to                     standards applicable to Tier 8 engines as             international standards was to cover all
                                            mean any emission of pollutants from                      well. This change will only impact                    jet airplanes with a maximum takeoff
                                            the combustion process. The EPA’s rule                    engines for which an application for an               mass (MTOM) greater than 5,700 kg. At
                                            that promulgated the requirement to                       original or amended type certificate is               ICAO it was agreed that airplanes with
                                            control fuel venting emissions, however,                  submitted to the FAA in or after January              an MTOM less than 60,000 kg and with
                                            dates to 1973 and was intended to                         1, 2023. This change will have no                     19 seats or fewer could have extra time
                                            address the issue of liquid fuel being                    impact on manufacturers as the existing               to comply with the standards
                                            released from an aircraft engine after                    standards applicable to Tier 8 engines                (incorporated at 40 CFR 1030.1(a)(2)).
                                            engine shutdown when no combustion                        have been in place since 2014, and there              With that in mind, 40 CFR 1030.1(a)(1)
                                            processes are occurring.185 This term                     are no new gaseous or smoke number                    was written to cover airplanes with 20
                                            addresses both liquid fuel that reaches                   standards set to take effect for such                 or more seats and an MTOM greater
                                            the ground, and liquid fuel released                      engines. Thus, this change in                         than 5,700 kg. However, this means that
                                            from the engine after shutdown that                       applicability will not result in a change             airplanes with 19 seats or fewer and an
                                            comes into contact with hot engine parts                  in standards for any engines, and it is               MTOM greater than 60,000 kg are not
                                            and begins to vaporize or evaporate into                  solely intended to improve consistency                covered by the current regulations but
                                            the atmosphere rather than combust. In                    with ICAO and to structure the                        would be covered by the ICAO CO2
                                            the latter situation, fuel venting                        regulations such that the adoption of                 standard. While the EPA is not aware of
                                            emissions may be observed visually and                    any future standards using this                       any airplanes in this size range, the
                                            may look like an engine is smoking. To                    applicability date approach will be                   intent of the EPA’s GHG rule was to
                                            reduce confusion, the EPA is adding the                                                                         cover all jet airplanes with MTOM
                                                                                                      straightforward.
                                            word ‘‘liquid’’ to this description.                                                                            greater than 5,700 kg. The EPA is
                                            Nothing about the intent of the fuel                         The EPA is revising the definition of              adopting new language at 40 CFR
                                            venting rule is changed by this addition.                 ‘‘date of manufacture’’ by replacing                  1030.1(a)(1)(ii) to cover these airplanes,
                                            The change is intended only to better                     ‘‘competent authority’’ with ‘‘recognized             should they be produced. This change
                                            describe the phenomenon of fuel                           airworthiness authority’’ in two places.              will expand the current applicability of
                                            venting emissions and will harmonize                      The term ‘‘competent’’ has no specific                the GHG standards on the date this final
                                            U.S. regulations with the term as used                    meaning in the context of either the                  rulemaking goes into effect. However,
                                            in ICAO Annex 16 Volume II.                               EPA’s or the FAA’s regulations.                       airplanes in this size category were
                                               The EPA is modifying the                               However, the FAA does verify                          considered in ICAO’s GHG standard-
                                            applicability date language associated                    compliance of engines certificated                    setting process and had been intended
                                            with the standards applicable to Tier 8                   outside the United States, as indicated               to be subject to the EPA’s GHG
                                            engines, as contained in 1031.60(e)(2).                   through existing bilateral agreements                 standards as well. The structure of 40
                                            The applicability of new type design                      with such authorities. Also, the EPA is               CFR 1030.1(a)(1) being finalized is
                                            standards has traditionally been linked                   updating its definition of ‘‘supersonic’’             somewhat different than the structure
                                            to the date of the first individual                       by replacing it with a new definition of              that was proposed to conform to
                                            production engine of a given type, both                   ‘‘supersonic airplane.’’ The new                      numbering conventions used by the
                                            for the EPA regulations and ICAO                          definition for ‘‘supersonic airplane’’ is             Office of the Federal Register. This
                                            regulations. This approach has been                       based on a revised definition for such                renumbering does not change the
                                            somewhat cumbersome in the past                           proposed by the FAA in a recent                       meaning or requirements from the
                                            because a manufacturer would have to                      proposed action regarding noise                       language that was proposed.
                                            estimate what standards would be in                       regulations for supersonic airplanes.186                 The EPA is correcting the effective
                                            effect when actual production of a new                    This new definition will provide greater              date of new type design GHG standards
                                            type design began to determine to what                    assurance that the standards applicable               for turboprop airplanes (with a
lotter on DSK11XQN23PROD with RULES3




                                            standards a new type design engine                        to engines used on supersonic airplanes               maximum takeoff mass greater than
                                            would be subject. Given that the engine                   will apply to the engines for which they              8,618 kg), which is currently specified
                                            type certification process can take up to                 are intended.                                         in 40 CFR 1030.1(a)(3)(ii) as January 1,
                                            three years, this approach has proven                                                                           2020. The EPA did not intend to
                                                                                                        186 Noise Certification of Supersonic Airplanes,
                                              185 See   38 FR 19088 (July 17, 1973).                  85 FR 20431 (April 13, 2020).                           187 86   FR 2136 (January 11, 2021).



                                       VerDate Sep<11>2014     21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023                Page 45 of 54
                                            72348        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            retroactively apply these standards                     exhaust emission standards’’ with ‘‘an                 in 40 CFR 1031.140, the EPA is adding
                                            using the ICAO new type design start                    engine that has a type certificate issued              ‘‘percent of’’ to 40 CFR 1031.140(f)(2)(ii)
                                            date for these airplanes. Rather, this                  in accordance with 14 CFR part 33’’ to                 and (f)(3) to provide additional clarity
                                            effective date should have been January                 more precisely indicate that these                     without changing the underlying
                                            11, 2021, to be consistent with the                     provisions apply to engines previously                 meaning of the regulatory text.
                                            effective date of new type design                       certificated under the FAA’s engine                    VIII. Statutory Authority and Executive
                                            standards for other categories of                       certification regulations. The EPA is                  Orders Reviews
                                            airplanes in this part (e.g., 40 CFR                    also clarifying 40 CFR 1031.130(c)(2) by
                                            1030.1(a)(1)). Based on consultations                   adding ‘‘for individual certification                    Additional information about these
                                            with the FAA, this change to 40 CFR                     applications’’ and ‘‘beyond those,’’ and               statutes and Executive orders can be
                                            part 1030 will not impact any airplanes.                clarifying that the FAA should make                    found at https://www.epa.gov/laws-
                                               The EPA is adopting a minor word                     determinations on using ranges beyond                  regulations/laws-and-executive-orders.
                                            change to the existing applicability                    those specified in the regulation                      A. Executive Order 12866: Regulatory
                                            language in 40 CFR part 1030 to make                    consistent with good engineering                       Planning and Review and Executive
                                            it consistent with the current                          judgement rather than following                        Order 13563: Improving Regulation and
                                            applicability language in the EPA’s                     consultation with the EPA. Finally, the                Regulatory Review
                                            airplane engine regulations as well as                  EPA is revising the proposed definition
                                            FAA regulations. Specifically, the                                                                               This final action is not a significant
                                                                                                    for ‘‘derivative engine for emissions
                                            current language in 40 CFR 1030.1(c)(7)                                                                        regulatory action and was therefore not
                                                                                                    certification purposes’’ in 40 CFR
                                            refers to airplanes powered with piston                                                                        submitted to the Office of Management
                                                                                                    1031.205 by replacing a description of
                                            engines. The EPA is replacing the word                                                                         and Budget (OMB) for review.
                                                                                                    the requirements of 40 CFR 1031.130
                                            ‘‘piston’’ with ‘‘reciprocating’’ in 40 CFR             with an actual reference to 40 CFR                     B. Paperwork Reduction Act (PRA)
                                            1030.1(c)(7) to align it with the existing              1031.130, and other editorial changes to
                                            40 CFR 87.3(a)(1), the language in 40                                                                            This action does not impose any new
                                                                                                    make it consistent with the changes to                 information collection burden under the
                                            CFR 1031.1(b)(1), and existing FAA                      40 CFR 1031.130 discussed in this
                                            regulations in 14 CFR parts 1 and 33.                                                                          PRA. OMB has previously approved the
                                                                                                    paragraph.                                             information collection activities
                                            This change is for consistency among                       The EPA is making a correction to the
                                            Federal regulations and to avoid any                                                                           contained in the existing regulations
                                                                                                    proposed regulatory text of 40 CFR                     and has assigned OMB control number
                                            confusion that may be caused by using                   87.50. In the NPRM, an incorrect
                                            two different terms. This change will                                                                          2060–0680. This rule codifies that
                                                                                                    reference was included to 40 CFR                       existing collection by including the
                                            have no material impact on the meaning                  1031.11. The correct reference is 40 CFR
                                            of the regulatory text.                                                                                        current nvPM data collection in the
                                                                                                    1031.20. The text of 40 CFR 87.50 has                  regulatory text, but it will not add any
                                               Following consultation with FAA, the                 been updated accordingly.
                                            EPA is finalizing some clarifying                                                                              new reporting requirements.
                                                                                                       Finally, the EPA is finalizing minor
                                            changes to the proposed provisions                      changes to the proposed regulatory text                C. Regulatory Flexibility Act (RFA)
                                            related to derivative engines for                       in 40 CFR 1031.140(f)(1) and (f)(2)(i). As                I certify that this action will not have
                                            emissions certification purposes. None                  stated in the preamble to the proposed
                                            of these edits change the fundamental                                                                          a significant economic impact on a
                                                                                                    rule, the existing smoke standards and                 substantial number of small entities
                                            regulatory provisions at hand, but rather               the proposed PM mass concentration
                                            serve to clarify the requirements and                                                                          under the RFA. Among the potentially
                                                                                                    standard are all based on the maximum                  affected entities (manufacturers of
                                            improve consistency between EPA and                     value measured at any thrust level
                                            FAA regulations. Thus, these changes                                                                           aircraft engines) there is only one small
                                                                                                    across and engine’s entire operating                   entity, and that aircraft engine
                                            will have no effect on obligations of                   thrust range.188 While it is clear from
                                            regulated parties or on implementing                                                                           manufacturer does not make engines in
                                                                                                    this preamble language that these                      the category subject to the new
                                            these regulations. In 40 CFR 87.48, the                 standards refer to the maximum value
                                            EPA inserted ‘‘for emissions                                                                                   provisions contained in this document
                                                                                                    measured at any thrust level across an                 (i.e., engines greater than 26.7 kN rated
                                            certification purposes’’ to properly                    engine’s operating thrust range, and not
                                            direct the reader to the correct section                                                                       output). Therefore, this action will not
                                                                                                    just at one of the four LTO points, the                impose any requirements on small
                                            of the new 40 CFR part 1031. Most of
                                                                                                    regulatory text referenced in this                     entities. Supporting information can be
                                            these changes are in 40 CFR
                                                                                                    paragraph is perhaps less clear on this                found in the docket.189
                                            1031.130(a), and include replacing
                                                                                                    point. Thus, the EPA is finalizing slight
                                            ‘‘type certificate holder’’ with                                                                               D. Unfunded Mandates Reform Act
                                                                                                    modifications to the regulatory text in
                                            ‘‘applicant’’ to better reflect who would                                                                      (UMRA)
                                                                                                    these sections to further clarify the
                                            request a designation as a derivative
                                                                                                    regulatory requirement. Specifically, the                This action does not contain any
                                            engine for emissions certification
                                                                                                    EPA is adding ‘‘across the engine                      unfunded mandate as described in
                                            purposes (this change was also made to
                                                                                                    operating thrust range’’ to the end of 40              UMRA, 2 U.S.C. 1531–1538, and does
                                            40 CFR 1031.130(c)), a change from ‘‘the
                                            FAA may approve’’ to ‘‘a type certificate               CFR 1031.140(f)(1) and is replacing the                not significantly or uniquely affect small
                                            holder may request’’ to better reflect the              phrase ‘‘at any thrust setting’’ with                  governments. The action imposes no
                                            actual process, the inclusion of the                    ‘‘across the engine operating thrust                   enforceable duty on any State, local, or
                                            phrase ‘‘derived from’’ which was in                    range’’ in 40 CFR 1031.140(f)(2)(i). Also              Tribal governments or the private sector.
                                            both 14 CFR 34.48 and 40 CFR 87.48,                       188 As stated in the proposal to this rule: ‘‘Like     189 U.S. EPA, Mueller, J. Memorandum to Docket
                                            but was inadvertently left out of this
lotter on DSK11XQN23PROD with RULES3




                                                                                                    the existing smoke standard, the proposed PM mass      ID No. EPA–HQ–OAR–2019–0660, ‘‘Determination
                                            paragraph in the proposed migration of                  concentration standard would be based on the           of no SISNOSE for Final Aircraft Engine Emission
                                            the regulatory text, inclusion of the                   maximum value at any thrust setting. The engine(s)     Standards,’’ August 19, 2022. This memorandum
                                            word ‘‘type’’ to clarify the design that is             would be tested over a sufficient range of thrust      describes that the only small entity is Williams
                                                                                                    settings that the maximum can be determined. This      Int’l, which only make engines below 26.7 kN, and
                                            being referred to, and the replacement of               maximum could be at any thrust setting and is not      does not make engines for use in civil supersonic
                                            ‘‘previously certificated (original)                    limited to the LTO thrust points.’’ 87 FR 6343         airplanes. Thus, they are not subject to the final
                                            engine for purposes of compliance with                  (February 3, 2022).                                    standards.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023            Page 46 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                          72349

                                            E. Executive Order 13132: Federalism                    economically significant as defined in                significant regulatory action under
                                                                                                    Executive Order 12866. The EPA                        Executive Order 12866.
                                              This action does not have federalism
                                                                                                    believes that the environmental health
                                            implications. It will not have substantial              risks or safety risks of particulate matter,          I. National Technology Transfer and
                                            direct effects on the states, on the                    which is addressed by this action, may                Advancement Act (NTTAA) and 1 CFR
                                            relationship between the national                       have a disproportionate effect on                     Part 51
                                            government and the states, or on the                    children. The 2021 Policy on Children’s
                                            distribution of power and                                                                                        This action involves technical
                                                                                                    Health also applies to this action. This
                                            responsibilities among the various                                                                            standards for testing emissions from
                                                                                                    action’s health and risk assessments are
                                            levels of government.                                   contained in Section III. Children make               aircraft gas turbine engines. The EPA is
                                                                                                    up a substantial fraction of the U.S.                 adopting test procedures contained in
                                            F. Executive Order 13175: Consultation
                                            and Coordination With Indian Tribal                     population, and often have unique                     ICAO’s Annex 16 to the Convention on
                                            Governments                                             factors that contribute to their increased            International Civil Aviation,
                                                                                                    risk of experiencing a health effect from             Environmental Protection, Volume II—
                                              This action does not have Tribal                      exposures to ambient air pollutants                   Aircraft Engine Emissions, Fourth
                                            implications as specified in Executive                  because of their continuous growth and                Edition, July 2017, along with the
                                            Order 13175. This action regulates the                  development. Children are more                        modifications contained in this
                                            manufacturers of aircraft engines and                   susceptible than adults to many air                   rulemaking as described in Section IV.
                                            will not have substantial direct effects                pollutants because they have (1) a                    These procedures are currently used by
                                            on one or more Indian tribes, on the                    developing respiratory system, (2)                    all manufacturers of aircraft gas turbine
                                            relationship between the Federal                        increased ventilation rates relative to               engines to demonstrate compliance with
                                            Government and Indian tribes, or on the                 body mass compared with adults, (3) an                ICAO emission standards.
                                            distribution of power and                               increased proportion of oral breathing,
                                            responsibilities between the Federal                                                                             In accordance with the requirements
                                                                                                    particularly in boys, relative to adults,
                                            Government and Indian tribes. Thus,                     and (4) behaviors that increase chances               of 1 CFR 51.5, we are incorporating by
                                            Executive Order 13175 does not apply                    for exposure.                                         reference the use of test procedures
                                            to this action.                                                                                               contained in ICAO’s International
                                                                                                    H. Executive Order 13211: Actions                     Standards and Recommended Practices
                                            G. Executive Order 13045: Protection of                 Concerning Regulations That                           Environmental Protection, Annex 16,
                                            Children From Environmental Health                      Significantly Affect Energy Supply,                   Volume II, along with the modifications
                                            Risks and Safety Risks                                  Distribution or Use                                   contained in this rulemaking. This
                                              This action is not subject to Executive                 This action is not subject to Executive             includes the following standards and
                                            Order 13045 because it is not                           Order 13211, because it is not a                      test methods:

                                                        Standard or Test Method                                          Regulation                                         Summary

                                            ICAO 2017, Aircraft Engine Emissions, Annex             40 CFR 1031.140(a) and 1031.205 .................     Test method describes how to measure PM,
                                              16, Volume II, Fourth Edition, July 2017, as                                                                  gaseous, and smoke emissions from aircraft
                                              amended by Amendment 10, January 1,                                                                           engines.
                                              2021.



                                              The version of the ICAO Annex 16,                     as appropriate, disproportionately high               Order review is contained in Section
                                            Volume II, that is being incorporated                   and adverse human health or                           III.G, and all supporting documents
                                            into the new 40 CFR part 1031 is the                    environmental effects of their programs,              have been placed in the public docket
                                            same version that is currently                          policies, and activities on minority                  for this action.
                                            incorporated by reference in 40 CFR                     populations (people of color and/or                      This action will not achieve emission
                                            87.1, 40 CFR 87.42(c), and 40 CFR                       Indigenous peoples) and low-income                    reductions and will therefore result in
                                            87.60(a) and (b). This final rule removes               populations.                                          no improvement in per-aircraft
                                            those references to ICAO Annex 16,                        The EPA believes that the human                     emissions for all communities living
                                            Volume II.                                              health or environmental conditions that               near airports. The EPA describes in
                                              The referenced standards and test                     exist prior to this action result in or               Section III.G the existing literature
                                            methods may be obtained through the                     have the potential to result in                       reporting on disparities in potential
                                            International Civil Aviation                            disproportionate and adverse human                    exposure to aircraft emissions for people
                                            Organization, Document Sales Unit, 999                  health or environmental effects on                    of color and low-income populations.
                                            University Street, Montreal, Quebec,                    people of color, low-income populations               The EPA, in an analysis separate from
                                            Canada H3C 5H7, (514) 954–8022,                         and/or Indigenous peoples. The EPA                    this rulemaking, is conducting an
                                            www.icao.int, or sales@icao.int.                        provides a summary of the evidence for                analysis of the communities residing
                                                                                                    potentially disproportionate and                      near airports where jet aircraft operate
                                            J. Executive Order 12898: Federal                       adverse effects among people of color                 to more fully understand
                                            Actions To Address Environmental                        and low-income populations residing                   disproportionately high and adverse
                                            Justice in Minority Populations and                     near airports in Section III.G.                       human health or environmental effects
                                            Low-Income Populations
                                                                                                      The EPA believes that this action is                on people of color, low-income
lotter on DSK11XQN23PROD with RULES3




                                              Executive Order 12898 (59 FR 7629,                    not likely to change existing                         populations, and/or Indigenous peoples,
                                            February 16, 1994) directs Federal                      disproportionate and adverse effects on               as specified in Executive Order 12898.
                                            agencies, to the greatest extent                        people of color, low-income populations               The results of this analysis could help
                                            practicable and permitted by law, to                    and/or Indigenous peoples, as specified               inform additional policies to reduce
                                            make environmental justice part of their                in Executive Order 12898. The                         pollution in communities living in close
                                            mission by identifying and addressing,                  information supporting this Executive                 proximity to airports.


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00039   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                                             Filed: 01/20/2023              Page 47 of 54
                                            72350        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                               The EPA additionally engaged with                    6901–6992k, 7401–7671q, 7542, 9601–9657,                            § 87.11 Standard for fuel venting
                                            Environment Justice organizations in                    11023, 11048.                                                       emissions.
                                            several ways for this rulemaking,                       ■ 2. Amend § 9.1 in the table by adding                               Fuel venting standard apply as
                                            including: (1) contacting members of                    the undesignated center heading                                     described in 40 CFR 1031.30(b).
                                            Environmental Justice organizations to                  entitled ‘‘Control of Air Pollution From
                                            provide information on pre-registration                                                                                     § 87.20    Applicability—exhaust emissions.
                                                                                                    Aircraft Engines’’ and entries for
                                            for the public hearings for the proposed                sections ‘‘1031.150’’ and ‘‘1031.160’’ in                             Exhaust emission standards apply to
                                            rule; (2) contacting members of                         numerical order to read as follows:                                 certain aircraft engines as described in
                                            Environmental Justice organizations                                                                                         40 CFR 1031.40 through 1031.90.
                                            when the proposed rule was published                    § 9.1 OMB approvals under the Paperwork
                                                                                                    Reduction Act.                                                      § 87.21 Exhaust emission standards for
                                            in the Federal Register to provide an                                                                                       Tier 4 and earlier engines.
                                            overview of the proposed action and to                  *          *        *         *       *
                                                                                                                                                                          Exhaust emission standards apply to
                                            explain methods for commenting on the
                                                                                                                     40 CFR                              OMB            new aircraft engines as described in 40
                                            proposal; this outreach included
                                                                                                                     citation                          control No.      CFR 1031.40 through 1031.90.
                                            sessions during evening hours; (3)
                                            providing information on our website in                                                                                     § 87.23 Exhaust emission standards for
                                            both Spanish and English, as well as                    *               *             *               *           *         Tier 6 and Tier 8 engines.
                                            providing access to Spanish translation                                           *               *                           Exhaust emission standards apply to
                                            during the public hearings for the rule,                                                                                    new aircraft engines as follows:
                                            if requested.                                                 Control of Air Pollution From Aircraft
                                                                                                                                                                          (a) New turboprop aircraft engine
                                                                                                                         Engines
                                            K. Congressional Review Act                                                                                                 standards apply as described in 40 CFR
                                                                                                    1031.150 ..............................           2060–0680         1031.40.
                                              This action is subject to the CRA, and                1031.160 ..............................           2060–0680           (b) New supersonic engine standards
                                            the EPA will submit a rule report to                                                                                        apply as described in 40 CFR 1031.90.
                                            each House of the Congress and to the                         *             *             *                *          *       (c) New subsonic turbofan or turbojet
                                            Comptroller General of the United                                                                                           aircraft engine standards apply as
                                            States. This action is not a ‘‘major rule’’             ■   3. Revise part 87 to read as follows:                           follows:
                                            as defined by 5 U.S.C. 804(2).                                                                                                (1) Standards for engines with rated
                                            List of Subjects                                        PART 87—CONTROL OF AIR                                              output at or below 26.7 kN thrust apply
                                                                                                    POLLUTION FROM AIRCRAFT AND                                         as described in 40 CFR 1031.50.
                                            40 CFR Part 9                                           AIRCRAFT ENGINES                                                      (2) Standards for engines with rated
                                              Reporting and recordkeeping                           Sec.                                                                output above 26.7 kN thrust apply as
                                            requirements.                                           87.1  Definitions.                                                  described in 40 CFR 1031.60.
                                                                                                    87.2  Abbreviations.                                                  (d) NOX standards apply based on the
                                            40 CFR Part 87                                                                                                              schedule for new type and in-
                                                                                                    87.3  General applicability and
                                              Environmental protection, Aircraft,                       requirements.                                                   production aircraft engines as described
                                            Air pollution control.                                  87.10 Applicability—fuel venting.                                   in 40 CFR 1031.60.
                                                                                                    87.11 Standard for fuel venting emissions.
                                            40 CFR Part 1030                                        87.20 Applicability—exhaust emissions.                              § 87.31 Exhaust emission standards for in-
                                                                                                    87.21 Exhaust emission standards for Tier 4                         use engines.
                                              Environmental protection, Aircraft,
                                                                                                        and earlier engines.                                              Exhaust emission standards apply to
                                            Air pollution control, Greenhouse gases.                87.23 Exhaust emission standards for Tier 6                         in-use aircraft engines as described in
                                            40 CFR Part 1031                                            and Tier 8 engines.
                                                                                                    87.31 Exhaust emission standards for in-use
                                                                                                                                                                        40 CFR 1031.60.
                                              Environmental protection, Aircraft,                       engines.                                                        § 87.48 Derivative engines for emissions
                                            Air pollution control, Incorporation by                 87.48 Derivative engines for emissions                              certification purposes.
                                            reference.                                                  certification purposes.
                                                                                                    87.50 Exemptions and exceptions.                                      Provisions related to derivative
                                            Michael S. Regan,                                       87.60 Testing engines.                                              engines for emissions certification
                                            Administrator.                                                                                                              purposes apply as described in 40 CFR
                                                                                                        Authority: 42 U.S.C. 7401 et seq.
                                                                                                                                                                        1031.130.
                                              For the reasons set forth in the
                                            preamble, the EPA is amending title 40,                 § 87.1         Definitions.
                                                                                                                                                                        § 87.50    Exemptions and exceptions.
                                            chapter I of the Code of Federal                          Definitions apply as described in 40
                                                                                                                                                                          Provisions related to exceptions apply
                                            Regulations as set forth below.                         CFR 1031.205.
                                                                                                                                                                        as described in 40 CFR 1031.20.
                                                                                                    § 87.2         Abbreviations.                                       Provisions related to exemptions apply
                                            PART 9—OMB APPROVALS UNDER
                                                                                                      Abbreviations apply as described in                               as described in 40 CFR 1031.10.
                                            THE PAPERWORK REDUCTION ACT
                                                                                                    40 CFR 1031.200.                                                    § 87.60    Testing engines.
                                            ■ 1. The authority citation for part 9
                                                                                                    § 87.3 General applicability and                                      Test procedures for measuring
                                            continues to read as follows:                           requirements.                                                       gaseous emissions and smoke number
                                               Authority: 7 U.S.C. 135 et seq., 136–136y;             Provisions related to the general                                 apply as described in 40 CFR 1031.140.
                                            15 U.S.C. 2001, 2003, 2005, 2006, 2601–2671;            applicability and requirements of
                                            21 U.S.C. 331j, 346a, 31 U.S.C. 9701; 33                                                                                    PART 1030—CONTROL OF
                                                                                                    aircraft engine standards apply as
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                                            U.S.C. 1251 et seq., 1311, 1313d, 1314, 1318,                                                                               GREENHOUSE GAS EMISSIONS FROM
                                            1321, 1326, 1330, 1342, 1344, 1345 (d) and              described in 40 CFR 1031.1.
                                                                                                                                                                        ENGINES INSTALLED ON AIRPLANES
                                            (e), 1361; E.O. 11735, 38 FR 21243, 3 CFR,              § 87.10         Applicability—fuel venting.
                                            1971–1975 Comp. p. 973; 42 U.S.C. 241,
                                                                                                      Fuel venting standards apply to                                   ■ 4. The authority citation for part 1030
                                            242b, 243, 246, 300f, 300g, 300g–1, 300g–2,
                                            300g–3, 300g–4, 300g–5, 300g–6, 300j–1,                 certain aircraft engines as described in                            continues to read as follows:
                                            300j–2, 300j-3, 300j–4, 300j–9, 1857 et seq.,           40 CFR 1031.30(b).                                                      Authority: 42 U.S.C. 7401–7671q.



                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000       Frm 00040     Fmt 4701      Sfmt 4700        E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023            Page 48 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                           72351

                                            ■ 5. Amend § 1030.1 by revising                         Subpart C—Reporting and Recordkeeping                 compliance with this part at the time of
                                            paragraphs (a) introductory text, (a)(1),               1031.150 Production reports.                          certification must submit an application
                                            (a)(3)(ii), and (c)(7) to read as follows:              1031.160 Recordkeeping.                               for exemption to the FAA in accordance
                                                                                                    1031.170 Confidential business                        with the regulations of 14 CFR parts 11
                                            § 1030.1   Applicability.                                   information.                                      and 34. The FAA will consult with the
                                               (a) Except as provided in paragraph                  Subpart D—Reference Information                       EPA on each exemption application
                                            (c) of this section, when an aircraft                                                                         request before the FAA takes action.
                                                                                                    1031.200 Abbreviations.
                                            engine subject to 40 CFR part 1031 is                   1031.205 Definitions.                                 Exemption requests under this
                                            installed on an airplane that is                        1031.210 Incorporation by reference.                  paragraph (a) are effective only with
                                            described in this section and subject to                                                                      FAA approval and EPA’s written
                                                                                                      Authority: 42 U.S.C. 7401–7671q.
                                            14 CFR chapter I, the airplane may not                                                                        concurrence.
                                            exceed the Greenhouse Gas (GHG)                         Subpart A—Scope and Applicability                        (b) Temporary exemptions based on
                                            standards of this part when original                                                                          flights for short durations at infrequent
                                            civil certification under 14 CFR chapter                § 1031.1    Applicability.                            intervals. The emission standards of this
                                            I is sought.                                              This part applies to aircraft gas                   part do not apply to engines that power
                                               (1) A subsonic jet airplane that has —               turbine engines on and after January 1,               aircraft operated in the United States for
                                               (i) Either—                                          2023. Emission standards apply as                     short durations at infrequent intervals.
                                               (A) A type-certificated maximum                      described in subpart B of this part.                  Exemption requests under this
                                            passenger seating capacity of 20 seats or                 (a) Except as provided in paragraph                 paragraph (b) are effective with FAA
                                            more,                                                   (b) of this section, the regulations of this          approval. Such operations are limited
                                               (B) A maximum takeoff mass (MTOM)                    part apply to aircraft engines subject to             to:
                                            greater than 5,700 kg, and                              14 CFR part 33.
                                               (C) An application for original type                                                                          (1) Flights of an aircraft for the
                                                                                                      (b) The requirements of this part do
                                            certification that is submitted on or after                                                                   purpose of export to a foreign country,
                                                                                                    not apply to the following aircraft
                                            January 11, 2021;                                                                                             including any flights essential to
                                                                                                    engines:
                                               (ii) Or—                                               (1) Reciprocating engines (including                demonstrate the integrity of an aircraft
                                               (A) A type-certificated maximum                      engines used in ultralight aircraft).                 prior to its flight to a point outside the
                                            passenger seating capacity of 19 seats or                 (2) Turboshaft engines such as those                United States.
                                            fewer,                                                  used in helicopters.                                     (2) Flights to a base where repairs,
                                               (B) A MTOM greater than 60,000 kg,                     (3) Engines used only in aircraft that              alterations or maintenance are to be
                                            and                                                     are not airplanes.                                    performed, or to a point of storage, and
                                               (C) An application for original type                   (4) Engines not used for propulsion.                flights for the purpose of returning an
                                            certification that is submitted on or after                                                                   aircraft to service.
                                                                                                    § 1031.5 Engines installed on domestic                   (3) Official visits by representatives of
                                            December 23, 2022.
                                                                                                    and foreign aircraft.
                                            *       *    *     *    *                                                                                     foreign governments.
                                                                                                      The Secretary of Transportation shall                  (4) Other flights the Secretary of
                                               (3) * * *                                            apply these regulations to aircraft of
                                               (ii) An application for original type                                                                      Transportation determines to be for
                                                                                                    foreign registry in a manner consistent               short durations at infrequent intervals.
                                            certification that is submitted on or after
                                                                                                    with obligations assumed by the United                A request for such a determination shall
                                            January 11, 2021.
                                                                                                    States in any treaty, convention or                   be made before the flight takes place.
                                            *       *    *     *    *                               agreement between the United States
                                               (c) * * *                                            and any foreign country or foreign                    § 1031.20   Exceptions.
                                               (7) Airplanes powered by                             countries.                                               Individual engines may be excepted
                                            reciprocating engines.
                                                                                                    § 1031.10    State standards and controls.            from current standards as described in
                                            ■ 6. Add part 1031 to read as follows:
                                                                                                                                                          this section. Excepted engines must
                                                                                                      No State or political subdivision of a
                                            PART 1031—CONTROL OF AIR                                                                                      conform to regulatory conditions
                                                                                                    State may adopt or attempt to enforce
                                            POLLUTION FROM AIRCRAFT                                                                                       specified for an exception in this part
                                                                                                    any aircraft or aircraft engine standard
                                            ENGINES                                                                                                       and other applicable regulations.
                                                                                                    with respect to emissions unless the
                                                                                                                                                          Excepted engines are deemed to be
                                                                                                    standard is identical to a standard that
                                            Subpart A—Scope and Applicability                                                                             ‘‘subject to’’ the standards of this part
                                                                                                    applies to aircraft or aircraft engines
                                            Sec.                                                                                                          even though they are not required to
                                                                                                    under this part.
                                            1031.1 Applicability.                                                                                         comply with the otherwise applicable
                                            1031.5 Engines installed on domestic and                § 1031.15    Exemptions.                              requirements. Engines excepted with
                                                 foreign aircraft.                                     Individual engines may be exempted                 respect to certain standards must
                                            1031.10 State standards and controls.                   from current standards as described in                comply with other standards from
                                            1031.15 Exemptions.                                                                                           which they are not excepted.
                                            1031.20 Exceptions.
                                                                                                    this section. Exempted engines must
                                                                                                    conform to regulatory conditions                         (a) Spare engines. Newly
                                            Subpart B—Emission Standards and                        specified for an exemption in this part               manufactured engines meeting the
                                            Measurement Procedures                                  and other applicable regulations.                     definition of ‘‘spare engine’’ are
                                            1031.30 Overview of emission standards                  Exempted engines are deemed to be                     automatically excepted as follows:
                                                and general requirements.                           ‘‘subject to’’ the standards of this part                (1) This exception allows production
                                            1031.40 Turboprop engines.                              even though they are not required to                  of a newly manufactured engine for
                                            1031.50 Subsonic turbojet and turbofan                  comply with the otherwise applicable                  installation on an in-use aircraft. It does
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                                                engines at or below 26.7 kN thrust.                                                                       not allow for installation of a spare
                                            1031.60 Subsonic turbojet and turbofan
                                                                                                    requirements. Engines exempted with
                                                engines above 26.7 kN thrust.                       respect to certain standards must                     engine on a new aircraft.
                                            1031.90 Supersonic engines.                             comply with other standards as a                         (2) Spare engines excepted under this
                                            1031.130 Derivative engines for emissions               condition of the exemption.                           paragraph (a) may be used only if they
                                                certification purposes.                                (a) Engines installed in new aircraft.             are certificated to emission standards
                                            1031.140 Test procedures.                               Each person seeking relief from                       equal to or lower than those of the


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023            Page 49 of 54
                                            72352        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            engines they are replacing, for all                     standard. Engines comply with an                      § 1031.60 Subsonic turbojet and turbofan
                                            regulated pollutants.                                   applicable standard if test results show              engines above 26.7 kN thrust.
                                               (3) Engine manufacturers do not need                 that the engine type certificate family’s                The following standards apply to new
                                            to request approval to produce spare                    characteristic level does not exceed the              turbofan or turbojet aircraft engines with
                                            engines, but must include information                   numerical level of that standard.                     rated output above 26.7 kN thrust that
                                            about spare engine production in the                      (4) Engines that are covered by the                 are installed in subsonic aircraft:
                                            annual report specified in § 1031.150(d).               same type certificate and are determined                 (a) Smoke. (1) Tier 0. Except as
                                               (4) The permanent record for each                    to be derivative engines for emissions                specified in (a)(2) of this section,
                                            engine excepted under this paragraph                    certification purposes under the                      engines of a type or model with rated
                                            (a) must indicate that the engine was                   requirements of § 1031.130 are subject                output at or above 129 kN, and for
                                            manufactured as an excepted spare                       to the emission standards of the                      which the date of manufacture of the
                                            engine.                                                 previously certified engine. Otherwise,               individual engine after January 1, 1976
                                               (5) Engines excepted under this                      the engine is subject to the emission                 and is before January 1, 1984 may not
                                            paragraph (a) must be labeled with the                  standards that apply to a new engine                  have a characteristic level for smoke
                                            following statement: ‘‘EXCEPTED                         type.                                                 number exceeding the following
                                            SPARE’’.                                                  (b) Fuel venting. (1) The fuel venting              emission standard:
                                               (b) [Reserved]                                       standard in paragraph (b)(2) of this                  SN = 83.6·rO¥0.274
                                                                                                    section applies to new subsonic and                      (2) JT8D and JT3D engines. (i) Engines
                                            Subpart B—Emission Standards and                        supersonic aircraft engines subject to
                                            Measurement Procedures                                                                                        of the type JT8D for which the date of
                                                                                                    this part. This fuel venting standard also            manufacture of the individual engine is
                                            § 1031.30 Overview of emission standards                applies to the following in-use engines:              on or after February 1, 1974, and before
                                            and general requirements.                                  (i) Turbojet and turbofan engines with             January 1, 1984 may not have a
                                               (a) Overview of standards. Standards                 rated output at or above 36 kN thrust                 characteristic level for smoke number
                                            apply to different types and sizes of                   manufactured after February 1, 1974.                  exceeding an emission standard of 30.
                                            aircraft engines as described in                           (ii) Turbojet and turbofan engines                    (ii) Engines of the type JT3D for which
                                            §§ 1031.40 through 1031.90. All new                     with rated output below 36 kN thrust                  the date of manufacture of the
                                            engines and some in-use engines are                     manufactured after January 1, 1975.                   individual engine is on or after January
                                            subject to smoke standards (either based                   (iii) Turboprop engines manufactured               1, 1978 and before January 1, 1984 may
                                            on smoke number or nvPM mass                            after January 1, 1975.                                not have a characteristic level for smoke
                                            concentration). Some new engines are                       (2) Engines may not discharge liquid               number exceeding an emission standard
                                            also subject to standards for gaseous                   fuel emissions into the atmosphere. This              of 25.
                                            emissions (HC, CO, and NOX) and nvPM                    standard is directed at eliminating                      (3) Tier 0 in-use. Except for engines of
                                            (mass and number).                                      intentional discharge of liquid fuel                  the type JT8D and JT3D, in-use engines
                                               (1) Where there are multiple tiers of                drained from fuel nozzle manifolds after              with rated output at or above 129 kN
                                            standards for a given pollutant, the                    engines are shut down and does not                    thrust may not exceed the following
                                            named tier generally corresponds to the                 apply to normal fuel seepage from shaft               smoke number standard:
                                            meeting of the International Civil                      seals, joints, and fittings. Certification
                                                                                                                                                          SN = 83.6·rO¥0.274
                                            Aviation Organization’s (ICAO’s)                        for the fuel venting standard will be
                                                                                                    based on an inspection of the method                     (4) JT8D in-use. In-use aircraft engines
                                            Committee on Aviation Environmental                                                                           of the type JT8D may not exceed a
                                            Protection (CAEP) at which the                          designed to eliminate these emissions.
                                                                                                                                                          smoke number standard of 30.
                                            standards were agreed to                                § 1031.40    Turboprop engines.                          (5) Tier 1. Engines of a type or model
                                            internationally. Other standards are                       The following standards apply to                   for which the date of manufacture of the
                                            named Tier 0, Tier 1, or have names that                turboprop engines with rated output at                individual engine is on or after January
                                            describe the standards.                                 or above 1,000 kW:                                    1, 1984 and before January 1, 2023 may
                                               (2) Where a standard is specified by                    (a) Smoke. Engines of a type or model              not have a characteristic level for smoke
                                            a formula, determine the level of the                   for which the date of manufacture of the              number exceeding an emission standard
                                            standard as follows:                                    individual engine is on or after January              that is the lesser of 50 or the following:
                                               (i) For smoke number standards,                      1, 1984, may not have a characteristic                SN = 83.6·rO¥0.274
                                            calculate and round the standard to the                 level for smoke number exceeding the
                                            nearest 0.1 smoke number.                                                                                        (6) Tier 10. Engines of a type or model
                                                                                                    following value:                                      for which the date of manufacture of the
                                               (ii) For maximum nvPM mass
                                            concentration standards, calculate and                  SN = 187·rO¥0.168                                     individual engine is on or after January
                                            round the standard to the nearest 1 mg/                    (b) [Reserved]                                     1, 2023 may not have a characteristic
                                            m3.                                                                                                           level for the maximum nvPM mass
                                                                                                    § 1031.50 Subsonic turbojet and turbofan              concentration in mg/m3 exceeding the
                                               (iii) For LTO nvPM mass standards,                   engines at or below 26.7 kN thrust.
                                            calculate and round the standard to                                                                           following emission standard:
                                                                                                       The following standards apply to new               nvPMMC = 10(3 ∂ 2.9·rO·0.274)
                                            three significant figures.
                                               (iv) For LTO nvPM number standards                   turbofan or turbojet aircraft engines with               (b) LTO nvPM mass and number. An
                                            calculate and round the standard to                     rated output at or below 26.7 kN thrust               engine’s characteristic level for nvPM
                                            three significant figures.                              that are installed in subsonic aircraft:              mass and nvPM number may not exceed
                                               (v) For gaseous emission standards,                     (a) Smoke. Engines of a type or model              emission standards as follows:
                                            calculate and round the standard to                     for which the date of manufacture of the                 (1) Tier 11 new type. The following
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                                            three significant figures, or to the                    individual engine is on or after August               emission standards apply to engines of
                                            nearest 0.1 g/kN for turbojet and                       9, 1985 may not have a characteristic                 a type or model for which an
                                            turbofan standards at or above 100 g/kN.                level for smoke number exceeding the                  application for original type
                                               (3) Perform tests using the procedures               lesser of 50 or the following value:                  certification is submitted on or after
                                            specified in § 1031.140 to measure                      SN = 83.6·rO¥0.274                                    January 1, 2023 and for engines covered
                                            emissions for comparing to the                             (b) [Reserved]                                     by an earlier type certificate if they do


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                    USCA Case #23-1019                                       Document #1982482                                              Filed: 01/20/2023                    Page 50 of 54
                                                             Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                                         72353

                                            not qualify as derivative engines for                                   emission purposes as described in
                                                                                                                    § 1031.130:

                                                                                         TABLE 1 TO § 1031.60(b)(1)—TIER 11 NEW TYPE NVPM STANDARDS
                                                                 Rated output (rO)                                                              nvPMmass                                                         nvPMnum
                                                                      in kN                                                                  in milligrams/kN                                                 in particles/kN

                                            26.7 < rO ≤ 150 .................................................       1251.1¥6.914·rO .............................................             1.490·1016¥8.080·1013·rO
                                            rO > 150 ............................................................   214.0 .................................................................   2.780·1015



                                              (2) Tier 11 in-production. The                                        date of manufacture of the individual
                                            following emission standards apply to                                   engine is on or after January 1, 2023:
                                            engines of a type or model for which the

                                                                                     TABLE 2 TO § 1031.60(b)(2)—TIER 11 IN-PRODUCTION NVPM STANDARDS
                                                                 Rated output (rO)                                                              nvPMmass                                                         nvPMnum
                                                                      in kN                                                                  in milligrams/kN                                                 in particles/kN

                                            26.7 < rO ≤ 200 .................................................       4646.9¥21.497·rO ...........................................              2.669·1016¥1.126·1014·rO
                                            rO > 200 ............................................................   347.5 .................................................................   4.170·1015



                                               (c) HC. Engines of a type or model for                                  (1) Tier 0. The following NOX                                          production model was after December
                                            which the date of manufacture of the                                    emission standards apply to engines of                                    31, 1995, or for which the date of
                                            individual engine is on or after January                                a type or model for which the date of                                     manufacture of the individual engine
                                            1, 1984, may not have a characteristic                                  manufacture of the first individual                                       was on or after December 31, 1999, and
                                            level for HC exceeding an emission                                      production model was on or before                                         before December 31, 2003:
                                            standard of 19.6 g/kN.                                                  December 31, 1995, and for which the
                                               (d) CO. Engines of a type or model for                               date of manufacture of the individual                                     NOX = 32+1.6·rPR g/kN
                                            which the date of manufacture of the                                    engine was on or after December 31,                                         (3) Tier 4 new type. The following
                                            individual engine is on or after July 7,                                1999, and before December 31, 2003:                                       NOX emission standards apply to
                                            1997, may not have a characteristic level                                                                                                         engines of a type or model for which the
                                                                                                                    NOX = 40+2·rPR g/kN
                                            for CO exceeding an emission standard
                                                                                                                       (2) Tier 2. The following NOX                                          date of manufacture of the first
                                            of 118 g/kN.
                                               (e) NOX. An engine’s characteristic                                  emission standards apply to engines of                                    individual production model was after
                                            level for NOX may not exceed emission                                   a type or model for which the date of                                     December 31, 2003, and before July 18,
                                            standards as follows:                                                   manufacture of the first individual                                       2012:

                                                                                           TABLE 3 TO § 1031.60(e)(3)—TIER 4 NEW TYPE NOX STANDARDS
                                            If the rated pressure                                  and the rated                                              the NOX emission standard (g/kN) is—
                                            ratio (rPR) is—                                        output (kN) is—

                                            (i) rPR ≤ 30 .....................................     (A) 26.7 < rO ≤ 89 .........................               37.572 + 1.6·rPR¥0.2087·rO
                                                                                                   (B) rO > 89 ....................................           19 + 1.6·rPR
                                            (ii) 30 < rPR < 62.5 .........................         (A) 26.7 < rO ≤ 89 .........................               42.71 + 1.4286·rPR¥0.4013·rO + 0.00642·rPR·rO
                                                                                                   (B) rO > 89 ....................................           7 + 2·rPR
                                            (iii) rPR ≥ 82.6 .................................     All ...................................................    32 + 1.6·rPR



                                              (4) Tier 6 in-production. The                                         apply to engines of a type or model for                                   individual engine is on or after July 18,
                                            following NOX emission standards                                        which the date of manufacture of the                                      2012:

                                                                                       TABLE 4 TO § 1031.60(e)(4)—TIER 6 IN-PRODUCTION NOX STANDARDS
                                            If the rated pressure                                  and the rated                                              the NOX emission standard (g/kN) is—
                                            ratio (rPR) is—                                        output (kN) is—

                                            (i) rPR ≤ 30 .....................................     (A) 26.7 < rO ≤ 89 .........................               38.5486 + 1.6823·rPR¥0.2453·rO ¥ 0.00308·rPR·rO
                                                                                                   (B) rO > 89 ....................................           16.72 + 1.4080·rPR
                                            (ii) 30 < rPR < 82.6 .........................         (A) 26.7 < rO ≤ 89 .........................               46.1600 + 1.4286·rPR¥0.5303·rO + 0.00642·rPR·rO
                                                                                                   (B) rO > 89 ....................................           ¥1.04 + 2.0·rPR
                                            (iii) rPR ≥ 82.6 .................................     All ...................................................    32 + 1.6·rPR
lotter on DSK11XQN23PROD with RULES3




                                              (5) Tier 8 new type. The following                                    manufacture of the first individual                                       application for original type
                                            NOX standards apply to engines of a                                     production model was on or after                                          certification is submitted on or after
                                            type or model for which the date of                                     January 1, 2014; or for which an                                          January 1, 2023; or for engines covered



                                       VerDate Sep<11>2014        21:18 Nov 22, 2022        Jkt 259001     PO 00000        Frm 00043        Fmt 4701         Sfmt 4700   E:\FR\FM\23NOR3.SGM         23NOR3
                                                    USCA Case #23-1019                                     Document #1982482                                     Filed: 01/20/2023            Page 51 of 54
                                            72354           Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            by an earlier type certificate if they do                             emission purposes as described in
                                            not qualify as derivative engines for                                 § 1031.130:

                                                                                       TABLE 5 TO § 1031.60(e)(5)—TIER 8 NEW TYPE NOX STANDARDS
                                            If the rated pressure                     and the rated                                   the NOX emission standard (g/kN) is—
                                            ratio (rPR) is—                           output (kN) is—

                                            (i) rPR ≤ 30 ..........................   (A)   26.7 < rO ≤ 89 ..............             40.052 + 1.5681·rPR¥0.3615·rO¥0.0018·rPR·rO
                                                                                      (B)   rO > 89 .........................         7.88 + 1.4080·rPR
                                            (ii) 30 < rPR < 104.7 ............        (A)   26.7 < rO ≤ 89 ..............             41.9435 + 1.505·rPR¥0.5823·rO + 0.005562·rPR·rO
                                                                                      (B)   rO > 89 .........................         ¥9.88 + 2.0·rPR
                                            (iii) rPR ≥ 104.7 ....................    All   .......................................   32 + 1.6·rPR



                                            § 1031.90      Supersonic engines.                                      (2) All regulated emissions from the                      (vi) The following values apply for
                                              The following standards apply to new                                proposed derivative engine are lower                      nvPMmass:
                                            engines installed in supersonic                                       than the corresponding emissions from                       (A) 80 mg/kN if the characteristic
                                            airplanes:                                                            the previously certificated engine.                       level for nvPMmass emissions is below
                                              (a) Smoke. Engines of a type or model                                 (3) The FAA determines that the                         400 mg/kN.
                                            for which the date of manufacture was                                 proposed derivative engine’s emissions                      (B) ±20% of the characteristic level if
                                            on or after January 1, 1984, may not                                  are similar to the previously certificated                the characteristic level for nvPMmass
                                            have a characteristic level for smoke                                 engine’s emissions as described in                        emissions is greater than or equal to 400
                                            number exceeding an emission standard                                 paragraph (c) of this section.                            mg/kN.
                                            that is the lesser of 50 or the following:                              (b) Determining emission rates. To                        (vii) The following values apply for
                                            SN = 83.6·rO¥0.274                                                    determine new emission rates for a                        nvPMnum:
                                                                                                                  derivative engine for demonstrating                         (A) 4 × 1014 particles/kN if the
                                              (b) [Reserved]                                                      compliance with emission standards                        characteristic level for nvPMnum
                                              (c) HC. Engines of a type or model for                              under § 1031.30(a)(4) and for showing                     emissions is below 2 × 1015 particles/
                                            which the date of manufacture was on                                  emissions similarity in paragraph (c) of                  kN.
                                            or after January 1, 1984, may not have                                this section, testing may not be required                   (B) ±20% of the characteristic level if
                                            a characteristic level for HC exceeding                               in all situations. If the previously                      the characteristic level for nvPMnum
                                            the following emission standard in g/kN                               certificated engine model or any                          emissions is greater than or equal to
                                            rated output:                                                         associated sub-models have a                              2×1015 particles/kN.
                                            HC = 140·0.92rPR                                                      characteristic level before modification                    (2) In unusual circumstances, the
                                              (d) CO. Engines of a type or model for                              that is at or above 95% of any applicable                 FAA may, for individual certification
                                            which the date of manufacture was on                                  standard for smoke number, HC, CO, or                     applications, adjust the ranges beyond
                                            or after July 18, 2012, may not have a                                NOX or at or above 80% of any                             those specified in paragraph (c)(1) of
                                            characteristic level for CO exceeding the                             applicable nvPM standard, you must                        this section to evaluate a proposed
                                            following emission standard in g/kN                                   test the proposed derivative engine.                      derivative engine, consistent with good
                                            rated output:                                                         Otherwise, you may use engineering                        engineering judgment.
                                                                                                                  analysis to determine the new emission
                                            CO = 4550·rPR¥1.03                                                    rates, consistent with good engineering                   § 1031.140   Test procedures.
                                              (e) NOX Engines of a type or model for                              judgment. The engineering analysis                           (a) Overview. Measure emissions
                                            which the date of manufacture was on                                  must address all modifications from the                   using the equipment, procedures, and
                                            or after July 18, 2012, may not have a                                previously certificated engine, including                 test fuel specified in Appendices 1
                                            characteristic level for NOX engines                                  those approved for previous derivative                    through 8 of ICAO Annex 16
                                            exceeding the following emission                                      engines.                                                  (incorporated by reference, see
                                            standard in g/kN rated output:                                          (c) Emissions similarity. (1) A                         § 1031.210) as described in this section
                                            NOX = 36+2.42·rPR                                                     proposed derivative engine’s emissions                    (referenced in this section as ‘‘ICAO
                                                                                                                  are similar to the previously certificated                Appendix #’’). For turboprop engines,
                                            § 1031.130 Derivative engines for                                     engine’s emissions if the type certificate                use the procedures specified in ICAO
                                            emissions certification purposes.                                     applicant demonstrates that the engine                    Annex 16 for turbofan engines,
                                               (a) Overview. For purposes of                                      meets the applicable emission standards                   consistent with good engineering
                                            compliance with exhaust emission                                      and differ from the previously                            judgment.
                                            standards of this part, a type certificate                            certificated engine’s emissions only                         (b) Test fuel specifications. Use a test
                                            applicant may request from the FAA a                                  within the following ranges:                              fuel meeting the specifications
                                            determination that an engine                                            (i) ±3.0 g/kN for NOX.                                  described in ICAO Appendix 4. The test
                                            configuration be considered a derivative                                (ii) ±1.0 g/kN for HC.                                  fuel must not have additives whose
                                            engine for emissions certification                                      (iii) ±5.0 g/kN for CO.                                 purpose is to suppress smoke, such as
                                            purposes. The applicant must                                            (iv) ±2.0 SN for smoke number.                          organometallic compounds.
                                            demonstrate that the configuration is                                   (v) The following values apply for                         (c) Test conditions. Prepare test
                                            derived from and similar in type design                               nvPMMC:                                                   engines by including accessories that
lotter on DSK11XQN23PROD with RULES3




                                            to an engine that has a type certificate                                (A) ±200 mg/m3 if the characteristic                    are available with production engines if
                                            issued in accordance with 14 CFR part                                 level of maximum nvPMMC is below                          they can reasonably be expected to
                                            33, and at least one of the following                                 1,000 mg/m3.                                              influence emissions.
                                            circumstances applies:                                                  (B) ±20% of the characteristic level if                    (1) The test engine may not extract
                                               (1) The FAA determines that a safety                               the characteristic level for maximum                      shaft power or bleed service air to
                                            issue requires an engine modification.                                nvPMMC is at or above 1,000 mg/m3.                        provide power to auxiliary gearbox-


                                       VerDate Sep<11>2014      21:18 Nov 22, 2022     Jkt 259001         PO 00000        Frm 00044     Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM   23NOR3
                                                     USCA Case #23-1019                                      Document #1982482                                 Filed: 01/20/2023                 Page 52 of 54
                                                              Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                                          72355

                                            mounted components required to drive                                  analytical techniques, and equipment                      (1) The engine cannot be tested using
                                            aircraft systems.                                                     specifications that differ from those                   the specified procedures.
                                              (2) Test engines must reach a steady                                specified in this part. An applicant for                  (2) The alternate procedure is shown
                                            operating temperature before the start of                             type certification may request this                     to be equivalent to or better (e.g., more
                                            emission measurements.                                                approval by sending a written request                   accurate or precise) than the specified
                                              (d) Alternate procedures. In                                        with supporting justification to the FAA                procedure.
                                            consultation with the EPA, the FAA                                    and to the Designated EPA Program                         (e) LTO cycles. The following landing
                                            may approve alternate procedures for                                  Officer. Such a request may be approved                 and take-off (LTO) cycles apply for
                                            measuring emissions. This might                                       only in the following circumstances:                    emission testing and calculating
                                            include testing and sampling methods,                                                                                         weighted LTO values:
                                                                                                             TABLE 1 TO § 1031.140(e)—LTO TEST CYCLES
                                                                                                                                               Subsonic                                              Supersonic

                                                                                                                        Turboprop                           Turbojet and turbofan
                                                                      Mode                                                                                                                                   Time in mode
                                                                                                                                                                                             Percent of rO
                                                                                                                               Time in mode                             Time in mode                           (minutes)
                                                                                                             Percent of rO                           Percent of rO
                                                                                                                                 (minutes)                                (minutes)

                                            Take-off ....................................................                100                0.5                  100                 0.7               100            1.2
                                            Climb ........................................................                90                2.5                   85                 2.2                65            2.0
                                            Descent ....................................................                  NA                NA                    NA                 NA                 15            1.2
                                            Approach ..................................................                   30                4.5                   30                 4.0                34            2.3
                                            Taxi/ground idle .......................................                       7               26.0                    7                26.0               5.8           26.0



                                              (f) Pollutant-specific test provisions.                             criteria in ICAO Appendix 3 and ICAO                      (c) In the report, specify your
                                            Use the following provisions to                                       Appendix 5.                                             corporate name and the year for which
                                            demonstrate whether engines meet the                                    (g) Characteristic level. The                         you are reporting. Include information
                                            applicable standards:                                                 compliance demonstration consists of                    as described in this section for each
                                              (1) Smoke number. Use the equipment                                 establishing a mean value from testing                  engine sub-model subject to emission
                                            and procedures specified in ICAO                                      some number of engines, then                            standards under this part. List each
                                            Appendix 2 and ICAO Appendix 6. Test                                  calculating a ‘‘characteristic level’’ by               engine sub-model manufactured or
                                            the engine at sufficient thrust settings to                           applying a set of statistical factors in                certificated during the calendar year,
                                            determine and compute the maximum                                     ICAO Appendix 6 that take into account                  including the following information for
                                            smoke number across the engine                                        the number of engines tested. Round                     each sub-model:
                                            operating thrust range.                                               each characteristic level to the same                     (1) The type of engine (turbofan,
                                                                                                                  number of decimal places as the                         turboprop, etc.) and complete sub-
                                              (2) nvPM. Use the equipment and
                                                                                                                  corresponding standard. Engines                         model name, including any applicable
                                            procedures specified in ICAO Appendix
                                                                                                                  comply with an applicable standard if                   model name, sub-model identifier, and
                                            7 and ICAO Appendix 6, as applicable:
                                                                                                                  the testing results show that the engine                engine type certificate family identifier.
                                               (i) Maximum nvPM mass                                              type certificate family’s characteristic                  (2) The certificate under which it was
                                            concentration. Test the engine at                                     level does not exceed the numerical                     manufactured. Identify all the following:
                                            sufficient thrust settings to determine                               level of that standard.                                   (i) The type certificate number.
                                            and compute the maximum nvPM mass                                       (h) System loss corrected nvPM                        Specify if the sub-model also has a type
                                            concentration produced by the engine                                  emission indices. Use the equipment                     certificate issued by a certificating
                                            across the engine operating thrust range,                             and procedures specified in ICAO                        authority other than FAA.
                                            according to the procedures of ICAO                                   Appendix 8, as applicable, to determine                   (ii) Your corporate name as listed in
                                            Appendix 7.                                                           system loss corrected nvPM emission                     the certificate.
                                               (ii) LTO nvPM mass and number. Test                                indices.                                                  (iii) Emission standards to which the
                                            the engine at sufficient thrust settings to                                                                                   engine is certificated.
                                            determine the engine’s nvPM mass and                                  Subpart C—Reporting and
                                                                                                                                                                            (iv) Date of issue of type certificate
                                            nvPM number at the percent of rated                                   Recordkeeping
                                                                                                                                                                          (month and year).
                                            output identified in table 1 to paragraph                             § 1031.150    Production reports.                         (v) Whether or not this is a derivative
                                            (e) of this section.                                                                                                          engine for emissions certification
                                                                                                                    Engine manufacturers must submit an
                                               (3) HC, CO, and NOX. Use the                                       annual production report for each                       purposes. If so, identify the previously
                                            equipment and procedures specified in                                 calendar year in which they produce                     certificated engine model.
                                            ICAO Appendix 3, ICAO Appendix 5,                                     any engines subject to emission                           (vi) The engine sub-model that
                                            and ICAO Appendix 6, as applicable.                                   standards under this part.                              received the original type certificate for
                                            Test the engine at sufficient thrust                                    (a) The report is due by February 28                  an engine type certificate family.
                                            settings to determine the engine’s HC,                                of the following calendar year. Include                   (3) Identify the combustor of the sub-
                                            CO, and NOX emissions at the percent                                  emission data in the report as described                model, where more than one type of
                                            of rated output identified in table 1 to                              in paragraph (c) of this section. If you                combustor is available.
lotter on DSK11XQN23PROD with RULES3




                                            paragraph (e) of this section.                                        produce exempted or excepted engines,                     (4) The calendar-year production
                                              (4) CO2. Calculate CO2 emission                                     submit a single report with information                 volume of engines from the sub-model
                                            values from fuel mass flow rate                                       on exempted/excepted and normally                       that are covered by an FAA type
                                            measurements in ICAO Appendix 3 and                                   certificated engines.                                   certificate. Record zero for sub-models
                                            ICAO Appendix 5 or, alternatively,                                      (b) Send the report to the Designated                 with no engines manufactured during
                                            according to the CO2 measurement                                      EPA Program Officer.                                    the calendar year, or state that the


                                       VerDate Sep<11>2014        21:18 Nov 22, 2022         Jkt 259001      PO 00000   Frm 00045   Fmt 4701    Sfmt 4700   E:\FR\FM\23NOR3.SGM     23NOR3
                                                   USCA Case #23-1019                          Document #1982482                                        Filed: 01/20/2023                    Page 53 of 54
                                            72356        Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations

                                            engine model is no longer in production                 each engine (for example, spare or new                                   TABLE 1 TO § 1031.200—
                                            and list the date of manufacture (month                 installation). For purposes of this                                     ABBREVIATIONS—Continued
                                            and year) of the last engine                            paragraph (d), treat spare engine
                                            manufactured. Specify the number of                     exceptions separate from other new                             rPR .................   rated pressure ratio
                                            these engines that are intended for use                 engine exemptions.                                             SN ..................   smoke number
                                            on new aircraft and the number that are                   (e) Include the following signed
                                            intended for use as non-exempt engines                  statement and endorsement by an                                § 1031.205       Definitions.
                                            on in-use aircraft. For engines delivered               authorized representative of your                                 The following definitions apply to
                                            without a final sub-model status and for                company: ‘‘We submit this report under                         this part. Any terms not defined in this
                                            which the manufacturer has not                          40 CFR 1031.150. All the information in                        section have the meaning given in the
                                            ascertained the engine’s sub-model                      this report is true and accurate to the                        Clean Air Act (42 U.S.C. 7401–7671q).
                                            when installed before submitting its                    best of my knowledge.’’                                        The definitions follow:
                                            production report, the manufacturer                       (f) Where information provided for                              Aircraft has the meaning given in 14
                                            may do any of the following in its initial              the previous annual report remains                             CFR 1.1, a device that is used or
                                            report, and amend it later:                             valid and complete, you may report                             intended to be used for flight in the air.
                                               (i) List the sub-model that was                      your production volumes and state that                            Aircraft engine means a propulsion
                                            shipped or the most probable sub-                       there are no changes, without                                  engine that is installed on or that is
                                            model.                                                  resubmitting the other information                             manufactured for installation on an
                                               (ii) List all potential sub-models.                  specified in this section.                                     airplane for which certification under
                                               (iii) State ‘‘Unknown Sub-Model.’’                                                                                  14 CFR chapter I is sought.
                                                                                                    § 1031.160          Recordkeeping.                                Aircraft gas turbine engine means a
                                               (5) The number of engines tested and
                                            the number of test runs for the                           (a) You must keep a copy of any                              turboprop, turbojet, or turbofan aircraft
                                            applicable type certificate.                            reports or other information you submit                        engine.
                                               (6) Test data and related information                to us for at least three years.                                   Airplane has the meaning given in 14
                                            required to certify the engine sub-model                  (b) Store these records in any format                        CFR 1.1, an engine-driven fixed-wing
                                            for all the standards that apply. Round                 and on any media, as long as you can                           aircraft heavier than air, that is
                                            reported values to the same number of                   promptly send us organized, written                            supported in flight by the dynamic
                                            decimal places as the standard. Include                 records in English if we ask for them.                         reaction of the air against its wings.
                                            the following information, as applicable:               You must keep these records readily                               Characteristic level has the meaning
                                               (i) The engine’s rated pressure ratio                available. We may review them at any                           given in Appendix 6 of ICAO Annex 16
                                            and rated output.                                       time.                                                          (incorporated by reference, see
                                               (ii) The following values for each                                                                                  § 1031.210). The characteristic level is a
                                                                                                    § 1031.170 Confidential business
                                            mode of the LTO test cycle:                             information.
                                                                                                                                                                   calculated emission level for each
                                               (A) Fuel mass flow rate.                                                                                            pollutant based on a statistical
                                                                                                      The provisions of 40 CFR 1068.10
                                               (B) Smoke number.                                                                                                   assessment of measured emissions from
                                                                                                    apply for information you consider
                                               (C) nvPM mass concentration.                                                                                        multiple tests.
                                                                                                    confidential.                                                     Date of manufacture means the date
                                               (D) mass of CO2
                                               (E) Emission Indices for HC, CO, NOX,                Subpart D—Reference Information                                on which a manufacturer is issued
                                            and CO2.                                                                                                               documentation by FAA (or other
                                               (F) The following values related to                  § 1031.200          Abbreviations.                             recognized airworthiness authority for
                                            nvPM mass and nvPM number:                                This part uses the following                                 engines certificated outside the United
                                               (1) Emission Indices as measured.                    abbreviations:                                                 States) attesting that the given engine
                                               (2) System loss correction factor.                                                                                  conforms to all applicable requirements.
                                               (3) Emissions Indices after correcting                           TABLE 1 TO § 1031.200—                             This date may not be earlier than the
                                            for system losses.                                                      ABBREVIATIONS                                  date on which engine assembly is
                                               (iii) Weighted total values calculated                                                                              complete. Where the manufacturer does
                                            from the tested LTO cycle modes for                     ° ......................     Degree                            not obtain such documentation from
                                            HC, CO, NOX, CO2, and nvPM mass and                     % ....................       Percent                           FAA (or other recognized airworthiness
                                            nvPM number. Include nvPM mass and                      CO ..................        carbon monoxide                   authority for engines certificated outside
                                            nvPM number values with and without                     CO2 ................         carbon dioxide                    the United States), date of manufacture
                                            system loss correction.                                 EI ....................      emission index                    means the date of final engine assembly.
                                               (iv) The characteristic level for HC,                G ....................       Gram                                 Derivative engine for emissions
                                            CO, NOX, smoke number, nvPM mass                        HC ..................        hydrocarbon(s)
                                                                                                                                                                   certification purposes means an engine
                                                                                                    Kg ...................       Kilogram
                                            concentration, nvPM mass, and nvPM                      kN ...................       Kilonewton                        that is derived from and similar in type
                                            number.                                                 kW ..................        Kilowatt                          design to an engine that has a type
                                               (v) The following maximum values:                    LTO ................         landing and takeoff               certificate issued in accordance with 14
                                               (A) Smoke number.                                    M ....................       Meter                             CFR part 33, and complies with the
                                               (B) nvPM mass concentration.                         Mg ..................        Milligram                         requirements of § 1031.130.
                                               (C) nvPM mass Emission Index with                    μg ...................       Microgram                            Designated EPA Program Officer
                                            and without system loss correction.                     NOX ................         oxides of nitrogen                means the Director of the Assessment
                                               (D) nvPM number Emission Index                       Num ...............          Number                            and Standards Division, 2000
                                            with and without system loss                            nvPM ..............          non-volatile particulate mat-     Traverwood Drive, Ann Arbor,
                                            correction.                                                                            ter
                                                                                                                                                                   Michigan 48105.
lotter on DSK11XQN23PROD with RULES3




                                                                                                    nvPMmass .......             non-volatile particulate mat-
                                               (d) Identify the number of exempted                                                                                    Emission index means the quantity of
                                                                                                                                   ter mass
                                            or excepted engines with a date of                      nvPMnum ........             non-volatile particulate mat-     pollutant emitted per unit of fuel mass
                                            manufacture during the calendar year,                                                  ter number                      used.
                                            along with the engine model and sub-                    nvPMMC .........             non-volatile particulate mat-        Engine model means an engine
                                            model names of each engine, the type of                                                ter mass concentration          manufacturer’s designation for an
                                            exemption or exception, and the use of                  rO ...................       rated output                      engine grouping of engines and/or


                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000    Frm 00046           Fmt 4701   Sfmt 4700   E:\FR\FM\23NOR3.SGM    23NOR3
                                                   USCA Case #23-1019                          Document #1982482                               Filed: 01/20/2023              Page 54 of 54
                                                         Federal Register / Vol. 87, No. 225 / Wednesday, November 23, 2022 / Rules and Regulations                                              72357

                                            engine sub-models within a single                          New means relating to an aircraft or                  Turbofan engine means a gas turbine
                                            engine type certificate family, where                   aircraft engine that has never been                   engine designed to create its propulsion
                                            such engines have similar design,                       placed into service.                                  from exhaust gases and from air that
                                            including being similar with respect to                    Non-volatile particulate matter                    bypasses the combustion process and is
                                            the core engine and combustor designs.                  (nvPM) means emitted particles that                   accelerated in a ducted space between
                                               Engine sub-model means a                             exist at a gas turbine engine exhaust                 the inner (core) engine case and the
                                            designation for a grouping of engines                   nozzle exit plane that do not volatilize              outer engine fan casing.
                                            with essentially identical design,                      when heated to a temperature of 350 °C.                  Turbojet engine means a gas turbine
                                            especially with respect to the core                        Rated output (rO) means the                        engine that is designed to create its
                                            engine and combustor designs and other                  maximum power or thrust available for                 propulsion entirely from exhaust gases.
                                            emission-related features. Engines from                 takeoff at standard day conditions as
                                                                                                    approved for the engine by FAA,                          Turboprop engine means a gas turbine
                                            an engine sub-model must be contained                                                                         engine that is designed to create most of
                                                                                                    including reheat contribution where
                                            within a single engine model. For                                                                             its propulsion from a propeller driven
                                                                                                    applicable, but excluding any
                                            purposes of this part, an original engine                                                                     by a turbine, usually through a gearbox.
                                                                                                    contribution due to water injection.
                                            model configuration is considered a
                                                                                                    Rated output is expressed in kilowatts                   Turboshaft engine means a gas
                                            sub-model. For example, if a
                                                                                                    for turboprop engines and in                          turbine engine that is designed to drive
                                            manufacturer initially produces an
                                                                                                    kilonewtons for turbojet and turbofan                 a rotor transmission system or a gas
                                            engine model designated ABC and later
                                                                                                    engines to at least three significant                 turbine engine not used for propulsion.
                                            introduces a new sub-model ABC–1, the
                                                                                                    figures.                                                 We (us, our) means the EPA
                                            engine model consists of two sub-                          Rated pressure ratio (rPR) means the
                                            models: ABC and ABC–1.                                                                                        Administrator and any authorized
                                                                                                    ratio between the combustor inlet                     representatives.
                                               Engine type certificate family means a               pressure and the engine inlet pressure
                                            group of engines (comprising one or                     achieved by an engine operating at rated              § 1031.210   Incorporation by reference.
                                            more engine models, including sub-                      output, expressed to at least three                      Certain material is incorporated by
                                            models and derivative engines for                       significant figures.                                  reference into this part with the
                                            emissions certification purposes of                        Round has the meaning given in 40                  approval of the Director of the Federal
                                            those engine models) determined by                      CFR 1065.1001.
                                                                                                                                                          Register under 5 U.S.C. 552(a) and 1
                                            FAA to have a sufficiently common                          Smoke means the matter in exhaust
                                                                                                                                                          CFR part 51. To enforce any edition
                                            design to be grouped together under a                   emissions that obscures the
                                                                                                    transmission of light, as measured by                 other than that specified in this section,
                                            type certificate.
                                                                                                    the test procedures specified in                      the EPA must publish a document in the
                                               EPA means the U.S. Environmental                                                                           Federal Register and the material must
                                            Protection Agency.                                      § 1031.140.
                                                                                                       Smoke number means a                               be available to the public. All approved
                                               Except means to routinely allow                                                                            material is available for inspection at
                                                                                                    dimensionless value quantifying smoke
                                            engines to be manufactured and sold                                                                           EPA and at the National Archives and
                                                                                                    emissions as calculated according to
                                            that do not meet (or do not fully meet)                                                                       Records Administration (NARA).
                                                                                                    ICAO Annex 16.
                                            otherwise applicable standards. Note                       Spare engine means an engine                       Contact EPA at: U.S. EPA, Air and
                                            that this definition applies only with                  installed (or intended to be installed) on            Radiation Docket Center, WJC West
                                            respect to § 1031.20 and that the term                  an in-use aircraft to replace an existing             Building, Room 3334, 1301 Constitution
                                            ‘‘except’’ has its plain meaning in other               engine. See § 1031.20.                                Ave. NW, Washington, DC 20004;
                                            contexts.                                                  Standard day conditions means the                  www.epa.gov/dockets; (202) 202–1744.
                                               Exempt means to allow, through a                     following ambient conditions:                         For information on the availability of
                                            formal case-by-case process, an engine                  temperature = 15 °C, specific humidity                this material at NARA, visit
                                            to be certificated and sold that does not               = 0.00634 kg H2O/kg dry air, and                      www.archives.gov/federal-register/cfr/
                                            meet the applicable standards of this                   pressure = 101.325 kPa.                               ibr-locations.html or email
                                            part.                                                      Subsonic means relating to an aircraft             fr.inspection@nara.gov. The material
                                               Exhaust emissions means substances                   that has not been certificated under 14               may be obtained from International
                                            emitted to the atmosphere from exhaust                  CFR chapter I to exceed Mach 1 in                     Civil Aviation Organization, Document
                                            discharge nozzles, as measured by the                   normal operation.                                     Sales Unit, 999 University Street,
                                            test procedures specified in § 1031.140.                   Supersonic airplane means an                       Montreal, Quebec, Canada H3C 5H7;
                                                                                                    airplane for which the maximum                        (514) 954–8022; sales@icao.int;
                                               FAA means the U.S. Department of
                                                                                                    operating limit speed exceeds a Mach                  www.icao.int.
                                            Transportation, Federal Aviation
                                                                                                    number of 1.                                             (a) Annex 16 to the Convention on
                                            Administration.                                            System losses means the loss of
                                               Good engineering judgment involves                                                                         International Civil Aviation,
                                                                                                    particles during transport through a                  Environmental Protection, Volume II—
                                            making decisions consistent with                        sampling or measurement system
                                            generally accepted scientific and                                                                             Aircraft Engine Emissions, Fourth
                                                                                                    component or due to instrument
                                            engineering principles and all relevant                                                                       Edition, July 2017 (including
                                                                                                    performance. Sampling and
                                            information, subject to the provisions of                                                                     Amendment No. 10, applicable January
                                                                                                    measurement system loss is due to
                                            40 CFR 1068.5.                                                                                                1, 2021); IBR approved for §§ 1031.140;
                                                                                                    various deposition mechanisms, some of
                                                                                                                                                          1031.205.
                                               ICAO Annex 16 means Volume II of                     which are particle-size dependent.
                                            Annex 16 to the Convention on                           Determining an engine’s actual emission                  (b) [Reserved]
                                            International Civil Aviation (see                       rate depends on correcting for system
lotter on DSK11XQN23PROD with RULES3




                                                                                                                                                          [FR Doc. 2022–25134 Filed 11–22–22; 8:45 am]
                                            § 1031.210 for availability).                           losses in the nvPM measurement.                       BILLING CODE 6560–50–P




                                       VerDate Sep<11>2014   21:18 Nov 22, 2022   Jkt 259001   PO 00000   Frm 00047   Fmt 4701   Sfmt 9990   E:\FR\FM\23NOR3.SGM   23NOR3
